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                                            RECORD NO. 19-4104

                                                       In The
              United States Court of Appeals
                                          For The Fourth Circuit




                           UNITED STATES OF AMERICA,
                                                                                     Plaintiff – Appellee,


                                                            v.




                                    PRECIAS K. FREEMAN,
                                                                                     Defendant – Appellant.




           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA
                           AT SPARTANBURG

                                              JOINT APPENDIX
                                               VOLUME I OF II
                                                (Pages 1 – 203)



            Hannah Rogers Metcalfe                                  William J. Watkins, Jr.
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                                                                                        APPEAL,CLOSED

                                     U.S. District Court
                         District of South Carolina (Spartanburg)
                   CRIMINAL DOCKET FOR CASE #: 7:17-cr-00079-TMC-1


  Case title: USA v. Freeman                                    Date Filed: 02/14/2017
  Related Case: 7:19-cv-02480-TMC                               Date Terminated: 12/13/2018


  Assigned to: Honorable Timothy M Cain
  Appeals court case number: 19-4104 4CCA

  Defendant (1)
  Precias K Freeman                               represented by David Wilson Plowden
  TERMINATED: 12/13/2018                                         316 N Church Street
                                                                 Walhalla, SC 29691
                                                                 864-710-1577
                                                                 Email: lawyer.d.plowden@gmail.com
                                                                 TERMINATED: 07/19/2017
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Public Defender or
                                                                 Community Defender Appointment

                                                                Lora Collins Blanchard
                                                                Federal Public Defender's Ofﬁce (Gvle)
                                                                Two Liberty Square
                                                                75 Beattie Place
                                                                Suite 950
                                                                Greenville, SC 29601
                                                                864-235-8714
                                                                Fax: 864-233-0188
                                                                Email: lora_blanchard@fd.org
                                                                TERMINATED: 07/23/2018
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Public Defender or
                                                                Community Defender Appointment

                                                                Donald L Smith
                                                                Donald Smith Law Ofﬁce
                                                                122 N Main Street
                                                                Anderson, SC 29621
                                                                864-642-9284
                                                                Fax: 864-642-9285
                                                                Email: attorneydonaldsmith@gmail.com
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained


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  Pending Counts                                                  Disposition
                                                                  The defendant is sentenced to 210 months
  21:846, 21:841(1)(1) and 841(b)(1)
                                                                  imprisonment and 3 years supervised
  (C)CONSPIRACY TO DISTRIBUTE
                                                                  release. $100.00 special assessment.
  CONTROLLED SUBSTANCE; 10/2014
                                                                  Defendant remanded to the custody of he
  (1)
                                                                  United States Marshal.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                               Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                      Disposition
  None



  Interested Party
  Sandra Stowers                                    represented by Sandra Stowers
  surety bondsman                                                  Giggies Bail Bonding
                                                                   508 Laurens Rd
                                                                   Greenville, SC 29607
                                                                   864-271-7386
                                                                   PRO SE



  Plaintiff
  USA                                               represented by William J Watkins , Jr
                                                                   US Attorneys Ofﬁce (Gville)
                                                                   55 Beattie Place
                                                                   Suite 700
                                                                   Greenville, SC 29601
                                                                   864-282-2100
                                                                   Fax: 864-233-3158
                                                                   Email: bill.watkins@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Assistant US Attorney


   Date Filed        #   Docket Text
   02/14/2017        2 INDICTMENT (Sealed Grand Jury Ballot attached) as to Precias K Freeman (1) count(s)
                       1. (Attachments: # 1 GJ Ballot) (alew, ) (Entered: 02/14/2017)
   02/14/2017        5 ORDER FOR ISSUANCE OF Bench WARRANT as to Precias K Freeman. Signed

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                    by Magistrate Judge Jacquelyn D Austin on 2/14/17.(alew, ) (Main Document 5
                    replaced on 2/15/2017) (alew, ). Modiﬁed on 2/15/2017 to replace document per clerk
                    (alew, ). (Entered: 02/14/2017)
   02/14/2017    7 Writ of Habeas Corpus ad Prosequendum Issued as to Precias K Freeman as
                   needed. Signed by Magistrate Judge Jacquelyn D Austin on 2/14/17.(alew, ) Modiﬁed
                   on 2/14/2017 to edit text (alew, ). (Main Document 7 replaced on 2/15/2017) (alew, ).
                   Modiﬁed on 2/15/2017 to replace with document per clerk (alew, ). (Entered: 02/14/2017)
   02/14/2017    8 NOTICE OF HEARING as to Precias K Freeman Arraignment set for 2/24/2017 10:00
                   AM in Greenville #1, Clement F Haynsworth Fed Bldg, 300 E Washington St, Greenville
                   before Magistrate Judge Jacquelyn D Austin. (alew, ) (Entered: 02/14/2017)
   02/24/2017    9 Arrest of Precias K Freeman. Clerk notiﬁed by: USM. (ncha, ) (Entered: 02/24/2017)
   02/24/2017   10 ORAL ORDER APPOINTING FEDERAL PUBLIC DEFENDER David Wilson
                   Plowden for Precias K Freeman entered by Magistrate Judge Jacquelyn D Austin on
                   2/24/2017.(ncha, ) (Entered: 02/24/2017)
   02/24/2017   11 Minute Entry for proceedings held before Magistrate Judge Jacquelyn D Austin:
                   Arraignment as to Precias K Freeman (1) Count 1 held on 2/24/2017. Defendant
                   present in custody with Attorney David Plowden. Federal Public Defender's Ofﬁce
                   appointed to represent Defendant. Defendant waived reading of indictment and
                   penalties. Plea of not guilty entered by the Court. Bond set at $25,000 secured. Will
                   reconvene for conditions if bond is posted. May readdress if state bond is no longer
                   an issue. Court Reporter Debra Bull. (ncha, ) (Entered: 02/24/2017)
   02/24/2017   12 ORAL ORDER Setting Bond at $25,000 secured as to Precias Freeman entered by
                   Magistrate Judge Jacquelyn D Austin on 2/24/17. Will reconvene for conditions if
                   bond is posted. (ncha, ) (Entered: 02/24/2017)
   02/27/2017   14 Warrant Returned Executed on 02/24/2017 in case as to Precias K Freeman. (bwalters-
                   USMS, ) (Entered: 02/27/2017)
   03/01/2017   15 CJA 23 Financial Afﬁdavit (Restricted Access) by Precias K Freeman (mpridmore-
                   USPO, ) (Entered: 03/01/2017)
   03/01/2017   16 Case Reassigned as to Precias K Freeman to Judge Honorable Timothy M Cain. Judge
                   Unassigned - CRI no longer assigned to the case. (pcas, ) (Entered: 03/01/2017)
   03/03/2017   17 NOTICE OF HEARING as to Precias K Freeman: Bond Conditions Hearing set for
                   3/6/2017 10:00 AM in Greenville #4, Clement F Haynsworth Fed Bldg, 300 E
                   Washington St., Greenville before Magistrate Judge Kevin McDonald. (awil, ) (Entered:
                   03/03/2017)
   03/06/2017   18 Minute Entry for proceedings held before Magistrate Judge Kevin McDonald: Bond
                   Hearing as to Precias K Freeman held on 3/6/2017. Defendant present in custody
                   with counsel. Bond is $25,000 secured. Bondsman has signed. Special conditions as
                   follows: home conﬁnement with GPS monitoring; drug testing as directed by US
                   Probation Ofﬁce; defendant must comply with state bonds; defendant must reside at
                   parent's residence. Pretrial to verify residence prior to defendant's release. Tape
                   #CourtSmart 4. (awil, ) (Entered: 03/06/2017)
   03/06/2017   19 ORDER Setting Conditions of Release as to Precias K Freeman (1). Bond is $25,000
                   secured. Special conditions as follows: home conﬁnement with GPS monitoring;
                   drug testing as directed by US Probation Ofﬁce; defendant must comply with state
                   bonds; defendant must reside at parents' residence. Pretrial to verify residence prior
                   to defendant's release. Signed by Magistrate Judge Kevin McDonald on 3/6/17.(awil,
                   ) (Entered: 03/06/2017)
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   03/06/2017   20 SECURED Bond Entered as to Precias K Freeman in amount of $ 25,000. Defendant is
                   ready to be released from USM custody. (Attachments: # 1 Power of Attorney)(awil, )
                   (Entered: 03/06/2017)
   03/14/2017   23 SCHEDULING NOTICE as to Precias K Freeman:Motions due by 3/22/2017. Pretrial
                   Conference and/or Change of Plea set for 4/10/2017 02:00 PM in G Ross Anderson Jr
                   Court House, 315 S McDufﬁe St, Anderson before Honorable Timothy M Cain.
                   (Attachments: # 1 Judge Cain Criminal Standing Order)(pbri, ) (Entered: 03/14/2017)
   03/14/2017   24 ***DOCUMENT MAILED as to Precias K Freeman re 23 Scheduling Notice, placed in
                   U.S. Mail to Surety (pbri, ) (Entered: 03/14/2017)
   04/07/2017   25 MOTION to Continue by Precias K Freeman. No proposed order(Plowden, David)
                   (Entered: 04/07/2017)
   04/07/2017   26 TEXT ORDER granting 25 Motion to Continue as to Precias K Freeman (1).
                   Ordered by Honorable Timothy M Cain on 4/7/17.(pbri, ) (Entered: 04/07/2017)
   04/07/2017   27 NOTICE OF CANCELLATION OF HEARING: 4/10/17 Pretrial as to Precias K
                   Freeman (pbri, ) (Entered: 04/07/2017)
   04/26/2017   28 SCHEDULING NOTICE as to Precias K Freeman: Motions due by 5/18/2017. Pretrial
                   Conference and/or Change of Plea set for 6/6/2017 09:30 AM in G Ross Anderson Jr
                   Court House, 315 S McDufﬁe St, Anderson before Honorable Timothy M Cain.
                   (Attachments: # 1 Judge Cain Criminal Standing Order)(pbri, ) (Entered: 04/26/2017)
   04/27/2017   29 ***DOCUMENT MAILED as to Precias K Freeman re 28 Scheduling Notice, placed in
                   U.S. Mail to Surety (pbri, ) (Entered: 04/27/2017)
   06/06/2017   30 Minute Entry for proceedings held before Honorable Timothy M Cain: Pretrial
                   Conference as to Precias K Freeman held on 6/6/2017. Defendant present with
                   counsel and to enter a guilty plea. Court Reporter Karen Martin. (pbri, ) (Entered:
                   06/06/2017)
   06/06/2017   31 Minute Entry for proceedings held before Honorable Timothy M Cain: Change of
                   Plea Hearing as to Precias K Freeman held on 6/6/2017. Precias K Freeman (1)
                   Guilty Count 1. Court Reporter Karen Martin. (pbri, ) (Entered: 06/06/2017)
   06/06/2017   32 Guilty PLEA ENTERED as to Precias K Freeman (pbri, ) (Entered: 06/06/2017)
   06/06/2017   33 ORAL MOTION to modify conditions of bond as to Precias K Freeman. (pbri, )
                   (Entered: 06/06/2017)
   06/06/2017   34 TEXT ORDER removing electronic monitoring and house arrest, granting 33 Oral
                   Motion to Modify Conditions of Bond as to Precias K Freeman (1). The defendant
                   must comply with all remaining terms and conditions including substance abuse
                   treatment at the Forrester Center. Ordered by Honorable Timothy M Cain on
                   6/6/17.(pbri, ) (Entered: 06/06/2017)
   06/06/2017   35 Minute Entry for proceedings held before Honorable Timothy M Cain: Hearing to
                   Modify the conditions of bond as to Precias K Freeman held on 6/6/2017. The court
                   grants the unopposed motion to remove electronic monitoring and house arrest.
                   Court Reporter Karen Martin. (pbri, ) (Entered: 06/06/2017)
   07/19/2017   37 TEXT ORDER APPOINTING FEDERAL PUBLIC DEFENDER Lora Collins
                   Blanchard for Precias K Freeman. Ordered by Honorable Timothy M Cain on
                   7/19/17.(pbri, ) (Entered: 07/19/2017)
   09/07/2017   39 ORDER modifying conditions of release as to Precias K Freeman. Signed by

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                    Honorable Timothy M Cain on 9/7/17.(pbri, ) (Entered: 09/07/2017)
   09/15/2017   41 MOTION to Revoke Bond as to Precias K Freeman. (pbri, ) (Entered: 09/15/2017)
   09/15/2017   42 ORDER granting 41 Motion for Bond Revocation Warrant as to Precias K Freeman
                   (1). Signed by Honorable Timothy M Cain on 9/15/17.(pbri, ) Modiﬁed on 5/22/2018
                   to correct text on entry (pbri, ). (Entered: 09/15/2017)
   05/18/2018   48 NOTICE OF HEARING as to Precias K Freeman: Sentencing set for 7/9/2018 02:00 PM
                   in G Ross Anderson Jr Court House, 315 S McDufﬁe St, Anderson before Honorable
                   Timothy M Cain. (pbri, ) (Entered: 05/18/2018)
   06/29/2018   49 Writ of Habeas Corpus ad Prosequendum Issued as to Precias K Freeman for as
                   needed from Cleveland County Jail, NC. Signed by Magistrate Judge Jacquelyn D
                   Austin on 6/29/18.(jtho, ) (Entered: 06/29/2018)
   06/29/2018   50 NOTICE OF HEARING as to Precias K Freeman: Bond Revocation Hearing set for
                   7/6/2018 10:00 AM in Greenville #4, Clement F Haynsworth Fed Bldg, 300 E
                   Washington St., Greenville before Magistrate Judge Kevin McDonald. (awil, ) (Entered:
                   06/29/2018)
   07/06/2018   53 Minute Entry for proceedings held before Magistrate Judge Kevin McDonald: Bond
                   Revocation Hearing as to Precias K Freeman held on 7/6/2018. The defendant is
                   present in custody with AFPD Lora Blanchard. The defendant's bond is revoked.
                   Court Reporter Karen Martin. (jtho, ) (Entered: 07/06/2018)
   07/06/2018   54 ORAL ORDER revoking bond as to Precias K Freeman. Signed by Magistrate
                   Judge Kevin McDonald on 7/6/18.(jtho, ) (Entered: 07/06/2018)
   07/06/2018   55 Arrest of Precias K Freeman. Clerk notiﬁed by: USM. (jtho, ) (Entered: 07/06/2018)
   07/06/2018   56 Warrant Returned Executed on 07/05/2018 in case as to Precias K Freeman. (bwalters-
                   USMS, ) (Entered: 07/06/2018)
   07/09/2018   57 Minute Entry for proceedings held before Honorable Timothy M Cain: Status
                   Conference as to Precias K Freeman held on 7/9/2018. Defendant requests time to
                   hire counsel and objects to drug weight. Drug weight will be recalculated and
                   defendant's fugitive status will be examined in regards to her guilty plea proffer.
                   Court Reporter Debra Bull. (pbri, ) (Entered: 07/09/2018)
   07/20/2018   59 NOTICE OF ATTORNEY APPEARANCE: Donald L Smith appearing for Precias K
                   Freeman (Smith, Donald) (Entered: 07/20/2018)
   07/23/2018   60 TEXT CJA 7 as to Precias K Freeman - Order Terminating Appointment of
                   Counsel Lora Collins Blanchard. Signed by Magistrate Judge Kevin McDonald on
                   7/23/18.(jtho, ) (Entered: 07/23/2018)
   08/10/2018   61 First MOTION for Extension of Time by Precias K Freeman. No proposed order(Smith,
                   Donald) (Entered: 08/10/2018)
   08/13/2018   62 TEXT ORDER granting 61 Motion for Extension of Time to File objections to the
                   amended presentence report until September 20, 2018 as to Precias K Freeman (1).
                   Ordered by Honorable Timothy M Cain on 8/13/18.(pbri, ) (Entered: 08/13/2018)
   09/26/2018   63 MOTION to Seal Document by USA as to Precias K Freeman. Proposed order is being
                   emailed to chambers with copy to opposing counsel(Watkins, William) (Entered:
                   09/26/2018)
   09/26/2018   64 ORDER granting 63 Motion to Seal Document as to Precias K Freeman (1). Sealing
                   pursuant to this order may be challenged by any person at any time. Any motions

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                    seeking to unseal documents shall address the factors governing sealing reﬂected in
                    controlling case law.Signed by Honorable Timothy M Cain on 9/26/18.(pbri, )
                    (Entered: 09/26/2018)
   09/26/2018   65 Sealed Document (Attachments: # 1 Exhibit A - DHEC Report, # 2 Exhibit B - DEA 6)
                   (Watkins, William) (Entered: 09/26/2018)
   10/29/2018   69 NOTICE OF HEARING as to Precias K Freeman: Sentencing set for 12/13/2018 02:00
                   PM in G Ross Anderson Jr Court House, 315 S McDufﬁe St, Anderson before Honorable
                   Timothy M Cain. (pbri, ) (Entered: 10/29/2018)
   12/05/2018   70 SENTENCING MEMORANDUM by Precias K Freeman (Attachments: # 1 Exhibit
                   Diagnosis, # 2 Exhibit Diagnostic Formulation, # 3 Exhibit Expansion of Candidates for
                   Program, # 4 Exhibit No Lost Causes, # 5 Exhibit Promotion of Addiction)(Smith,
                   Donald) (Attachment 3 replaced on 12/7/2018 as provided by ﬁler to correct entry) (pbri,
                   ). (Entered: 12/05/2018)
   12/13/2018   71 Minute Entry for proceedings held before Honorable Timothy M Cain: Sentencing
                   held on 12/13/2018 as to Precias K Freeman. Court Reporter Debra Bull. (pbri, )
                   (Entered: 12/13/2018)
   12/13/2018   72 JUDGMENT as to Precias K Freeman (1), Count(s) 1. The defendant is sentenced to
                   210 months imprisonment and 3 years supervised release. $100.00 special
                   assessment. Defendant remanded to the custody of he United States Marshal. Signed
                   by Honorable Timothy M Cain on 12/13/18.(pbri, ) (Entered: 12/13/2018)
   12/24/2018   75 MOTION for Reconsideration by Precias K Freeman. No proposed order(Smith, Donald)
                   (Entered: 12/25/2018)
   12/26/2018   76 Amended MOTION for Reconsideration re 72 Judgment, by Precias K Freeman. No
                   proposed order (Attachments: # 1 Exhibit Description of drug test failure, # 2 Exhibit
                   Emails to Agent Webber, # 3 Exhibit Comments by Judge Hendricks, # 4 Exhibit
                   Hillcrest Hospital Records, # 5 Exhibit Forrester Center Evaluation)(Smith, Donald)
                   (Entered: 12/26/2018)
   01/09/2019   79 RESPONSE in Opposition by USA as to Precias K Freeman re 76 Amended MOTION
                   for Reconsideration re 72 Judgment, (Watkins, William) (Entered: 01/09/2019)
   01/14/2019   80 REPLY TO RESPONSE to Motion by Precias K Freeman re 76 Amended MOTION for
                   Reconsideration re 72 Judgment, (Smith, Donald) (Entered: 01/14/2019)
   01/30/2019   81 TEXT ORDER denying 76 Motion for Reconsideration as to Precias K Freeman (1):
                   Defendant ﬁled a motion for rehearing or, in the alternative, an amended motion for
                   reconsideration of this courts sentence and judgment order of December 13, 2018.
                   (ECF No. 76). The Government ﬁled a response. (ECF No. 79). Defendant ﬁled a
                   Reply. (ECF No. 80).Defendant pleaded guilty to violations of 21 U.S.C. 841(a)(1),
                   (b)(1)(C) and 846. (ECF No. 32). A sentencing hearing was held on December 13,
                   2018. At the hearing, Defendant withdrew her objections to the Presentence Report.
                   Defendant was sentenced to 210 months imprisonment to be followed by three years
                   of supervised release. (ECF No. 72).Defendants motion essentially attempts to
                   rehash arguments contained in the objections to the Presentence Report, all of which
                   were withdrawn, or to reargue her motion to enter a drug court program. (ECF No.
                   70). Defendants motion states it is ﬁled pursuant to Federal Rule of Civil Procedure
                   59(e). However, Rule 59(e) does not apply to criminal proceedings. United States v.
                   McKelvey, 34 Fed. Appx 959, 959 (4th Cir. 2002). The courts authority to modify a
                   sentence is extremely narrow. A district court is only authorized to modify or reduce
                   a sentence after imposition where (1) the Bureau of Prisons moves for a reduction,
                   (2) the Sentencing Commission amends the applicable Guidelines range, or (3)
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                    another statute (including Rule 35 of the Federal Rules of Criminal Procedure)
                    expressly permits the court to do so. United States v. Blackshear, 450 Fed. Appx 241,
                    242 (4th Cir. 2011) (citing 18 U.S.C. § 3582(c) (Section 3582)). Neither the ﬁrst nor
                    third condition is present here. Therefore, the only relevant issue is whether
                    modiﬁcation is allowed by statute or Rule 35. Under Rule 35, there are also only
                    three possible situations allowing the court to modify a sentence: (a) upon remand
                    after appeal; (b) upon motion of the Government; and (c) within fourteen days after
                    sentencing if there was an arithmetical, technical, or other clear error. See
                    Fed.R.Crim.P. 35(a)-(c). As there has not been a remand after an appeal, the
                    Government has not ﬁled any motion for a sentence reduction, and there is no
                    arithmetical, technical or other clear error in the judgment, Rule 35 does not
                    provide Defendant any relief. It appears that Defendant simply would like a re-do of
                    her sentencing. However, the court ﬁnds that it lacks authority to modify Defendants
                    sentence.Assuming the court did have the authority to alter or amend the sentence,
                    it would not do so. The court carefully considered the Defendants motion for entry
                    into the Bridge Program and determined, based upon the facts and circumstances
                    presented, as well as an analysis of the factors set forth in 18 U.S.C. §3553, that the
                    motion should be denied. The Defendant has a troubling criminal record. She was a
                    proliﬁc dealer of hydrocodone and oxycodone through forging and ﬁlling fraudulent
                    prescriptions over an extended period, ﬁlling up to 21 such prescriptions per day.
                    (ECF No. 68, 10). The Defendant received a low end advisory guideline sentence,
                    with a recommendation, based on her assertions that she had a drug problem, that
                    she be allowed to participate in any drug treatment programs available within the
                    Bureau of Prisons. The court remains of the opinion that the sentenced imposed is
                    reasonable given the facts and circumstances of the case and sufﬁcient but not
                    greater than necessary to achieve the purposes of sentencing.Finally, in her Reply,
                    Defendant makes a vague reference to the First Step Act and requests an
                    opportunity to be a subject case under the Act without identifying any speciﬁc
                    provisions which would entitle her to relief. (ECF No. 80). Unlike ﬁlings ﬁled by pro
                    se parties, the court is not required to liberally construe motions ﬁled by a party
                    who is represented by counsel. Aikens v. Ingram, 652 F.3d 496, 504 (4th Cir. 2011).
                    Nor are courts required to conjure up questions never squarely presented to them.
                    Beaudett v. City of Hampton, 775 F.2d 1274 (4th Cir. 1274, 1278). Based on the
                    foregoing, Defendants motion (ECF No. 76) is DENIED.This order shall be without
                    prejudice to the Defendants right to pursue, by proper petition or motion in
                    accordance with applicable law, any relief to which she may be entitled under the
                    First Step Act of 2018, Pub. L. No. 115-391, § 404, 132 Stat.__(2018). Ordered by
                    Honorable Timothy M Cain on 1/30/19.(pbri, ) (Entered: 01/30/2019)
   02/12/2019   82 NOTICE OF APPEAL OF FINAL JUDGMENT Precias K Freeman re 72 Judgment. The
                   Docketing Statement form, Transcript Order form, and CJA 24 form may be obtained
                   from the Fourth Circuit website at www.ca4.uscourts.gov. If applicable, the original CJA
                   24 form must be sent to the clerk's ofﬁce upon ﬁling of the Transcript Order form. (pbri, )
                   (Entered: 02/13/2019)
   02/13/2019   83 Transmittal Sheet for Notice of Appeal to USCA as to Precias K Freeman to US Court of
                   Appeals re 82 Notice of Appeal - Final Judgment. The Clerk's Ofﬁce hereby certiﬁes the
                   record and the docket sheet available through ECF to be the certiﬁed list in lieu of the
                   record and/or the certiﬁed copy of the docket entries. (pbri, ) (Entered: 02/13/2019)
   02/19/2019   85 USCA Case Number as to Precias K Freeman 19-4104 for 82 Notice of Appeal - Final
                   Judgment, ﬁled by Precias K Freeman. (pbri, ) (Entered: 02/19/2019)
   03/13/2019   86 ORDER of USCA appointing Hannah Rogers Metcalfe as to Precias K Freeman re 82
                   Notice of Appeal - Final Judgment. (jtho, ) (Entered: 03/13/2019)

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   04/08/2019   88 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Precias K
                   Freeman. Bond Conditions Hearing for dates of March 6, 2017 before Judge Kevin F.
                   McDonald, re 82 Notice of Appeal - Final Judgment, Court Reporter/Transcriber Beth A.
                   Krupa, RPR, CRR, Telephone number/E-Mail beth_krupa@scd.uscourts.gov. Transcript
                   may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER. Parties have 7 calendar days from the ﬁling of
                   the transcript to ﬁle with the court a Notice of Intent to Request Redaction. Does this
                   satisfy all appellate orders for this reporter? Y

                    Redaction Request due 4/29/2019. Redacted Transcript Deadline set for 5/9/2019.
                    Release of Transcript Restriction set for 7/8/2019. (bkru, ) (Entered: 04/08/2019)
   04/24/2019   89 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Precias K
                   Freeman. Status Conference for dates of February 24, 2017 before Judge Timothy M.
                   Cain, re 82 Notice of Appeal - Final Judgment, Court Reporter/Transcriber D Bull,
                   Telephone number/E-Mail debra_bull@scd.uscourts.gov. Transcript may be viewed at the
                   court public terminal or purchased through the Court Reporter/Transcriber before the
                   deadline for Release of Transcript Restriction. After that date it may be obtained through
                   PACER. Parties have 7 calendar days from the ﬁling of the transcript to ﬁle with the court
                   a Notice of Intent to Request Redaction. Does this satisfy all appellate orders for this
                   reporter? N

                    Redaction Request due 5/15/2019. Redacted Transcript Deadline set for 5/28/2019.
                    Release of Transcript Restriction set for 7/23/2019. (dbull, ) (Entered: 04/24/2019)
   04/24/2019   90 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Precias K
                   Freeman. Status Conference for dates of July 9, 2018 before Judge Timothy M. Cain, re
                   82 Notice of Appeal - Final Judgment, Court Reporter/Transcriber D Bull, Telephone
                   number/E-Mail debra_bull@scd.uscourts.gov. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before the deadline
                   for Release of Transcript Restriction. After that date it may be obtained through PACER.
                   Parties have 7 calendar days from the ﬁling of the transcript to ﬁle with the court a Notice
                   of Intent to Request Redaction. Does this satisfy all appellate orders for this reporter? N

                    Redaction Request due 5/15/2019. Redacted Transcript Deadline set for 5/28/2019.
                    Release of Transcript Restriction set for 7/23/2019. (dbull, ) (Entered: 04/24/2019)
   04/24/2019   91 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Precias K
                   Freeman. Sentencing for dates of December 13, 2018 before Judge Timothy M. Cain, re
                   82 Notice of Appeal - Final Judgment, Court Reporter/Transcriber D Bull, Telephone
                   number/E-Mail debra_bull@scd.uscourts.gov. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before the deadline
                   for Release of Transcript Restriction. After that date it may be obtained through PACER.
                   Parties have 7 calendar days from the ﬁling of the transcript to ﬁle with the court a Notice
                   of Intent to Request Redaction. Does this satisfy all appellate orders for this reporter? Y

                    Redaction Request due 5/15/2019. Redacted Transcript Deadline set for 5/28/2019.
                    Release of Transcript Restriction set for 7/23/2019. (dbull, ) (Entered: 04/24/2019)
   05/02/2019   92 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Precias K
                   Freeman. Pretrial Conference and Bond Hearing for date of 6/6/17 before Judge Timothy
                   M. Cain, re 82 Notice of Appeal - Final Judgment, Court Reporter/Transcriber Karen E.
                   Martin, Telephone number/E-Mail Karen_E_Martin@scd.uscourts.gov. Transcript may
                   be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
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                     date it may be obtained through PACER. Parties have 7 calendar days from the ﬁling of
                     the transcript to ﬁle with the court a Notice of Intent to Request Redaction. Does this
                     satisfy all appellate orders for this reporter? N

                     Redaction Request due 5/23/2019. Redacted Transcript Deadline set for 6/3/2019.
                     Release of Transcript Restriction set for 7/31/2019. (kmartin, ) (Entered: 05/02/2019)
   05/02/2019    93 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Precias K
                    Freeman. Change of Plea for date of 6/6/17 before Judge Timothy M. Cain, re 82 Notice
                    of Appeal - Final Judgment, Court Reporter/Transcriber Karen E. Martin, Telephone
                    number/E-Mail Karen_E_Martin@scd.uscourts.gov. Transcript may be viewed at the
                    court public terminal or purchased through the Court Reporter/Transcriber before the
                    deadline for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. Parties have 7 calendar days from the ﬁling of the transcript to ﬁle with the court
                    a Notice of Intent to Request Redaction. Does this satisfy all appellate orders for this
                    reporter? N

                     Redaction Request due 5/23/2019. Redacted Transcript Deadline set for 6/3/2019.
                     Release of Transcript Restriction set for 7/31/2019. (kmartin, ) (Entered: 05/02/2019)
   05/02/2019    94 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Precias K
                    Freeman. Bond Revocation Hearing for date of 7/6/18 before Judge Kevin F. McDonald,
                    re 82 Notice of Appeal - Final Judgment, Court Reporter/Transcriber Karen E. Martin,
                    Telephone number/E-Mail Karen_E_Martin@scd.uscourts.gov. Transcript may be viewed
                    at the court public terminal or purchased through the Court Reporter/Transcriber before
                    the deadline for Release of Transcript Restriction. After that date it may be obtained
                    through PACER. Parties have 7 calendar days from the ﬁling of the transcript to ﬁle with
                    the court a Notice of Intent to Request Redaction. Does this satisfy all appellate orders
                    for this reporter? Y

                     Redaction Request due 5/23/2019. Redacted Transcript Deadline set for 6/3/2019.
                     Release of Transcript Restriction set for 7/31/2019. (kmartin, ) (Entered: 05/02/2019)
   07/16/2019    96 ASSEMBLED INITIAL ELECTRONIC RECORD TRANSMITTED TO FOURTH
                    CIRCUIT COURT OF APPEALS as to Precias K Freeman re 82 Notice of Appeal - Final
                    Judgment. Electronic record successfully transmitted. (pbri, ) (Entered: 07/16/2019)
   07/25/2019    97 Appeal Remark as to Precias K Freeman re 82 Notice of Appeal - Final Judgment, ﬁled
                    by Precias K Freeman, USA : 4CCA screen shot. (pbri, ) (Entered: 07/25/2019)
   08/30/2019    99 MOTION to Vacate under 28 U.S.C. § 2255 by Precias K Freeman. Document delivered
                    to the clerk's ofﬁce unsigned. Signature page returned to defendant at Iredell County
                    Detention Center, 221 East Water Street, Statesville, NC 28687, Prisoner number 311557,
                    for signature.No proposed order (Attachments: # 1 Exhibit attorney documentation)(pbri,
                    )
                    Civil case 7:19-cv-02480-TMC opened. (Entered: 09/03/2019)
   09/03/2019   100 TEXT ORDER as to Precias K Freeman: dismissing Motion to Vacate under 28
                    U.S.C. § 2255 99 without prejudice. On September 3, 2019, Defendant ﬁled a Motion
                    to Vacate under 28 U.S.C. § 2255 (ECF No. 99). However, as Defendant
                    acknowledges in her current motion, id. at 2, Defendant's direct appeal remains
                    pending before the Fourth Circuit Court of Appeals. While the fact that an appeal is
                    pending does not divest the district court of jurisdiction to hear a § 2255 motion,
                    such motion is "generally not heard where a direct appeal is pending except in
                    'exceptional circumstances.'" United States 'v. Williams, 110 F.3d 62, at *1 (4th Cir.
                    1997); see also Bowen v. Johnson, 306 U.S. 19, 27 (1939). Defendant has failed to set

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                    forth any exceptional circumstances in this case that warrant deviation from this
                    rule. Additionally, it is possible that the appeal could resolve some issues raised in
                    the § 2255 motion. Accordingly, Defendant's motion to vacate is premature. See
                    Walker v. Connor, 72 Fed. Appx 3, 4 (4th Cir. 2003) (stating that a § 2255 petition
                    was premature when the direct criminal appeal was still pending). Accordingly, the
                    court dismisses Defendant's Motion to Vacate under 28 U.S.C. § 2255 (ECF No. 99)
                    without prejudice. In making this ruling, the court expresses no opinion as to the
                    ultimate merits of Defendant's claims. Furthermore, this is order is without
                    prejudice to the Defendant's right to pursue, by proper petition or motion in
                    accordance with the applicable law, any relief to which she may be entitled under
                    the First Step Act of 2018, Pub. L. No. 115-391, § 404 (2018). Ordered by Honorable
                    Timothy M Cain on 9/3/19.(pbri, )
                    Civil Case 7:19-cv-02480-TMC closed. (Entered: 09/03/2019)
  09/03/2019   101 JUDGMENT on 28:2255 PETITION as to Precias K Freeman re: 100 Order on Motion to
                   Vacate 2255 (pbri, ) (Main Document 101 replaced on 9/3/2019 to correct division) (pbri,
                   ). (Entered: 09/03/2019)
  09/03/2019   102 ***DOCUMENT MAILED as to Precias K Freeman re 101 28:2255 Judgment, 100
                   Order on Motion to Vacate 2255 placed in U.S. Mail from Greenville Clerks Ofﬁce to
                   Precias Freeman #311557 Iredell County Detention Center, 221 East Water Street,
                   Statesville, NC 28687. (pbri, ) (Entered: 09/03/2019)



                                           PACER Service Center
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                              ANDERSON/GREENWOOD DIVISION


           UNITED STATES OF AMERICA,            )        June 6, 2017
                                                )
                    -versus-                    )        Anderson, SC
                                                )
           MARCUS DEVANTE HORNE,                )        7:17-103-1
           BRENDA PEREZ-DIAZ,                   )        6:16-361-4
           PRECIAS K. FREEMAN,                  )        7:17-79-1
           TRAVIS LEE NIXON,                    )        6:17-208-1
           MIGUEL URIETA-JAMES,                 )        8:16-296-1
                     Defendants.                )


                               TRANSCRIPT OF CHANGE OF PLEA

                          BEFORE THE HONORABLE TIMOTHY M. CAIN
                        UNITED STATES DISTRICT JUDGE, presiding


           A P P E A R A N C E S:

           For the Government:                  ANDREW B. MOORMAN, AUSA
                                                WILLIAM J. WATKINS, JR, AUSA
                                                D. JOSEV BREWER, AUSA
                                                JENNIFER E. WELLS, AUSA
                                                US Attorney's Office
                                                55 Beattie Place, Ste. 700
                                                Greenville, SC 29601

           For Defendant Horne:                 RYAN L. BEASLEY, ESQ.
                                                650 E. Washington St.
                                                Greenville, SC 29601

           For Defendant Perez-Diaz:            HANNAH R. METCALFE, ESQ.
                                                9 Toy Street
                                                Greenville, SC 29601

           For Defendant Freeman:               DAVID W. PLOWDEN, ESQ.
                                                Federal Public Defender
                                                75 Beattie Place, Ste. 950
                                                Greenville, SC 29601

           For Defendant Nixon:                 JAMES B. LOGGINS, ESQ.
                                                Federal Public Defender
                                                75 Beattie Place, Ste. 950
                                                Greenville, SC 29601


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           For Defendant Urieta-James:        JAMES B. LOGGINS, ESQ.
                                              Federal Public Defender
                                              75 Beattie Place, Ste. 950
                                              Greenville, SC 29601

           Court Reporter:                    KAREN E. MARTIN, RMR, CRR
                                              300 E. Washington Street
                                              Room 304
                                              Greenville, SC 29601

           The proceedings were taken by mechanical stenography and
           the transcript produced by computer.




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         1                          Tuesday, June 6, 2017

         2                THE COURT:     I would ask that you line up in the

         3    order as directed by the Clerk.

         4                THE CLERK:     Marcus Horne, and then Brenda

         5    Perez-Diaz, Precias Freeman, Travis Nixon, and Miguel

         6    Urieta-James.

         7                THE COURT:     All right.      At this time I'm going

         8    to ask the clerk to place the defendants under oath.            And

         9    when you respond, I need you to do so one at a time

        10    beginning with Mr. Horne.

        11                THE CLERK:     Raise your right hand, please.

        12          (WHEREUPON, the defendants were sworn.)

        13                MR. HORNE:     Yes, ma'am.

        14                MS. PEREZ-DIAZ:     Yes, ma'am.

        15                MS. FREEMAN:     Yes.

        16                MR. NIXON:     Yes, ma'am.

        17                MR. URIETA-JAMES:        Yes, ma'am.

        18                THE CLERK:     Thank you.

        19                THE COURT:     Let the record reflect all the

        20    defendants are now under oath.

        21                As I understand it, we have Mr. Horne who is

        22    represented by Mr. Beasley, Ms. Perez-Diaz represented by

        23    Ms. Metcalfe, Ms. Freeman who is represented by

        24    Mr. Plowden, Mr. Nixon who is represented by Mr. Loggins,

        25    and Mr. Urieta-James represented by Mr. Loggins.            Thank



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         1    you.

         2                Let me first ask the attorneys if there is any

         3    objection to proceeding with these folks as a group?                We

         4    can do it as a group or take them individually.             It

         5    matters not to me because I have to be here all day

         6    anyway.   Glad to do it.      But it saves time for everyone

         7    when we're able to proceed in this fashion.             So let me

         8    just ask, beginning with Mr. Beasley, if there's any

         9    objection to proceeding with this group of five?

        10                MR. BEASLEY:     I'll do the group, Judge.

        11                MS. METCALFE:     No objection, Your Honor.

        12                MR. PLOWDEN:     No objection.

        13                MR. LOGGINS:     No objection, Your Honor.

        14                THE COURT:     Thank you.      Let me also ask the

        15    attorneys, with respect to your client, have you had a

        16    sufficient amount of time to confer with your client to

        17    discuss these matters?

        18                MR. BEASLEY:     Yes, Your Honor.

        19                MS. METCALFE:     Yes, sir.

        20                MR. PLOWDEN:     Yes, Your Honor.

        21                MR. LOGGINS:     I have, Your Honor.

        22                THE COURT:     Have you advised your clients of

        23    your client's constitutional rights and explained the

        24    court process?

        25                MR. BEASLEY:     I have, Your Honor.



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         1                 MS. METCALFE:      Yes, Your Honor.

         2                 MR. PLOWDEN:     Yes, sir.

         3                 MR. LOGGINS:     I have, Your Honor.

         4                 THE COURT:     Do you feel your client understands

         5    what the client's doing today?

         6                 MR. BEASLEY:     Yes, Your Honor.

         7                 MS. METCALFE:      Yes, Your Honor.

         8                 MR. PLOWDEN:     Yes, sir.

         9                 MR. LOGGINS:     I believe they both do, Your

        10    Honor.

        11                 THE COURT:     And Mr. Loggins, I'll take it unless

        12    you tell me otherwise, you're responding as to both

        13    clients.

        14                 MR. LOGGINS:     Very good, sir.

        15                 THE COURT:     Now I want to ask the defendants

        16    some questions about your decision to plead guilty today.

        17    When you answer, I need for you to speak up so that we can

        18    hear you and so the court reporter can make a record of

        19    what is said.        We don't have a microphone for each one of

        20    you, so it's vitally important that you speak up so that

        21    everyone can hear you.

        22                 Now, the prosecutor handling your particular

        23    case on behalf of the Government and your attorney tell me

        24    that you wish to change the plea you have previously

        25    entered in your case from a plea of not guilty to a plea



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         1    of guilty.     Is that correct?

         2                 MR. HORNE:     Yes, sir.

         3                 MS. PEREZ-DIAZ:     Yes, sir.

         4                 MS. FREEMAN:     Yes, sir.

         5                 MR. NIXON:     Yes, sir.

         6                 MR. URIETA-JAMES:        Yes, sir.

         7                 THE COURT:     And I do need for you to respond one

         8    at a time beginning with Mr. Horne.           And make sure your

         9    neighbor is finished with his or her answer before you

        10    start your answer so that we don't have more than one

        11    person trying to talk at the same time.              Also don't rely

        12    upon the answer your neighbor gives.              Your answer must be

        13    your own response based on your particular case and set of

        14    circumstances.

        15                 Now, Mr. Loggins, with respect to

        16    Mr. Urieta-James, have you had sufficient assistance from

        17    a qualified interpreter in communicating with your client?

        18                 MR. LOGGINS:     I have, Your Honor, we met

        19    multiple times over the course of representation.

        20                 THE COURT:     Mr. Urieta-James, do you agree with

        21    that?

        22                 MR. URIETA-JAMES:        Yes, sir.

        23                 THE COURT:     Thank you.

        24                 All right.     Ladies and gentlemen, before I can

        25    accept your plea of guilty, it is necessary for me to make



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         1    sure that you're pleading guilty freely, voluntarily, and

         2    knowingly.     By pleading guilty, you are giving up certain

         3    important rights and possible legal defenses you may have

         4    under the law.       I need to ask you some questions about

         5    this.     And it is very important that you listen carefully

         6    to my questions and to everything else that is said during

         7    this hearing.

         8                 If I give you information which is different

         9    from what others, including your lawyer, has told you, you

        10    must rely upon what I say.        Do you understand?

        11                 MR. HORNE:     Yes, sir.

        12                 MS. PEREZ-DIAZ:     Yes, sir.

        13                 MS. FREEMAN:     Yes, sir.

        14                 MR. NIXON:     Yes, sir.

        15                 MR. URIETA-JAMES:        Yes, sir.

        16                 THE COURT:     If I ask a question that you do not

        17    understand or use a word or phrase that you do not

        18    understand, you should tell me so that I can explain these

        19    to you.     Otherwise, I will presume that you understand

        20    these questions and everything that is said today.          During

        21    this questioning, if you feel it is necessary, you may ask

        22    for an opportunity to speak with your lawyer privately and

        23    I will allow you to do so.        Do you understand?

        24                 MR. HORNE:     Yes, sir.

        25                 MS. PEREZ-DIAZ:     Yes, sir.



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         1                MS. FREEMAN:     Yes.

         2                MR. NIXON:     Yes, sir.

         3                MR. URIETA-JAMES:           Yes, sir.

         4                THE COURT:     Do you understand that you are now

         5    under oath.    And that if you answer any of my questions

         6    falsely, your answers may later be used against you in

         7    another proceeding to include a criminal prosecution for

         8    perjury or for making a false statement?              Do you

         9    understand this?

        10                MR. HORNE:     Yes, sir.

        11                MS. PEREZ-DIAZ:       Yes, sir.

        12                MS. FREEMAN:     Yes.

        13                MR. NIXON:     Yes, sir.

        14                MR. URIETA-JAMES:           Yes, sir.

        15                THE COURT:     Please state your full name.

        16                MR. HORNE:     Marcus Devante Horne.

        17                MS. PEREZ-DIAZ:       Brenda Perez-Diaz.

        18                MS. FREEMAN:     Precias Kowanna Freeman.

        19                THE COURT:     What's your middle name?

        20                MS. FREEMAN:     Kowanna.

        21                MR. NIXON:     Travis Lee Nixon.

        22                MR. URIETA-JAMES:           Miguel Urieta-James.

        23                THE COURT:     How old are you?

        24                MR. HORNE:     20.

        25                MS. PEREZ-DIAZ:       28.



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         1                MS. FREEMAN:     34.

         2                THE COURT:     How old?

         3                MS. FREEMAN:     34.

         4                MR. NIXON:     26.

         5                MR. URIETA-JAMES:           41.

         6                THE COURT:     How far did you go in school?      In

         7    other words, what is your educational level?

         8                MR. HORNE:     Some college.

         9                MS. PEREZ-DIAZ:        10th grade.

        10                MS. FREEMAN:     Two years college.

        11                THE COURT:     Two years?

        12                MS. PEREZ-DIAZ:        (Nodded head.)

        13                MR. NIXON:     10th grade.

        14                THE COURT:     What grade?

        15                MR. NIXON:     10th.

        16                MR. URIETA-JAMES:           9.

        17                THE COURT:     Where were you born?

        18                MR. HORNE:     Gaffney, South Carolina.

        19                MS. PEREZ-DIAZ:        Spartanburg, South Carolina.

        20                MS. FREEMAN:     Shelby, North Carolina.

        21                MR. NIXON:     Greenville, South Carolina.

        22                MR. URIETA-JAMES:           Mexico.

        23                THE COURT:     These next series of questions are

        24    questions that I ask every defendant, so please do not be

        25    offended by my asking you.          Have you used any alcohol or



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         1    drug within the last 24 hours?

         2                MR. HORNE:     No, sir.

         3                MS. PEREZ-DIAZ:     No, sir.

         4                MS. FREEMAN:     No, sir.

         5                MR. NIXON:     No, sir.

         6                MR. URIETA-JAMES:        No, sir.

         7                THE COURT:     Are you under the influence of any

         8    alcohol, drug, medicine, or any other substance or mental

         9    or physical condition which would keep you from

        10    understanding what you are doing today?

        11                MR. HORNE:     No, sir.

        12                MS. PEREZ-DIAZ:     No, sir.

        13                MS. FREEMAN:     No, sir.

        14                MR. NIXON:     No, sir.

        15                MR. URIETA-JAMES:        No, sir.

        16                THE COURT:     I did not believe that any of you

        17    were.

        18                Are there any medications that have been

        19    prescribed for you by a doctor or medical provider that

        20    you are supposed to be taking today that you are not

        21    taking as directed?

        22                MR. HORNE:     No, sir.

        23                MS. PEREZ-DIAZ:     No, sir.

        24                MS. FREEMAN:     No, sir.

        25                MR. NIXON:     No, sir.



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         1                MR. URIETA-JAMES:        No, sir.

         2                THE COURT:     Have you ever been treated for

         3    mental illness or addiction to narcotic drugs?

         4                MR. HORNE:     No, sir.

         5                MS. PEREZ-DIAZ:        No, sir.

         6                MS. FREEMAN:     I'm in treatment now.

         7                THE COURT:     You're in treatment now?

         8                MS. FREEMAN:     Yes.

         9                THE COURT:     Step forward a little bit closer to

        10    the microphone and tell me about that.              Did Pretrial

        11    Services put you in treatment?

        12                MS. FREEMAN:     I asked to go.         I go to Forester

        13    Center in Spartanburg.

        14                THE COURT:     The what center?

        15                MS. FREEMAN:     Forester.        It used to be SADAC but

        16    now it's the Forester Center.

        17                THE COURT:     Okay.     And how often do you go

        18    there?

        19                MS. FREEMAN:     I go three days a week.

        20                THE COURT:     You go for counseling?

        21                MS. FREEMAN:     Counseling and drug testing.

        22                THE COURT:     Counseling and drug testing?

        23                MS. FREEMAN:     Yes, sir.

        24                THE COURT:     And are you passing your drug tests?

        25                MS. FREEMAN:     I am.



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         1                 THE COURT:     About how long have you been going

         2    there?

         3                 MS. FREEMAN:     Um, I would say about a month now.

         4                 THE COURT:     What was the drug or drugs that

         5    caused you to ask for that?

         6                 MS. FREEMAN:     Norco.

         7                 THE COURT:     Okay.     So do you feel like that is

         8    helping you?

         9                 MS. FREEMAN:     Oh, yeah.

        10                 THE COURT:     And do you understand what's going

        11    on today?

        12                 MS. FREEMAN:     I do.

        13                 THE COURT:     Thank you.

        14                 Did you want to say something, Mr. Plowden?

        15                 MR. PLOWDEN:     No, sir.

        16                 THE COURT:     Okay.

        17                 All right.     Again, the question is have you ever

        18    been treated for mental illness or addiction to narcotic

        19    drugs?

        20                 MR. NIXON:     I completed a Phoenix Center class

        21    last year.     I don't know if that counts.

        22                 THE COURT:     I heard Phoenix Center, but can you

        23    speak up and tell me that again?

        24                 MR. NIXON:     I completed.

        25                 THE COURT:     You completed the Phoenix Center?



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         1                 MR. NIXON:    Last year.

         2                 THE COURT:    Last year.        So were you there for a

         3    drug issue?

         4                 MR. NIXON:    Yeah, DSS.

         5                 THE COURT:    DSS sent you to the Phoenix Center?

         6                 MR. NIXON:    Yes, sir.

         7                 THE COURT:    Did you successfully complete that

         8    program?

         9                 MR. NIXON:    Yes, sir.

        10                 THE COURT:    Okay.      How long have you been in

        11    custody?

        12                 MR. NIXON:    Like, going on five months.

        13                 THE COURT:    Okay.

        14                 Again, the question is have you ever been

        15    treated for mental illness or addiction to narcotic drugs?

        16                 MR. URIETA-JAMES:        Yes, I've had treatment

        17    before.

        18                 THE COURT:    Tell me about that.         Approximately

        19    when was the treatment and what was it for?

        20                 MR. URIETA-JAMES:        About alcohol and drugs and

        21    it was about five years ago.

        22                 THE COURT:    Did you successfully complete the

        23    treatment?

        24                 MR. URIETA-JAMES:        Yes.

        25                 THE COURT:    And you're in custody at this time.



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         1    How long -- approximately how long have you been in

         2    custody?

         3                 MR. URIETA-JAMES:        19 months.

         4                 THE COURT:     Okay.     Thank you.

         5                 Other than the information you may have just

         6    given me in response to the last question, have you

         7    recently been treated by a doctor, psychiatrist,

         8    psychologist, or mental health professional?

         9                 MR. HORNE:     No, sir.

        10                 MS. PEREZ-DIAZ:        No, sir.

        11                 MS. FREEMAN:     No, sir.

        12                 MR. NIXON:     No, sir.

        13                 MR. URIETA-JAMES:        No, sir.

        14                 THE COURT:     Do you understand what is happening

        15    today?

        16                 MR. HORNE:     Yes, sir.

        17                 MS. PEREZ-DIAZ:        Yes, sir.

        18                 MS. FREEMAN:     Yes, sir.

        19                 MR. NIXON:     Yes, sir.

        20                 MR. URIETA-JAMES:        Yes, sir.

        21                 THE COURT:     Are you satisfied with the services

        22    of your attorney?

        23                 MR. HORNE:     Yes, sir.

        24                 MS. PEREZ-DIAZ:        Yes, sir.

        25                 MS. FREEMAN:     Yes, sir.



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         1                MR. NIXON:     Yes, sir.

         2                MR. URIETA-JAMES:        Yes, sir.

         3                THE COURT:     Have you had enough time to meet

         4    with your lawyer and discuss your case?

         5                MR. HORNE:     Yes, sir.

         6                MS. PEREZ-DIAZ:     Yes, sir.

         7                MS. FREEMAN:     Yes, sir.

         8                MR. NIXON:     Yes, sir.

         9                MR. URIETA-JAMES:        Yes, sir.

        10                THE COURT:     Has your attorney advised you of

        11    your rights and explained the court process to you?

        12                MR. HORNE:     Yes, sir.

        13                MS. PEREZ-DIAZ:     Yes, sir.

        14                MS. FREEMAN:     Yes, sir.

        15                MR. NIXON:     Yes, sir.

        16                MR. URIETA-JAMES:        Yes, sir.

        17                THE COURT:     Has your attorney explained the

        18    possible consequences that may take place as a result of

        19    this proceeding?

        20                MR. HORNE:     Yes, sir.

        21                MS. PEREZ-DIAZ:     Yes, sir.

        22                MS. FREEMAN:     Yes, sir.

        23                MR. NIXON:     Yes, sir.

        24                MR. URIETA-JAMES:        Yes, sir.

        25                THE COURT:     Have you told your attorney



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         1    everything that you want to tell him or her?

         2                MR. HORNE:     Yes, sir.

         3                MS. PEREZ-DIAZ:     Yes, sir.

         4                MS. FREEMAN:     Yes, sir.

         5                MR. NIXON:     Yes, sir.

         6                MR. URIETA-JAMES:        Yes, sir.

         7                THE COURT:     Has your attorney done everything

         8    that you've asked your attorney to do for you?

         9                MR. HORNE:     Yes, sir.

        10                MS. PEREZ-DIAZ:     Yes, sir.

        11                MS. FREEMAN:     Yes, sir.

        12                MR. NIXON:     Yes, sir.

        13                MR. URIETA-JAMES:        Yes, sir.

        14                THE COURT:     Is there anything that you would

        15    like for your attorney to do for you at this time before

        16    we proceed any further with your case?

        17                MR. HORNE:     No, sir.

        18                MS. PEREZ-DIAZ:     No, sir.

        19                MS. FREEMAN:     No, sir.

        20                MR. NIXON:     No, sir.

        21                MR. URIETA-JAMES:        No, sir.

        22                THE COURT:     Do you authorize your attorney to

        23    speak on your behalf today?

        24                MR. HORNE:     Yes, sir.

        25                MS. PEREZ-DIAZ:     Yes, sir.



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         1                 MS. FREEMAN:     Yes, sir.

         2                 MR. NIXON:     Yes, sir.

         3                 MR. URIETA-JAMES:        Yes, sir.

         4                 THE COURT:     Let me ask the attorneys, taking

         5    into consideration everything that you know about your

         6    client and your client's case, do you agree with your

         7    client's decision to plead guilty?

         8                 MR. BEASLEY:     I do, Your Honor.

         9                 MS. METCALFE:     Yes, Your Honor.

        10                 MR. PLOWDEN:     Yes, Your Honor.

        11                 MR. LOGGINS:     I do, Your Honor.

        12                 THE COURT:     And again to the attorneys, do you

        13    have any concerns about your client's competence to make

        14    this decision?

        15                 MR. BEASLEY:     No, Your Honor.

        16                 MS. METCALFE:     None whatsoever.

        17                 MR. PLOWDEN:     No, sir.

        18                 MR. LOGGINS:     No, sir.

        19                 THE COURT:     Any issues of competency or other

        20    questions requested from any of the attorneys or the

        21    Government?

        22                 MR. MOORMAN:     None as to Ms. Perez-Diaz.

        23                 MS. WELLS:     Not as to Mr. Horne, Your Honor.

        24                 MR. BREWER:     Not as to Mr. Urieta-James or

        25    Mr. Nixon.



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         1                 MR. WATKINS:     No, sir.

         2                 THE COURT:     Accordingly, with respect to each

         3    defendant, I find that each defendant is competent to

         4    plead guilty and I so find for purposes of the record.               As

         5    I indicated earlier, by pleading guilty you are giving up

         6    certain important rights and possible legal defenses you

         7    may have under the law.        Do you understand that under the

         8    constitution and laws of the United States you have a

         9    right to plead not guilty; and if you plead not guilty,

        10    you are entitled to a public and speedy trial by a jury on

        11    the charges contained in the indictment?

        12                 MR. HORNE:     Yes, sir.

        13                 MS. PEREZ-DIAZ:     Yes, sir.

        14                 MS. FREEMAN:     Yes, sir.

        15                 MR. NIXON:     Yes, sir.

        16                 MR. URIETA-JAMES:        Yes, sir.

        17                 THE COURT:     It matters not to me whether you

        18    plead guilty or not.        If you decided to plead not guilty

        19    and request a trial by jury, you would also be entitled to

        20    a number of procedural rights as a defendant in a criminal

        21    case.     I want to list these rights for you so that you

        22    will have a clear understanding of what you will give up

        23    if you plead guilty.        If a trial was held, you would have

        24    a right to the assistance of counsel for your defense at

        25    every stage of your case including the trial.               If you



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         1    could not afford an attorney, one would be appointed for

         2    you without cost to you.        And of course, you are all being

         3    represented by highly competent legal counsel at this

         4    time.

         5                There is no burden of proof upon you whatsoever.

         6    I will mention that to you several times.            You are

         7    presumed innocent of any charges contained in the

         8    indictment unless the Government proves you guilty of each

         9    and every element of each offense beyond a reasonable

        10    doubt.    You would be presumed innocent and the Government

        11    would be required to prove you guilty by competent

        12    evidence and beyond a reasonable doubt before you could be

        13    found guilty.       And you would not have to prove that you

        14    were innocent if a trial was held.

        15                If a trial was held, the witnesses for the

        16    Government would have to come to Court and testify in your

        17    presence.    They would do so from the witness box to my

        18    right, right where Mr. Watkins is standing.             Your attorney

        19    could cross-examine the Government's witnesses and ask

        20    them questions.       Your attorney could also object to

        21    evidence offered by the Government.           And although there is

        22    no burden of proof upon you, your attorney could offer

        23    evidence on your behalf.

        24                While there is no burden of proof upon you, if a

        25    trial was held, you would have the right to testify if you



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         1    chose to do so.     However, you also would have the right

         2    not to testify.     And if you decided not to testify, I

         3    would inform and instruct the jury that no inference or

         4    suggestion of guilt could be drawn from the fact that you

         5    did not testify.

         6                If a trial was held, you would have a right to

         7    the issuance of subpoenas to compel the attendance of

         8    witnesses to testify in your defense and to compel the

         9    production of other evidence.          In other words, although

        10    there is no burden of proof upon you, if a trial was held

        11    and you had witnesses that you wanted to come to court to

        12    testify, the Court would assist you and your attorney in

        13    having those witnesses brought to court if necessary.

        14                If a trial was held, in order for you to be

        15    found guilty, the jury would have to reach a unanimous

        16    verdict by all 12 of the jury members.           Do you understand

        17    all of these important rights I have outlined for you?

        18                MR. HORNE:     Yes, sir.

        19                MS. PEREZ-DIAZ:     Yes, sir.

        20                MS. FREEMAN:     Yes, sir.

        21                MR. NIXON:     Yes, sir.

        22                MR. URIETA-JAMES:        Yes, sir.

        23                THE COURT:     If you plead guilty and I accept

        24    your plea, you will give up your right to a jury trial and

        25    the other rights I have just listed for you.               And there



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         1    will be no trial.      And I will enter a judgment of guilt

         2    and sentence you on the basis of your guilty plea.          Do you

         3    understand?

         4                MR. HORNE:     Yes, sir.

         5                MS. PEREZ-DIAZ:     Yes, sir.

         6                MS. FREEMAN:     Yes, sir.

         7                MR. NIXON:     Yes, sir.

         8                MR. URIETA-JAMES:        Yes, sir.

         9                THE COURT:     If you plead guilty you will also

        10    have to give up your right not to incriminate yourself

        11    since I will ask you questions about what you did in order

        12    to satisfy myself that you are guilty as charged.          And you

        13    will have to acknowledge and admit to your guilt.          Do you

        14    understand that?

        15                MR. HORNE:     Yes, sir.

        16                MS. PEREZ-DIAZ:     Yes, sir.

        17                MS. FREEMAN:     Yes, sir.

        18                MR. NIXON:     Yes, sir.

        19                MR. URIETA-JAMES:        Yes, sir.

        20                THE COURT:     If restitution is an issue in your

        21    case, and if you plead guilty and I accept your plea, you

        22    may be required to make restitution to the victim or

        23    victims of your acts either by payment of money or in

        24    personal services as may be directed by the Court.          If

        25    restitution is ordered, failure to comply may be the basis



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         1    for revoking any period of supervised release that may be

         2    imposed as a part of your sentence.          Do you understand?

         3                MR. HORNE:     Yes, sir.

         4                MS. PEREZ-DIAZ:     Yes, sir.

         5                MS. FREEMAN:     Yes, sir.

         6                MR. NIXON:     Yes, sir.

         7                MR. URIETA-JAMES:        Yes, sir.

         8                THE COURT:     The offenses to which you're

         9    pleading guilty are felony offenses.             If your plea is

        10    accepted, you may be deprived of valuable civil rights

        11    such as the right to vote, hold public office, serve on a

        12    jury, and possess any kind of firearm.             It may also affect

        13    your ability to receive certain government benefits.               Do

        14    you understand?

        15                MR. HORNE:     Yes, sir.

        16                MS. PEREZ-DIAZ:     Yes, sir.

        17                MS. FREEMAN:     Yes, sir.

        18                MR. NIXON:     Yes, sir.

        19                MR. URIETA-JAMES:        Yes, sir.

        20                THE COURT:     Are you a citizen of the United

        21    States?

        22                MR. HORNE:     Yes, sir.

        23                MS. PEREZ-DIAZ:     Yes, sir.

        24                MS. FREEMAN:     Yes, sir.

        25                MR. NIXON:     Yes, sir.



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         1                MR. URIETA-JAMES:         No, sir.

         2                THE COURT:     Mr. Urieta-James, you are a citizen

         3    of what country?

         4                MR. URIETA-JAMES:         Mexico.

         5                THE COURT:     Do you understand that by pleading

         6    guilty you may also be removed from and/or deported from

         7    this country, denied citizenship, and denied admission to

         8    the United States, and be subject to other immigration

         9    consequences?       In fact, it would be my understanding that

        10    if you plead guilty or are convicted, you would be subject

        11    to deportation as well as these other possible

        12    consequences I have mentioned, as well as possible

        13    consequences that may be unforeseen at this time.           Do you

        14    understand that?

        15                MR. URIETA-JAMES:         Yes, sir.

        16                THE COURT:     If you plead guilty and forfeiture

        17    of property or money is an issue in your case, I can order

        18    you to forfeit certain property to the Government.           Do you

        19    understand?

        20                MR. HORNE:     Yes, sir.

        21                MS. PEREZ-DIAZ:      Yes, sir.

        22                MS. FREEMAN:     Yes, sir.

        23                MR. NIXON:     Yes, sir.

        24                MR. URIETA-JAMES:         Yes, sir.

        25                THE COURT:     If you plead guilty, the Court is



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         1    obligated to impose a mandatory special assessment fee for

         2    each count of the indictment that you admit to that is

         3    payable immediately upon sentencing.             Do you understand?

         4                MR. HORNE:     Yes, sir.

         5                MS. PEREZ-DIAZ:     Yes, sir.

         6                MS. FREEMAN:     Yes, sir.

         7                MR. NIXON:     Yes, sir.

         8                MR. URIETA-JAMES:        Yes, sir.

         9                THE COURT:     If you plead guilty today and at

        10    some point in the future you plead guilty or no contest to

        11    or you are convicted of a criminal offense in a state or

        12    federal court, this plea today may be used to give you an

        13    enhanced or greater sentence in that case.             Do you

        14    understand?

        15                MR. HORNE:     Yes, sir.

        16                MS. PEREZ-DIAZ:     Yes, sir.

        17                MS. FREEMAN:     Yes, sir.

        18                MR. NIXON:     Yes, sir.

        19                MR. URIETA-JAMES:        Yes, sir.

        20                THE COURT:     At this time I want us to go over

        21    the charge or charges in each case as well as the

        22    essential elements of those charges the Government would

        23    have to prove beyond a reasonable doubt if the case goes

        24    to trial and also the maximum possible penalty associated

        25    with each defendant and each case.          And I'm going to ask



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         1    the prosecutor handling the case on behalf of the

         2    Government to go over that.          And I want the defendants to

         3    listen carefully.

         4                Let me first ask, have you received a copy of

         5    the indictment; that is, the charging document in your

         6    case, and had sufficient opportunity to go over that

         7    document as well as your case in general with your

         8    attorney?

         9                MR. HORNE:     Yes, sir.

        10                MS. PEREZ-DIAZ:     Yes, sir.

        11                MS. FREEMAN:     Yes, sir.

        12                MR. NIXON:     Yes, sir.

        13                MR. URIETA-JAMES:        Yes, sir.

        14                THE COURT:     Thank you.

        15                All right.

        16                MS. WELLS:     May it please the Court, Your Honor?

        17    As to Mr. Horne, Mr. Horne is charged in a three-count

        18    indictment.    Count 1 of that indictment alleges that on or

        19    about September 1st, 2016, here in the District of South

        20    Carolina, that Mr. Horne, having been convicted of a crime

        21    punishable by imprisonment for a term exceeding one year

        22    did knowingly possess in and affecting commerce a firearm,

        23    that being a .40 caliber handgun, which had been shipped

        24    and transported in interstate commerce.           Your Honor,

        25    that's in violation of Title 18 United States Code



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         1    Sections 922(g)(1), 924(a)(2), and 924(e).

         2                 Your Honor, the elements the Government would

         3    have to prove at trial in this case is that the

         4    defendant -- beg the Court's indulgence for one moment to

         5    get to the right page.       The defendant had been convicted

         6    in some court -- in some court of a crime punishable by

         7    imprisonment for a term exceeding one year.             That the

         8    defendant possessed or shipped or transported in

         9    interstate commerce a firearm.           That the firearm had

        10    traveled in interstate or foreign commerce at some point

        11    during its existence.       And that the defendant did so

        12    knowingly, that is the defendant must know that the

        13    firearm was a firearm and the possession must be voluntary

        14    and intentional.

        15                 Your Honor, the penalty without the prior

        16    enhancing conviction in this case is not more than ten

        17    years, a fine of not more than $250,000, supervised

        18    release for up to three years, and a special assessment of

        19    $100.

        20                 I do not believe that Mr. Horne is an armed

        21    career criminal, but I can advise him of that if the Court

        22    pleases?

        23                 THE COURT:    Go ahead.

        24                 MS. WELLS:    Okay.      Your Honor, if he were to be

        25    determined to be ACC, that imprisonment would then become



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         1    15 years up to life, a fine of up to $250,000, supervised

         2    release up to five years, and a $100 special assessment.

         3                Your Honor, Count 2 of the indictment alleges

         4    that on or about September 1st, 2016, in the District of

         5    South Carolina, that Mr. Horne did knowingly obstruct,

         6    delay, and affect commerce as that term is defined in

         7    Title 18 United States Code Section 1951(b)(3).            And the

         8    movement of articles and commodities in such commerce by

         9    robbery as that term is defined in the statute in that the

        10    defendant did unlawfully take property consisting of money

        11    belonging to Zippy's, which, Your Honor, is located at 901

        12    West Floyd Baker Boulevard in Gaffney, South Carolina, and

        13    was at the time a commercial business engaged in

        14    interstate commerce, that Mr. Horne did take from the

        15    person and presence of an employee of the store against

        16    his will by means of actual and threatened force,

        17    violence, and fear of injury immediate and future to his

        18    person, in that the defendant did rob an employee of the

        19    store at gunpoint of money.          Your Honor, that's in

        20    violation of Title 18 United States Code Sections 1951(a).

        21                Your Honor, the elements the Government would

        22    have to prove at trial in this case is that the defendant

        23    did commit an unlawful taking or obtaining of personal

        24    property from a person or in the presence of another

        25    against his will by means of actual or threatened force or



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         1    violence or fear of injury immediate or future to his

         2    person or property, or property in his custody or

         3    possession; that this robbery obstructed, delayed, or

         4    affected commerce or the movement of any article or

         5    commodity in commerce.

         6                Your Honor, the penalty in that is imprisonment

         7    up to 20 years, a fine of up to $250,000, supervised

         8    release of up to three years, and a $100 special

         9    assessment.

        10                Your Honor, finally, as to Count 3, Mr. Horne --

        11    the grand jury charged in that count that Mr. Horne did on

        12    or about September 1st, 2016, here in the District of

        13    South Carolina, knowingly possess a firearm in furtherance

        14    of a crime of violence discharged in Count 2 of the

        15    indictment which is prosecutable in a court of the United

        16    States.   And that's in violation of Title 18 United States

        17    Code Section 924(c).

        18                Your Honor, the elements the Government would

        19    have to prove in that as to the 924(c) is, first, the

        20    defendant possessed a firearm.         Second, the defendant did

        21    so in furtherance of a crime of violence which may be

        22    prosecuted in federal court.         And did so knowingly, Your

        23    Honor.

        24                The penalty in that case is at least five years

        25    up to life, that is consecutive to any other term of



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         1    imprisonment imposed; a fine of up to $250,000; supervised

         2    release for up to five years; and a $100 special

         3    assessment.

         4                THE COURT:     Thank you.

         5                Mr. Moorman?

         6                MR. MOORMAN:     May it please the Court, Your

         7    Honor?    Ms. Brenda Perez-Diaz has offered to plead guilty

         8    to Count 1 of the superseding indictment in her case.          By

         9    way of summary, Count 1 alleges that beginning at a time

        10    unknown to the grand jury, but beginning at least in 2014

        11    and continuing thereafter up to and including the date of

        12    the superseding indictment, in the District of South

        13    Carolina and elsewhere, Ms. Perez-Diaz did conspire

        14    unlawfully and intentionally or agree with unlawfully and

        15    intentionally with others to possess with the intent to

        16    distribute and to distribute 500-grams or more of a

        17    mixture or substance containing a detectable amount of

        18    methamphetamine in violation of Title 21 United States

        19    Code Sections 841(a)(1), (b)(1)(A), and 846.

        20                Your Honor, the elements of the offense

        21    contained in Count 1 are as follows.           First, that's

        22    conspiracy described in the superseding indictment was

        23    willfully formed and was existing at or on about the

        24    alleged time.       And two, this defendant, Ms. Perez-Diaz,

        25    willfully became a member of the conspiracy.



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         1                Your Honor, the statutory penalties that are

         2    applicable as a result of Ms. Perez-Diaz's guilty plea are

         3    as follows.    A minimum term of imprisonment of ten years,

         4    and a maximum of life imprisonment, there is no

         5    opportunity for probation or parole, she is subject to a

         6    fine of up to $10 million, and a term of supervised

         7    release of at least five years, as well as a special

         8    assessment of $100.

         9                THE COURT:     Thank you.

        10                Mr. Watkins?

        11                MR. WATKINS:     Your Honor, as to Ms. Freeman,

        12    she's offering to plead guilty to her indictment which

        13    contains a single count.       It charges that beginning in or

        14    about October 2014 and up and to the date of the

        15    indictment that she, along with other individuals both

        16    known and unknown to the grand jury, conspired to

        17    unlawfully possess with intent to distribute Hydrocodone

        18    and Oxycodone, Your Honor.

        19                Your Honor, under the indictment, the Government

        20    would have to prove the following elements at trial.            One,

        21    a conspiracy to distribute controlled substances as

        22    described in the indictment was willfully formed and was

        23    existing at or about the alleged time.           And two, the

        24    accused willfully became a member of the conspiracy.

        25                Your Honor, the maximum penalty she could face



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         1    would be a fine of a million dollars, and/or 20 years

         2    imprisonment, supervised release of three years, and a

         3    special assessment fee of $100.

         4                THE COURT:    Thank you.

         5                Mr. Brewer?

         6                MR. BREWER:    Your Honor, may it please the

         7    Court?    Mr. Travis Lee Nixon is pleading to a single-count

         8    indictment for possession of a firearm.           That indictment

         9    reads that on or about February 16, 2017, in the District

        10    of South Carolina, Mr. Travis Lee Nixon, having been

        11    convicted of a crime punishable for a term exceeding one

        12    year, did possess in and affecting commerce a firearm;

        13    that is, a GSG .22 caliber semi-automatic firearm which

        14    had traveled in interstate commerce in violation of 18 USC

        15    Section 922(g)(1), 924(a)(2), and 924(e).

        16                Your Honor, in a trial of this case the

        17    Government would be -- have to prove beyond a reasonable

        18    doubt the following elements.        That Mr. Nixon had in fact

        19    been convicted of a crime punishable in some court of more

        20    than a term of -- of a term exceeding a year, that he

        21    subsequently possessed the firearm, that that firearm had

        22    traveled in interstate commerce at some time during its

        23    existence, and that he did so knowingly; that is, that he

        24    meant to possess it and that he knew it was a firearm.

        25                Your Honor, the maximum sentence that Mr. Nixon



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         1    faces up to ten years imprisonment, a fine of $250,000, up

         2    to three years supervised release, and a special

         3    assessment of a hundred dollars.

         4                Your Honor, with respect to Mr. Miguel

         5    Urieta-James, he is named in a nine-count indictment.

         6    He's specifically identified in Counts 1, 4 and 5.          He is

         7    pleading to Counts 4 and 5.          At the sentencing in this

         8    matter, Your Honor, the Government would be moving to

         9    dismiss Count 1 against him.

        10                Your Honor, Count 4 of the indictment indicates

        11    that on or about November 8th, 2015, in the District of

        12    South Carolina, the defendant, Miguel Angel Urieta-James,

        13    a/k/a Raul Sanchez, knowingly, intentionally, and

        14    unlawfully did possess with intent to distribute 50-grams

        15    or more of a mixture or substance containing a detectable

        16    amount of methamphetamine and a quantity of cocaine, both

        17    Schedule II controlled substances, and a quantity of

        18    marijuana, a Schedule I controlled substance, in violation

        19    of Title 21 United States Code Sections 841(a)(1),

        20    841(b)(1)(B), 841(b)(1)(C), and 841(b)(1)(D).

        21                Your Honor, the -- at a trial of this case the

        22    Government would have to prove beyond a reasonable doubt

        23    that the defendant knowingly and intentionally possessed

        24    the quantities of controlled substances identified and

        25    described in the indictment.          At the time of such



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         1    possession, the defendant knew the substances were

         2    controlled substances.      And the defendant possessed the

         3    controlled substances with the intent to distribute.

         4                The maximum penalties, Your Honor, of the

         5    controlled substances identified in the indictment are

         6    specifically the 50-grams or more of a mixture of a

         7    substance containing a detectable amount of

         8    methamphetamine, that would be up to 40 years in prison, a

         9    minimum of five years, a fine of $5 million, supervised

        10    release of at least four years, and a special assessment

        11    of a hundred dollars.

        12                Your Honor, he's also pleading guilty to Count 5

        13    of the indictment, which indicates that on or about

        14    November 8th, 2015, in the District of South Carolina, the

        15    defendant, Miguel Angel Urieta-James, a/k/a Raul Sanchez,

        16    knowingly did possess a firearm in furtherance of a drug

        17    trafficking crime, which is prosecutable in a court of the

        18    United States, in violation of Title 18 United States Code

        19    Section 924(c)(1)(A).

        20                Your Honor, the Government at a trial in this

        21    case would have to demonstrate the defendant committed a

        22    crime -- a drug trafficking crime.         And the defendant

        23    knowingly used or carried a firearm during and in relation

        24    to or possessed a firearm in furtherance of that drug

        25    trafficking crime.



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         1                The maximum penalty, Your Honor, is life

         2    imprisonment, minimum is five years consecutive to any

         3    other term of imprisonment, $250,000 fine, five years

         4    supervised release, and a hundred dollar special

         5    assessment.

         6                THE COURT:     Thank you.

         7                Let me ask each defendant, did you listen

         8    carefully as the prosecutor summarized the charge or

         9    charges against you as well as the essential elements the

        10    Government would have to prove beyond a reasonable doubt

        11    if your case went to trial, and also the penalties

        12    associated with each offense?          Did you listen carefully?

        13                MR. HORNE:     Yes, sir.

        14                MS. PEREZ-DIAZ:     Yes, sir.

        15                MS. FREEMAN:     Yes, sir.

        16                MR. NIXON:     Yes, sir.

        17                MR. URIETA-JAMES:        Yes, sir.

        18                THE COURT:     Do you understand the charge or

        19    charges against you?

        20                MR. HORNE:     Yes, sir.

        21                MS. PEREZ-DIAZ:     Yes, sir.

        22                MS. FREEMAN:     Yes, sir.

        23                MR. NIXON:     Yes, sir.

        24                MR. URIETA-JAMES:        Yes, sir.

        25                THE COURT:     Do you understand the essential



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         1    elements the Government would have to prove beyond a

         2    reasonable doubt if your case goes to trial?

         3                MR. HORNE:     Yes, sir.

         4                MS. PEREZ-DIAZ:     Yes, sir.

         5                MS. FREEMAN:     Yes, sir.

         6                MR. NIXON:     Yes, sir.

         7                MR. URIETA-JAMES:        Yes, sir.

         8                THE COURT:     Do you understand the possible

         9    penalty you face, including the maximum possible penalty,

        10    as well as the required minimum sentence, if applicable,

        11    to your case that you face?

        12                MR. HORNE:     Yes, sir.

        13                MS. PEREZ-DIAZ:     Yes, sir.

        14                MS. FREEMAN:     Yes, sir.

        15                MR. NIXON:     Yes, sir.

        16                MR. URIETA-JAMES:        Yes, sir.

        17                THE COURT:     Do the attorneys have any questions

        18    for their clients about the client's decision to plead

        19    guilty at this stage of the proceedings?

        20                MR. BEASLEY:     No, Your Honor.

        21                MS. METCALFE:     No, Your Honor.

        22                MR. PLOWDEN:     No, sir.

        23                MR. LOGGINS:     I do not, sir.

        24                THE COURT:     Let me ask the defendants, do you

        25    need any additional time to discuss these matters with



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         1    your attorney?

         2                MR. HORNE:     No, sir.

         3                MS. PEREZ-DIAZ:     No, sir.

         4                MS. FREEMAN:     No, sir.

         5                MR. NIXON:     No, sir.

         6                MR. URIETA-JAMES:        No, sir.

         7                THE COURT:     Do you still want to plead guilty?

         8                MR. HORNE:     Yes, sir.

         9                MS. PEREZ-DIAZ:     Yes, sir.

        10                MS. FREEMAN:     Yes, sir.

        11                MR. NIXON:     Yes, sir.

        12                MR. URIETA-JAMES:        Yes, sir.

        13                THE COURT:     I find that with respect to each

        14    defendant, each defendant fully comprehends and

        15    understands the charge against him or her or charges

        16    against him or her and generally what elements the

        17    Government would have to prove if a trial is held.         And

        18    each defendant understands the penalties associated with

        19    each offense.

        20                If you plead guilty or if you are convicted by a

        21    jury, then I will have to determine the appropriate

        22    sentence to be imposed.       In determining the appropriate

        23    sentence, I'm required to consider the statutory

        24    sentencing factors set out in Section 3553(a) of Title 18

        25    of the United States Code and also the advisory sentencing



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         1    guidelines issued by the United States Sentencing

         2    Guidelines Commission.

         3                 The guidelines are used as a starting point in

         4    determining the sentence.        The Court is obligated to

         5    calculate the applicable guideline range and to consider

         6    that range, possible departures under the sentencing

         7    guidelines, and other factors under 18 USC Section

         8    3553(a).

         9                 The Court will also consider the purposes of

        10    sentencing, which include punishment, deterrence,

        11    incapacitation, and rehabilitation in making its

        12    determination.       Do you understand?

        13                 MR. HORNE:     Yes, sir.

        14                 MS. PEREZ-DIAZ:     Yes, sir.

        15                 MS. FREEMAN:     Yes, sir.

        16                 MR. NIXON:     Yes, sir.

        17                 MR. URIETA-JAMES:        Yes, sir.

        18                 THE COURT:     Have you and your attorney talked

        19    about how the statutory factors and the advisory

        20    guidelines may affect your sentence?

        21                 MR. HORNE:     Yes, sir.

        22                 MS. PEREZ-DIAZ:     Yes, sir.

        23                 MS. FREEMAN:     Yes, sir.

        24                 MR. NIXON:     Yes, sir.

        25                 MR. URIETA-JAMES:        Yes, sir.



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         1                THE COURT:     Do you understand that the Court

         2    will not be able to determine the guideline range for your

         3    case until after the Presentence Report has been completed

         4    and you and the Government have had an opportunity to

         5    challenge the reported facts and the application of the

         6    guidelines recommended by the probation officer who

         7    prepares the report?       Do you understand?

         8                MR. HORNE:     Yes, sir.

         9                MS. PEREZ-DIAZ:     Yes, sir.

        10                MS. FREEMAN:     Yes, sir.

        11                MR. NIXON:     Yes, sir.

        12                MR. URIETA-JAMES:        Yes, sir.

        13                THE COURT:     Do you understand that the

        14    guidelines are advisory.       And that after it has been

        15    determined what guidelines apply to your case, the Court

        16    has the authority to impose a sentence more severe or less

        17    severe than the sentence called for by the guidelines?

        18                MR. HORNE:     Yes, sir.

        19                MS. PEREZ-DIAZ:     Yes, sir.

        20                MS. FREEMAN:     Yes, sir.

        21                MR. NIXON:     Yes, sir.

        22                MR. URIETA-JAMES:        Yes, sir.

        23                THE COURT:     In calculating the range of sentence

        24    under the advisory guidelines and determining an

        25    appropriate sentence, the Court will take into account all



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         1    conduct, circumstances, and injuries associated with your

         2    criminal conduct, whether or not this conduct is formally

         3    charged by the Government.       The Court will consider all

         4    relevant conduct at the time of sentencing even though in

         5    your particular case you might be pleading guilty to fewer

         6    than all counts in the indictment.          But the Court, in

         7    essence, will be able to consider all relevant conduct at

         8    the time of sentencing.       Do you understand that?

         9                MR. HORNE:     Yes, sir.

        10                MS. PEREZ-DIAZ:     Yes, sir.

        11                MS. FREEMAN:     Yes, sir.

        12                MR. NIXON:     Yes, sir.

        13                MR. URIETA-JAMES:        Yes, sir.

        14                THE COURT:     Also, there is no limitation placed

        15    on the information the Court can consider at the time of

        16    sentencing concerning your background, character, and

        17    conduct so long as the information is reliable.             The Court

        18    will take all these factors into consideration in

        19    determining an appropriate sentence.             Do you understand?

        20                MR. HORNE:     Yes, sir.

        21                MS. PEREZ-DIAZ:     Yes, sir.

        22                MS. FREEMAN:     Yes, sir.

        23                MR. NIXON:     Yes, sir.

        24                MR. URIETA-JAMES:        Yes, sir.

        25                THE COURT:     Do you understand that any sentence



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         1    that may be imposed may be different from and possibly

         2    greater than any estimate your attorney may have given

         3    you?

         4                 MR. HORNE:     Yes, sir.

         5                 MS. PEREZ-DIAZ:        Yes, sir.

         6                 MS. FREEMAN:     Yes, sir.

         7                 MR. NIXON:     Yes, sir.

         8                 MR. URIETA-JAMES:        Yes, sir.

         9                 THE COURT:     Are you currently on probation or

        10    parole with any court?

        11                 MR. HORNE:     Yes, sir.

        12                 THE COURT:     Tell me about that, Mr. Horne, or

        13    let your lawyer tell me.

        14                 MR. BEASLEY:     He's on a YOA from Gaffney, Your

        15    Honor.    It was a suspended YOA.

        16                 THE COURT:     Mr. Horne, do you understand that by

        17    pleading guilty today, whatever probationary or suspended

        18    sentence that you have may be revoked and you may be

        19    required to serve a sentence as a result of that

        20    revocation in addition to any sentence imposed upon you in

        21    this case?

        22                 MR. HORNE:     Yes, sir.

        23                 THE COURT:     Okay.

        24                 Again, the question is are you currently on

        25    probation or parole with any court?



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         1                MS. PEREZ-DIAZ:     No, sir.

         2                MS. FREEMAN:     No, sir.

         3                MR. NIXON:     No, sir.

         4                MR. URIETA-JAMES:        No, sir.

         5                THE COURT:     Do you realize that if you plead

         6    guilty and I accept your plea, the law provides that upon

         7    release from incarceration you'll be subject to a term of

         8    supervised release.      And if you are placed on supervised

         9    release, you'll be under a court order that prescribes

        10    rules for your behavior while on supervised release?

        11                MR. HORNE:     Yes, sir.

        12                MS. PEREZ-DIAZ:     Yes, sir.

        13                MS. FREEMAN:     Yes, sir.

        14                MR. NIXON:     Yes, sir.

        15                MR. URIETA-JAMES:        Yes, sir.

        16                THE COURT:     Do you understand that if you

        17    violate any term or condition of supervised release, you

        18    can be given additional time in prison?

        19                MR. HORNE:     Yes, sir.

        20                MS. PEREZ-DIAZ:     Yes, sir.

        21                MS. FREEMAN:     Yes, sir.

        22                MR. NIXON:     Yes, sir.

        23                MR. URIETA-JAMES:        Yes, sir.

        24                THE COURT:     Do any of these folks have plea

        25    agreements?



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         1                MR. MOORMAN:     Your Honor, I don't believe so.

         2                MR. BREWER:     Neither of mine does, Your Honor.

         3                MR. WATKINS:     No, sir.

         4                MS. WELLS:     No, sir, Your Honor.

         5                THE COURT:     Okay.

         6                Do you understand that under some circumstances

         7    you or the Government may have the right to appeal any

         8    sentence I may impose?

         9                MR. HORNE:     Yes, sir.

        10                MS. PEREZ-DIAZ:        Yes, sir.

        11                MS. FREEMAN:     Yes, sir.

        12                MR. NIXON:     Yes, sir.

        13                MR. URIETA-JAMES:        Yes, sir.

        14                THE COURT:     Do you understand that parole has

        15    been abolished; and that if you are sentenced to prison,

        16    you will not be released early on parole?

        17                MR. HORNE:     Yes, sir.

        18                MS. PEREZ-DIAZ:        Yes, sir.

        19                MS. FREEMAN:     Yes, sir.

        20                MR. NIXON:     Yes, sir.

        21                MR. URIETA-JAMES:        Yes, sir.

        22                THE COURT:     Has anyone forced you or threatened

        23    you or pressured you in any way to get you to plead

        24    guilty?

        25                MR. HORNE:     No, sir.



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         1                MS. PEREZ-DIAZ:     No, sir.

         2                MS. FREEMAN:     No, sir.

         3                MR. NIXON:     No, sir.

         4                MR. URIETA-JAMES:        No, sir.

         5                THE COURT:     Are you pleading guilty of your own

         6    free will because you are guilty?

         7                MR. HORNE:     Yes, sir.

         8                MS. PEREZ-DIAZ:     Yes, sir.

         9                MS. FREEMAN:     Yes, sir.

        10                MR. NIXON:     Yes, sir.

        11                MR. URIETA-JAMES:        Yes, sir.

        12                THE COURT:     Has anyone made any prediction,

        13    prophesy, or promise as to what your sentence will be?

        14                MR. HORNE:     No, sir.

        15                MS. PEREZ-DIAZ:     No, sir.

        16                MS. FREEMAN:     No, sir.

        17                MR. NIXON:     No, sir.

        18                MR. URIETA-JAMES:        No, sir.

        19                THE COURT:     Has anyone promised you anything in

        20    order to get you to plead guilty?

        21                MR. HORNE:     No, sir.

        22                MS. PEREZ-DIAZ:     No, sir.

        23                MS. FREEMAN:     No, sir.

        24                MR. NIXON:     No, sir.

        25                MR. URIETA-JAMES:        No, sir.



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         1                THE COURT:    All right.       At this time with

         2    respect to each defendant in each case I'll be glad to

         3    hear from the Government as to the facts the Government

         4    would be prepared to prove at trial so as to establish an

         5    independent factual basis for the offense and the plea.              I

         6    will ask the defendants to listen carefully as the

         7    prosecutors summarize the facts of the case and what you

         8    did because I will ask you some questions about that when

         9    that process is finished.

        10                MS. WELLS:    May it please the Court, Your Honor?

        11    As to Mr. Horne, on September the 1st, 2016, officers with

        12    the Gaffney Police Department responded to 901 West Floyd

        13    Baker Boulevard in Gaffney to a call of an armed robbery

        14    in progress.    This location is known as Zippy's, which is

        15    a convenience store which sells items that have been

        16    shipped in interstate commerce.            Officers arrived and were

        17    told by witnesses on the scene that the perpetrator had

        18    fled on foot with a black backpack towards a decent-sized

        19    construction site that existed very close by the

        20    convenience store.

        21                Officers were then able to locate the defendant

        22    in this case, Mr. Horne, just on the other side of the

        23    site at an abandoned house located at 609 Marion Avenue

        24    and at that time placed him in investigative detention.

        25    Mr. Horne was wearing a red T-shirt and shorts.              Witnesses



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         1    described that the suspect was tall wearing all black

         2    clothing to include a mask.          At least one witness from the

         3    construction site saw an individual wearing all black, a

         4    ski mask, and carrying a backpack running across the site.

         5                 The Cherokee County Sheriff's Office brought out

         6    their tracking unit.      The canine from that unit tracked

         7    from the store to the location where officers were with

         8    Mr. Horne.     And that happened twice.

         9                 Under the house where Mr. Horne was apprehended,

        10    officers located a black pack that contained a black ski

        11    mask, a black jacket, a black pair of pants, a pair of

        12    black gloves, a black hat, and a Glock Model 23 that was

        13    loaded.     These items of the backpack were taken into

        14    evidence.

        15                 Video that was recovered from Zippy's showed a

        16    male in all black run into the store, point a handgun at

        17    customers and staff, and then run around the corner and

        18    grab money from the cash register.

        19                 THE COURT:   If you could just slow down a little

        20    bit.

        21                 MS. WELLS:   Yes, sir, Your Honor.

        22                 And grabbed money from the cash register.           This

        23    individual fled from the store.            A red shirt can be

        24    observed on the video underneath the black jacket.              The

        25    firearm and ammunition both traveled in interstate



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         1    commerce to reach the district.            And Mr. Horne is a felon

         2    whose rights to possess a firearm have not been restored.

         3                Those are some of the facts the Government would

         4    rely upon at a trial in this case.

         5                THE COURT:     Thank you.

         6                Proceed with the next defendant.

         7                MR. MOORMAN:     Your Honor, may it please the

         8    Court?    The facts as they relate to Ms. Brenda Perez-Diaz.

         9    Your Honor, the investigation in this case revealed that a

        10    number of individuals formed an agreement beginning in

        11    2014 in the District of South Carolina and elsewhere to

        12    possess with intent to distribute and to distribute

        13    500-grams or more of a mixture or substance containing a

        14    detectable amount of methamphetamine.            The evidence also

        15    showed that this defendant joined that agreement for the

        16    purpose, again, of distributing in excess of 500-grams of

        17    methamphetamine.

        18                Your Honor, the investigation has revealed that

        19    this defendant, Brenda Perez-Diaz, was either married to

        20    or at a minimum romantically involved with the

        21    co-defendant Alejandro Peneral.            And during the course of

        22    the conspiracy, she worked with Co-defendant Peneral,

        23    Co-defendant Braulio Reyes-Reyes, and others for the

        24    purpose of accomplishing the distribution of 500-grams or

        25    more of methamphetamine.



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         1                 Information law enforcement received during the

         2    investigation suggests that this defendant would travel to

         3    Atlanta, Georgia, with Co-defendant Braulio Reyes-Reyes

         4    and other co-conspirators for the purpose of retrieving

         5    kilogram quantities of methamphetamine.            She would then

         6    return to the upstate of South Carolina where she and her

         7    co-defendants and co-conspirators would distribute this

         8    methamphetamine.

         9                 Also during the course of the investigation, law

        10    enforcement utilized a confidential source for the purpose

        11    of communicating with this defendant for the purpose of

        12    accomplishing the distribution of methamphetamine.            And

        13    numerous text messages between the confidential source and

        14    this defendant suggests that, again, she formed the

        15    agreement for the purpose of distributing methamphetamine.

        16                 THE COURT:     Thank you.

        17                 MR. WATKINS:     May it please the Court, Your

        18    Honor?    As to Ms. Freeman, Your Honor, this is a drug

        19    conspiracy case.      Ms. Freeman is a member of the

        20    conspiracy as well as members of a motorcycle gang who

        21    have yet to be fully identified.           This is based on her own

        22    statement.

        23                 Your Honor, essentially, what Ms. Freeman would

        24    do was to create fraudulent prescriptions for primarily

        25    Hydrocodone, though we have recovered a couple of



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         1    Oxycodone prescriptions.        And then she would pass these at

         2    local pharmacies throughout the upstate of South Carolina.

         3                Your Honor, Ms. Freeman was arrested by law

         4    enforcement and was interviewed.            She cooperated.    She was

         5    read her rights.       And she admitted to filling fraudulent

         6    prescriptions for Hydrocodone and stated that the

         7    prescriptions that she received were sold and passed on to

         8    members of the motorcycle gang for their use and

         9    distribution.       Your Honor, she said she usually tried to

        10    fill approximately three prescriptions per week.              And

        11    sometimes she could get one per day if she was having a

        12    good streak of luck.

        13                Your Honor, again, this occurred beginning in or

        14    around October 2014 and continuing up until the date of

        15    this indictment.

        16                THE COURT:     Thank you.

        17                Give me just a moment.

        18                MR. WATKINS:     Yes, sir.

        19                THE COURT:     (Pause)    All right.      Thank you.

        20                MR. BREWER:     May it please the Court, Your

        21    Honor?    With respect to Mr. Travis Lee Nixon, Mr. Travis

        22    Lee Nixon and a Hannah Fooshang were involved in a

        23    domestic dispute in January of this year.             Subsequently,

        24    on February 5th, 2017, Ms. Hannah Fooshang went to her

        25    mother's house in Greenville, South Carolina, with her son



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         1    that she shares in common with Mr. Nixon.              Mr. Nixon

         2    subsequently came to the house at approximately 4 a.m. the

         3    following morning, February 6th, 2017, to visit with their

         4    son.

         5                  The evidence indicates that Mr. Nixon and

         6    Ms. Fooshang became involved in a verbal altercation at

         7    which point Mr. Nixon brandished a black firearm, made

         8    some threats as against Ms. Fooshang.             Mr. Nixon went in

         9    to visit with his son, eventually fell asleep.

        10                  Ms. Fooshang left the residence and called the

        11    police.      The Greenville Police Department arrived at the

        12    residence and knocked on the door.            Eventually Ms. Regina

        13    Fooshang, Ms. Hannah Fooshang's mother, appeared at the

        14    door and indicated that Mr. Nixon had also leveled threats

        15    against her and had a gun inside the residence.

        16                  Law enforcement called for Mr. Nixon to come

        17    out.      Mr. Nixon eventually left the residence, was taken

        18    into custody.         A search of the house eventually produced

        19    the GSG .22 caliber semi-automatic pistol alleged in the

        20    indictment.      It was unloaded at the time.          The pistol was

        21    found to be physically and visually consistent with the

        22    firearm described by Ms. Regina Fooshang.              Subsequent

        23    jailhouse calls involving Mr. Nixon also indicated that he

        24    was aware that the police had found his pistol in the

        25    residence.



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         1                 Mr. Nixon has been previously convicted of

         2    crimes punishable by imprisonment of a term exceeding one

         3    year.     And the firearm in question in this case, the

         4    .22 caliber semi-automatic pistol, was manufactured

         5    outside the State of South Carolina and, necessarily,

         6    traveled in interstate commerce.

         7                 THE COURT REPORTER:      Please spell that name for

         8    me.

         9                 MR. BREWER:    Fooshang?       F-O-O-S-H-A-N-G.

        10                 THE COURT REPORTER:      Thank you.

        11                 MR. BREWER:    Your Honor, if I may --

        12                 THE COURT:    Yes.

        13                 MR. BREWER:    -- with respect to

        14    Mr. Urieta-James?

        15                 THE COURT:    Yes.

        16                 MR. BREWER:    Your Honor, a cooperating informant

        17    in this case on about November 8th, 2015, indicated to law

        18    enforcement that he had been coordinating and receiving

        19    supplies of methamphetamine out of Georgia from

        20    Mr. Urieta-James.       And that he was expecting approximately

        21    a one-kilogram delivery that same day to the informant's

        22    house.

        23                 At approximately 4 p.m. on that same day,

        24    Anderson County Sheriff's Office, who were patrolling

        25    Highway 24 in Anderson, observed a vehicle that was



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         1    consistent with the description given by the cooperating

         2    informant.     A traffic stop was eventually initiated for

         3    the driver's failure to maintain his lane.

         4                 The driver was identified as the defendant,

         5    Mr. Urieta-James, out of Atlanta, Georgia.             He did not

         6    have a driver's license or registration.            The vehicle was

         7    registered to one of his aliases and was consistent with

         8    information given by the cooperating informant.

         9                 A search of his vehicle indicated or produced

        10    472-grams of crystal methamphetamine, 26-grams of cocaine,

        11    14-grams of marijuana, a black digital scale, a Browning

        12    9x19 millimeter handgun, several rounds for that same

        13    firearm, and approximately $4,600 in US currency, Your

        14    Honor.

        15                 THE COURT:     Thank you.

        16                 All right.     Let me ask each defendant, did you

        17    listen carefully to the prosecutor's summary of what you

        18    did?

        19                 MR. HORNE:     Yes, sir.

        20                 MS. PEREZ-DIAZ:     Yes, sir.

        21                 MS. FREEMAN:     Yes, sir.

        22                 MR. NIXON:     Yes, sir.

        23                 MR. URIETA-JAMES:        Yes, sir.

        24                 THE COURT:     Do you agree with the prosecutor's

        25    summary of the facts of your case and what you did?



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         1                 MR. HORNE:     Yes, sir.

         2                 MS. METCALFE:     Your Honor, we don't agree with

         3    some of the specific facts as recited by Mr. Moorman.            I

         4    believe there was some confusion and would like to address

         5    a couple of the facts that were contained in his

         6    recitation.

         7                 He listed some facts with regard to driving back

         8    and forth to Atlanta.        My client does not agree with those

         9    facts as stated by the Government.

        10                 She does agree that she was involved in a

        11    conspiracy to possess and distribute methamphetamine.

        12    She, as the Government stated, was in a romantic

        13    relationship with the lead defendant who is the father of

        14    her two youngest children.        And she agrees that she was

        15    involved in this conspiracy and there was -- it was

        16    foreseeable that 500-grams of methamphetamine were going

        17    to be distributed.        But she does not agree with the

        18    specific facts with regard to the alleged trips to

        19    Atlanta.

        20                 MR. MOORMAN:     Your Honor, and that information

        21    came from a cooperating witness.            For the purpose of the

        22    guilty plea, Your Honor, I believe that Ms. Metcalfe's

        23    representation to the Court that she acknowledges that she

        24    was -- formed an agreement with others to distribute

        25    methamphetamine and at a minimum it was foreseeable that



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         1    the agreement involved 500-grams or more, I think that

         2    that is a sufficient factual basis, Your Honor.

         3                 THE COURT:     All right.

         4                 Ms. Perez-Diaz, did you listen carefully to what

         5    your lawyer and the prosecutor just said?

         6                 MS. PEREZ-DIAZ:        Yes, sir.

         7                 THE COURT:     Do you understand what they said?

         8                 MS. PEREZ-DIAZ:        Yes, sir.

         9                 THE COURT:     Do you agree with what they said?

        10                 MS. PEREZ-DIAZ:        Yes, sir.

        11                 THE COURT:     And so as I understand it, the

        12    disagreement you would have would be regarding trips to

        13    Atlanta.     But otherwise, you agreed with the other

        14    allegations of the Government about your involvement in

        15    the conspiracy?

        16                 MS. PEREZ-DIAZ:        Yes, sir.

        17                 THE COURT:     You still want to plead guilty?

        18                 MS. PEREZ-DIAZ:        Yes, I do.

        19                 THE COURT:     Okay.

        20                 And again, the question is -- well, do you want

        21    to ask her any other questions, Ms. Metcalfe?

        22                 MS. METCALFE:     No, Your Honor.

        23                 THE COURT:     Mr. Moorman, do you want to ask her

        24    any other questions?

        25                 MR. MOORMAN:     No, Your Honor.



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         1                THE COURT:     Okay.

         2                Again, the question is did you listen carefully

         3    to the prosecutor's summary of the facts of the case and

         4    what you did and do you agree with it?

         5                MS. FREEMAN:     Yes, sir.

         6                MR. LOGGINS:     Your Honor, Mr. Nixon agrees with

         7    all the facts related to him possessing the firearm, with

         8    knowingly possessing it.       He has pending state charges

         9    around some of the other activities in the house that

        10    night.    He does not want to comment on those.            But he

        11    fully admits to the elements to support the charge.

        12                THE COURT:     Sir, do you understand what your

        13    lawyer said?

        14                MR. NIXON:     Yes, sir.

        15                THE COURT:     Do you agree with what he said?

        16                MR. NIXON:     Yes, sir.

        17                THE COURT:     All right.

        18                And again, do you agree with the prosecutor's

        19    summary of the facts of the case and what you did?

        20                MR. URIETA-JAMES:        Yes, sir.

        21                THE COURT:     Now, some of these folks are going

        22    to be subject to mandatory minimum sentences.              And I think

        23    we've been over it.      I don't want to hold folks up.             But I

        24    want to make sure that those who are affected do

        25    understand and that there's no confusion about that.



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         1                Mr. Horne is pleading guilty to Counts 1, 2, and

         2    3.   And he's been advised of the mandatory minimum term of

         3    imprisonment of 15 years, maximum of life, fine of

         4    $250,000, term of supervised release of not more than five

         5    years in addition to any term of imprisonment, plus a

         6    special assessment of $100 if he has the prior -- if he's

         7    considered an armed career criminal or subject to an

         8    enhanced sentence.       We don't think that applies to him.

         9                MR. BEASLEY:     It does not apply to him, Your

        10    Honor, but he has been advised of that.

        11                THE COURT:     And with respect to Count 3, as I

        12    understand it, as to Count 3 he is subject to imprisonment

        13    of not less than seven years, not more than life, a fine

        14    of not more than $250,000, supervised release of not more

        15    than five years, and a special assessment of $100.

        16                Do you understand that, Mr. Horne?

        17                MR. HORNE:     Yes, sir.

        18                THE COURT:     Okay.     You've been over that with

        19    him, I know.

        20                MR. BEASLEY:     Yes, Your Honor.

        21                MS. WELLS:     Your Honor, he is not charged in the

        22    indictment with the brandishing.           So I advised him of the

        23    five -- mandatory five.

        24                THE COURT:     Okay.     So brandishing --

        25                MS. WELLS:     Your Honor, I will tell the Court I



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         1    realized when I stood up here that it looks like I

         2    submitted elements -- I mistakenly -- I submitted a draft

         3    version of the elements to the Court which I will correct

         4    after court today.       But he has been properly advised in

         5    court today of the five.

         6                MR. BEASLEY:     That's correct.

         7                MS. WELLS:     The consecutive five on Count 3.

         8                MR. BEASLEY:     That's correct.

         9                THE COURT:     Okay.

        10                Do you understand that, Mr. Horne?

        11                MR. HORNE:     Yes, sir.

        12                THE COURT:     Okay.

        13                Thank you for that clarification.

        14                MS. WELLS:     Thank you, Your Honor.

        15                THE COURT:     I just want everybody to know and

        16    understand everything that happens in this hearing.        So I

        17    appreciate your indulgence.

        18                Now, with respect to Ms. Brenda Perez-Diaz, I

        19    understand she is subject to a mandatory minimum of ten

        20    years.

        21                MS. METCALFE:     That's correct, Your Honor, and

        22    she has been advised of that.

        23                THE COURT:     Ms. Perez-Diaz, as I understand it,

        24    based on the charge to which you are pleading guilty, and

        25    we've been over this but I just want to make sure you're



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         1    clear, you're facing a minimum term of imprisonment of ten

         2    years, maximum term of life, no probation, no parole, fine

         3    of up to $10 million, and a term of supervised release of

         4    at least five years in addition to any term of

         5    imprisonment, plus a special assessment of $100.           Do you

         6    understand that?

         7                MS. PEREZ-DIAZ:        Yes, sir.

         8                THE COURT:     Okay.

         9                And with respect to Mr. Miguel Urieta-James,

        10    he's pleading guilty to Counts 4 and 5 and he's also

        11    facing a minimum term of imprisonment.

        12                MR. LOGGINS:     He's been informed multiple times

        13    that he's facing a mandatory five years consecutive on

        14    that charge, Your Honor, both prior to court today and

        15    multiple times in court today.

        16                MR. BREWER:     And, Your Honor, it's technically

        17    two mandatory minimums.       So with respect to Count 4, he's

        18    facing five years for possession with intent to

        19    distribute.    And then as Mr. Loggins just indicated,

        20    another five years consecutive to any other term of

        21    imprisonment with respect to Count 5, the 924(c) count.

        22                THE COURT:     And with respect to Count 4, as I

        23    understand, it's a minimum term of five years, maximum

        24    term of 40?

        25                MR. BREWER:     That's correct, Your Honor.



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         1                THE COURT:     And as to Count 5, minimum term of

         2    five years consecutive to any other term of imprisonment

         3    and maximum of life.

         4                MR. LOGGINS:     That's correct.

         5                MR. BREWER:     That's correct.

         6                THE COURT:     Okay.

         7                Sir, do you understand that?

         8                MR. URIETA-JAMES:        Yes, sir.

         9                THE COURT:     Thank you.

        10                Anything else on behalf of any of the

        11    defendants?

        12                MR. BREWER:     Your Honor, may it please the

        13    Court?    I believe Mr. Urieta-James needs one second

        14    with --

        15                THE COURT:     Okay.     I'm sorry.

        16                Does he need to speak with you?

        17                MR. LOGGINS:     He did, Your Honor.       He had one

        18    question.     We've answered it.

        19                THE COURT:     Okay.     Thank you.

        20                Anything else on behalf of any of the

        21    defendants?

        22                MR. BEASLEY:     No, Your Honor, as to Mr. Horne.

        23                MS. METCALFE:     No, Your Honor.

        24                MR. PLOWDEN:     No, sir.

        25                MR. LOGGINS:     No, Your Honor.



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         1                THE COURT:     Anything from the Government on any

         2    of these cases?

         3                MS. WELLS:     Not as to Mr. Horne, Your Honor.

         4                MR. MOORMAN:     Nothing as to Ms. Perez-Diaz.

         5                MR. BREWER:     Nothing, Your Honor.

         6                MR. WATKINS:     No, sir.

         7                THE COURT:     All right.

         8                In just a moment, I'm going to make a finding

         9    about your guilty plea and accept your plea.               But at this

        10    time I'm going to give each of the defendants an

        11    opportunity to tell me anything they want to tell me about

        12    their case.

        13                I think I forget to ask one question I normally

        14    ask, so let me just ask this.         You've heard the

        15    prosecutor's summary of the facts of the case and what you

        16    did.

        17                Mr. Horne, do you disagree with anything the

        18    prosecutor said about what you did?

        19                MR. HORNE:     No, sir.

        20                THE COURT:     Ms. Perez-Diaz, other than the --

        21    what we discussed about the trips to Atlanta, do you

        22    disagree with anything the prosecutor said about what you

        23    did?

        24                MS. PEREZ-DIAZ:     No, sir.

        25                THE COURT:     Ms. Freeman, do you disagree with



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         1    the prosecutor's summary, anything about what he said

         2    about what you did?

         3                MS. FREEMAN:     No, sir.

         4                THE COURT:     Mr. Nixon, do you disagree with

         5    anything the prosecutor's said about what you did with

         6    respect to having the gun, possession of the gun?

         7                MR. NIXON:     No, sir.

         8                THE COURT:     And Mr. Urieta-James, do you

         9    disagree with anything the prosecutor said about what you

        10    did?

        11                MR. URIETA-JAMES:        No, sir.

        12                THE COURT:     I'm going to give each defendant an

        13    opportunity to tell me anything you want me to know or

        14    anything you want to say at this time.           You'll be

        15    returning to court at some point in the future after a

        16    Presentence Report has been completed and you and your

        17    attorney have had a full and complete opportunity to

        18    review that report, study it, make any objections or

        19    comments about it.       And at that sentencing hearing, you'll

        20    be allowed to say anything you want to say and tell me

        21    anything you want me to know about your case.              But I also

        22    give everyone an opportunity to say anything they want to

        23    say at the conclusion of a guilty plea hearing.

        24                So you can tell me what you want me to know

        25    today.    And you can tell me what you want me to know at



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         1    the sentencing hearing.        Or you can wait until the time of

         2    your sentencing hearing.

         3                 You've admitted guilt.        You've listened to the

         4    summary of the facts of the case and indicated that you

         5    want to plead guilty.        So that is sufficient in my view

         6    for today.     Whether or not you want to say anything else

         7    is a decision for you to make in close consultation with

         8    your attorney.

         9                 So at this time let me ask each defendant, is

        10    there anything else you want to say?

        11                 MR. HORNE:     No, sir.

        12                 MS. PEREZ-DIAZ:     I want to apologize for being

        13    late today.

        14                 THE COURT:     Thank you.

        15                 MS. FREEMAN:     No, sir.

        16                 MR. NIXON:     No, sir.

        17                 MR. URIETA-JAMES:        No, sir.

        18                 THE COURT:     All right.     If there's nothing

        19    further, with respect to each defendant, based upon the

        20    information presented, I find there is a factual basis for

        21    the guilty plea as to each offense.              I further find that

        22    each defendant's plea of guilty is made freely,

        23    voluntarily, and knowingly with the advice and assistance

        24    of competent legal counsel and supported by an independent

        25    basis in fact containing each of the essential elements of



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         1    each offense.       Each defendant's plea of guilty is

         2    therefore accepted.       And each defendant is hereby adjudged

         3    guilty of the offense or offenses charged.

         4                I'll request that the probation office commence

         5    preparation of a Presentence Investigation Report for

         6    these folks whereupon those matters will be returned to

         7    court for a final disposition.

         8                Thank you and good luck to you.

         9                MR. BREWER:     Thank you, Your Honor.

        10                MR. MOORMAN:     Thank you, Your Honor.

        11                MR. PLOWDEN:     Your Honor, can I take up a bond

        12    issue for Ms. Freeman?

        13                THE COURT:     Yes.   We'll let those other folks

        14    get signed up and then we'll take it up.

        15          (WHEREUPON, the defendants signed their plea.)

        16                                      ***

        17    I certify that the foregoing is a correct transcript from

        18    the record of proceedings in the above-entitled matter.

        19

        20        s/Karen E. Martin                                10/19/2017
              ____________________________                       _________________
        21    Karen E. Martin, RMR, CRR                   Date

        22

        23

        24

        25



                                    Karen E. Martin, RMR, CRR
                                        US District Court
                                   District of South Carolina
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         1                 IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
         2                        SPARTANBURG DIVISION

         3         UNITED STATES OF AMERICA,        )      CR. NO. 7:17-CR-79
                                                    )      ANDERSON, SC
         4                                          )      JULY 9, 2018
                                                    )
         5              VERSUS                      )
                                                    )
         6         PRECIAS K. FREEMAN,              )
                                                    )
         7                        DEFENDANT.        )
                                                    )
         8
                           BEFORE THE HONORABLE TIMOTHY M. CAIN
         9                  UNITED STATES DISTRICT COURT JUDGE
                                 STATUS CONFERENCE HEARING
        10
                   APPEARANCES:
        11
                   FOR THE GOVERNMENT:         WILLIAM WATKINS, AUSA
        12                                     UNITED STATES ATTORNEY'S OFFICE
                                               55 BEATTIE PLACE
        13                                     SUITE 700
                                               GREENVILLE, SC 29601
        14
                   FOR THE DEFENDANT:          LORA C. BLANCHARD, AFPD
        15                                     FEDERAL PUBLIC DEFENDER'S
                                                 OFFICE
        16                                     TWO LIBERTY SQUARE
                                               75 BEATTIE PLACE
        17                                     SUITE 950
                                               GREENVILLE, SC 29601
        18
                   COURT REPORTER:             DEBRA R. BULL, RPR, CRR
        19                                     UNITED STATES COURT REPORTER
                                               315 SOUTH MCDUFFIE STREET
        20                                     ANDERSON, SC 29624

        21

        22                STENOTYPE/COMPUTER-AIDED TRANSCRIPTION
                                    *** *** *** *** ***
        23

        24

        25



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         1              (Whereupon, the hearing commenced at 3:35 p.m.)

         2                MR. WATKINS:   Judge,      our next case is 7:17-79,

         3      United States versus Freeman, she is represented by

         4      Ms. Blanchard.

         5                THE CLERK:   Raise your right hand,        please.

         6                     PRECIAS K. FREEMAN, having been first duly

         7      sworn, testified as follows:

         8                MS. BLANCHARD:    Your Honor,     if I may, in just

         9      briefly talking to Ms. Freeman, she has informed me that

        10      there are some objections that she now has to the

        11      Presentence Report.         I know one of them is with regard

        12      to the determination as to the drug amounts.               I don't

        13      know how Your Honor would like to address that.

        14                THE COURT:     Well,    my report says that there were

        15      no objections to the presentence report, that is at ECF

        16      52-1.

        17                MS. BLANCHARD:    That is correct,       Your Honor.       I

        18      did go meet with Ms. Freeman up in North Carolina, and

        19      we did discuss the Presentence Report, and we had

        20      several corrections as to family history and that type

        21      of thing.       And I just learned this afternoon that she

        22      was concerned about the drug weights.

        23                THE COURT:     Well,    specifically,     what is the

        24      objection?

        25                THE DEFENDANT:     Actually it is more than just



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         1      that issue.

         2               THE COURT:    Wait one second.            Did we administer

         3      the oath?

         4               THE CLERK:   Yes.

         5               THE COURT:    Go ahead,       ma'am.

         6               THE DEFENDANT:      Ms. Blanchard did come see me

         7      last week and bring me my presentencing report (sic).

         8      But at that time, we sat down and talked, that was my

         9      first time even seeing the report.                She told me --

        10               THE COURT:    That is fine.         You can make your

        11      objection today.

        12               THE DEFENDANT:      Okay.

        13               THE COURT:    I just want to make sure I understand

        14      what it is.

        15               THE DEFENDANT:      Okay.        Well,    first,     with

        16      regards to the weight, I am just trying to figure out

        17      how they came to that conclusion or how they came to

        18      that calculation because the way I read it --

        19               THE COURT:    Are you talking about paragraph 11?

        20               THE DEFENDANT:      Yes, sir.       Yes, sir.         Basically

        21      saying that I tried to fill three prescriptions a day

        22      and a minimum of one prescription a day,              to me an

        23      attempt is not necessarily admitting that that is what

        24      it is.      I mean,   if I am saying it right,              I don't know

        25      if I am saying it right.            But it says I attempted to



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         1      fill three,       21 per week,      a minimum of one per day.

         2      Admitting I tried is not the same as saying that I

         3      actually did it.

         4              MR. WATKINS:     Judge, she is not being held

         5      accountable for three per day.             She said -- my notes

         6      from her interview with inspector Richmond with DHEC was

         7      that she usually tried to fill three prescriptions per

         8      day,    which would have been 21 per week,            but she only

         9      had success typically with about one per day, which

        10      would have been seven per week.

        11              MS. BLANCHARD:     So, that is an average of one per

        12      day.    Since you admitted that you tried to get three per

        13      day, her minimum was an average of one per day.              So,

        14      they are using an average of one per day.               So, 365 days,

        15      time 120 pills for two years.             That is in --

        16              MR. WATKINS:     So, Judge,        we took the lower number

        17      to try to be fair with her based on the interview rather

        18      than three or two,      the lowest,        seven, maybe she got

        19      one a day,    though she tried three.           I am sure some days

        20      she probably had success and got two or three,              but we

        21      didn't use the higher number,             we used the lower number,

        22      one.

        23              THE COURT:      Okay.       Ms. Stewart, did you want to

        24      say anything about it?

        25              PROBATION OFFICER:          I am going to agree with



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         1        Mr. Watkins, that is how we calculated was use the low

         2        end because in her statement it says she tried to do

         3        more than three -- three, and the minimum was one, and

         4        that is where we calculated the drug weight was on one a

         5        day.

         6               THE COURT:     Okay.

         7 By THE COURT:

         8   Q.          Ms. Freeman,    do you understand?

         9   A.          I understand what they are saying,           I do.   But I

        10        guess the way it is worded --

        11               THE COURT:    Well,    is there anything else that

        12        anyone wants to say about that?

        13               MS. BLANCHARD:    Your Honor,        I would just say that

        14        is how we got the number of pills, use the drug

        15        equivalent found in section 2D1.1 and that would be the

        16        6,700 grams,     876 grams of hydrocodone, multiplied by

        17        6,700 grams of marijuana to get the equivalency to find

        18        that on the drug table.

        19               THE COURT:     Say that one more time.

        20               MS. BLANCHARD:    So,        Your Honor,   one gram of

        21        hydrocodone is the same as 6,700 grams of marijuana.

        22               THE COURT:     Correct.

        23               MS. BLANCHARD:    So,        they multiplied the 6,700

        24        grams times 876 grams of hydrocodone to come up with the

        25        5,869.2   kilograms of marijuana which corresponds to a



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         1      base offense level of 32.

         2               THE COURT:      This gentleman in the blue shirt

         3      needs to leave the courtroom.              He is making gestures,

         4      shaking his head.        Thank you.

         5               I see how they came up with it, and I think I

         6      understand the math,        but I am just trying to determine

         7      if there is an objection to it or does she understand

         8      now and agrees or disagrees that that is a reasonable

         9      way to do it?

        10               THE DEFENDANT:      I mean, I understand how they did

        11      it,     but I still disagree,        me, personally, with the

        12      fact that they are saying I did one a day.

        13               THE COURT:      Well, did you indicate to the agent

        14      that you tried to fill three prescriptions a day?               That

        15      that is what you tried to do?

        16               THE DEFENDANT:     Are we referring to when I was

        17      interviewed initially when I got arrested?

        18               MS. BLANCHARD:     At any time you breached your

        19      proffer anything you said was fair game.

        20               THE DEFENDANT:     I mean, I am not sure which

        21      conversation we are referring to.

        22               MR. WATKINS:     Judge,     I was referring to when she

        23      was first arrested back in October 2016, and shortly

        24      thereafter she spoke with Rachel McCoy was -- at the

        25      time McCoy,        she is now Richmond,       she is married,   she



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         1      is with DHEC,      she was read her Miranda rights, and

         2      admitted to filling fraudulent prescriptions for

         3      hydrocodone.       She stated that the drugs she received

         4      from the prescriptions were sold to members of a gang.

         5      And,    again,    she stated that she usually tried to fill

         6      three prescriptions per day,        21 a week,      but at least

         7      one per day, seven prescriptions a week.            And research

         8      from Ms. Richmond showed that Ms. Freeman's

         9      prescriptions were almost exclusively for 120 tablets of

        10      ten milligram hydrocodone per prescription.                So I don't

        11      know if that is the interview?           Judge, to be honest with

        12      you, Ms. Blanchard has said candidly that she spoke

        13      again with Adam Roberson here from           DEA diversion under

        14      proffer,    but she -- her proffer has blown-up because

        15      she took off,      ran.   And one reason Ms. Blanchard could

        16      only speak with her a week or so ago is because she has

        17      been on the run,     guess what? Doing more fraudulent

        18      prescriptions, and was caught with drugs up in Shelby

        19      and State charges filed against her there.                So,   if we

        20      need to go back and recalculate the drug weight,

        21      Ms. Stewart has not included the additional information

        22      from the proffer, which under the terms as long as she

        23      complied with her bond and obeyed the law, that wasn't

        24      going to be included in the guidelines.             We could

        25      certainly do a recalculation with that information,                you



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         1      know,   it might not be a level 32 anymore,               but that is

         2      up to, obviously, the Court and how Ms. Freeman wants to

         3      proceed.

         4              THE DEFENDANT:      When I first got arraigned,           I

         5      had Mr. Plowden as an attorney, and then he retired.

         6      Then I was given Ms. Blanchard.

         7              THE COURT:      Well,    do you want the Government to

         8      go back?

         9              THE DEFENDANT:      That is not what I am saying.

        10      At this point, me and Ms. Blanchard aren't seeing eye to

        11      eye.    I don't really feel like I am being represented

        12      correctly,       I really don't.      I am fighting for my life

        13      here, and I feel like my attorney should be on my side

        14      and try to fight for me, and she is not.              And I know I

        15      have been in custody in North Carolina since March 1st,

        16      but several of my State attorneys tried to get in touch

        17      with Ms. Blanchard,       my family has tried to get in touch

        18      with her,    nothing.     There has been nothing until last

        19      week; am I incorrect?

        20              THE COURT:     Well,    ma'am,    you don't get to ask

        21      her or anyone else questions here today.

        22                 So,    other than the concerns you have about the

        23      drug weight -- maybe that is what needs to happen, the

        24      Government needs to just go back, revisit this, it might

        25      result in a higher number, it might result in a lower



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         1      number. It is what it is at that point.            So, do you

         2      want me to ask the Government to go back and look at the

         3      other information you provided to the Government, as

         4      well as what the investigation will be able to build to

         5      get a more accurate drug weight?

         6              THE DEFENDANT:     No, sir,      I am just asking for

         7      another attorney.

         8              THE COURT:     You are asking for another attorney?

         9              THE DEFENDANT:     Yes, sir.      My family has been

        10      looking to another attorney.

        11              THE COURT:     Your family what?

        12              THE DEFENDANT:     Has been looking at another

        13      attorney and are ready to hire another attorney because

        14      I really do not      -- I mean,    I don't think         -- I am

        15      literally fighting for my life here,          I really am.         And

        16      I -- all I am asking is a chance,         I would really like

        17      another attorney.

        18              THE COURT:     So you want some time so your family

        19      can hire another lawyer,       is that what you are telling

        20      me?

        21              THE DEFENDANT:     Yes, sir.      It wouldn't take --

        22      they actually saw an attorney today, and they are ready

        23      to hire an attorney as soon as possible.

        24              THE COURT:     Well,   it sounds like she is wanting

        25      a continuance to hire a lawyer.



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         1              MR. WATKINS:   Yes, sir.         Judge,     if that is what

         2      she wants to do, I just want to put the Court and

         3      Ms. Freeman on notice that,         frankly, with the drug

         4      weight, not trying to run up the score on her,                 I had

         5      kind of overlooked the busted proffer and didn't want to

         6      hang any more on her.        I would ask Ms. Stewart to get

         7      with to get with Mr. Roberson and go over the numbers

         8      and additional information from that proffer and see if

         9      that changes the drug weight one way or the other, and

        10      we can do this again if the Court is inclined.

        11              THE COURT:     Well,   did your agent have to come a

        12      long way?

        13              MR. WATKINS:   Where did you come from this morning

        14      Agent Roberson.

        15              THE AGENT:   Columbia,       sir.      That is fine.           I

        16      will come back another time.

        17              THE COURT:     Okay.       Thank you.

        18              Ms. Freeman, where are you housed right now?

        19              THE DEFENDANT:     Today in Anderson.               Anderson

        20      City.

        21              THE COURT:     Well,   I will continue this hearing

        22      for a short period of time to allow Ms. Freeman and her

        23      family to hire a lawyer if that is what they want to do.

        24      And then it is up to the Government if the Government

        25      wants to revisit the calculations set forth in paragraph



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         1      11, and if that results in an updated report then that

         2      would just need to be provided to everyone.

         3              MR. WATKINS:   Yes, sir.

         4              THE COURT:     Thank you.

         5              MR. WATKINS:   Thank you,        Judge.

         6          (Whereupon, the hearing concluded at 3:49 p.m.)

         7                 *** END OF REQUESTED TRANSCRIPT ***

         8         * * * * * * * * * * * * * * * * * * * * * * * * * * *

         9                        CERTIFICATE OF REPORTER

        10              I certify that the foregoing is a correct

        11    transcript from my stenographic notes in the

        12    above-entitled matter.

        13

        14

        15

        16

        17          S/Debra R. Bull, RPR, CRR               April 11, 2019
                                                     Date
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                           UNITED STATES DISTRICT COURT
                                                      for the
                                           District of South Carolina


       UNITED STATES OF AMERICA             )
                                            ) MOTION TO ENTER
       v.                                   ) BRIDGE PROGRAM
                                            )
       PRECIAS K. FREEMAN                   ) C.A. No.: 7:17-CR-79
       ____________________________________ )

                                      DEFENDANT’S MOTION TO ENTER
                                          THE BRIDGE PROGRAM

                                                  Introduction

              COMES NOW DEFENDANT Precias Freeman, by and through undersigned counsel,

       and hereby moves this Court to enter into the BRIDGE program. Defendant brings with her an

       addiction to opioids that has ruined her life; and, more importantly, who she is. What seemed

       like an ordinary prescription to recover for injuries sustained in an automobile accident in 2000,

       turned out to be the end of life as Precias Freeman knew it. She began her long and arduous

       Opioid journey which has brought her to this point.

              Her incarceration for the last eight (8) months has provided her with the opportunity to

       work on being drug free for the longest period of time in this millennium. Although the

       Defendant entered a rehabilitation program in Spartanburg when she was released in April of

       2017, she was unable to participate in the MAT program because of her pregnancy. The MAT

       program utilizes medicinal therapy as well as counseling to foster and facilitate recovery. The

       inability to enter a program that offered a physical element to her arsenal to fight this dreaded

       disease ensured her failure.

              Precias Freeman has been opioid free since her incarceration. It has reminded her of the

       woman who was free of the gripping addiction of the opioids which have literally wreaked havoc
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      on her, South Carolina and the United States as a whole. Defendant will always be the drug

      addict that she has become. Her fight will be a daily struggle in which the only chance that she

      has is with the rigors of something such as the Bridge Program which requires the candidate to

      immerse oneself in a pledge to defeat a most severe opioid addiction; and, get to a place where

      she can raise her children and live a life that is not consumed by her quest to get the next pill.

             Therefore, counsel respectfully requests, in part for the reason found below, Defendant be

      considered for the BRIDGE program.

                                                   Discussion

             Precias Freeman was admitted into the Intensive Outpatient Program in Spartanburg at

      the Forester Center. As part of the indoctrination, the depth of her addiction was examined in

      order to find the best way in which to treat her. The findings were extreme and explain how

      significant the aforementioned addiction that she possesses is.

             She was diagnosed with a severe opioid disorder, an unspecified depressive disorder and

      an unspecified anxiety disorder. (Exhibit 1-Diagnosis Made). The diagnostic formulation which

      arrived at the diagnoses could not have been more apropos. She had a severe intoxication/

      withdrawal risk. She had a very severe mental, cognitive or behavioral impairment in need of

      confinement. Her counselor recognized that her treatment readiness was essentially non-

      existent. In fact, based on her lack of knowledge relating to addiction; and, her unwillingness to

      explore the possibilities, her recovery’s chances for failure were very severe. Her lack of skills

      to manage the symptoms of her disease, to prevent ongoing use or relapse, was considered

      severe. Her lack of a supportive network and environment was also considered severe in the

      scope of recovery. (Exhibit 2-Diagnostic Formation).


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              The astute counselors predicted failure for her before they even started. That prediction

       was made before she learned of her pregnancy and the inability to use the necessary medicinal

       therapy to supplement the counseling that was offered. Precias Freeman had developed a

       dependence so severe that it is difficult to fathom how she is alive. She was consuming in her

       darkest hours sixty (60) to eighty (80) 10 mg Norco pills a day. She would crush six pills at a

       time for consumption. Very severe would probably be considered an understatement with regard

       to her addiction.

              The numbers are staggering. It is the epitome of addiction. The body builds up tolerance

       to medication. She was a walking opioid. The counselors assessed her perfectly. Based on the

       medicinal therapy weapon not being available to her, she had no chance to make any significant

       advances in her war.

              The Forester Center, with the input of the government, mischaracterized certain aspects

       of her treatment. The notes state that she was discharged from the MAT program due to a failure

       to appear is taken out of context. Ms. Freeman was told by her OB/GYN that he would not

       approve her taking anything relating to opioid treatment, such as methadone or suboxone.

              She was in Steven Prince’s group in May and the first half of June in 2017. However, he

       told the class that Ms. Freeman’s failure to come to class dealt with the fact that she had been

       taken to jail. He then proceeded to offer the other members of the group private information

       related to her record and her addiction. Upon learning of this breach of her trust, she was taken

       out of his class. She went to another individual’s class, but they wanted her to start with a new

       group to be on the same level as her fellow group members. Hence, she was out of class until

       September. It should be noted that on September 6, 2017, which was her last in the program, she

       passed her drug test on that occasion and participated in the group session. She was to begin

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       anew with an IOP group on September 11, 2018. Unfortunately, Ms. Freeman withdrew from it

       to have her baby.

              Ms. Freeman is capable of successful treatment. Undeniably, she needs all of the

       possible tools to succeed to be available to her. Her criminal history is 2. Of course, they are

       both charges dealing with prescriptions.

                       As the Program experienced success with these participants, it expanded its
                       eligibility criteria to accept non-violent drug offenders who were dealing drugs to
                       support addiction. The Bridge Program not only found that it could effectively
                       treat such offenders, but that in doing so, there was a substantial opportunity to
                       save resources and improve the lives of the participants, their families, and the
                       community.
       Interim Report on the Bridge Drug Court Program, p. 6, August 2016.

              Because of her innovation, she was able to secure thousands and thousands of pills. Her

       success has left her looking up at a sentence of 210 to 240 months, as suggested by the

       government. She would be released from prison following her youngest child’s graduation from

       high school. Due to the significant sentence in front of her, it is thought that the BRIDGE

       Program should not be presented to her. However, she did not use violence to get her

       medication; she did not steal from her neighbor to allow her to acquire the pills; and, she did not

       become wealthy as a result of her acquisition and subsequent distribution of Norcos, just to name

       a few things.

              In Judge Hendricks’ Interim Report in 2016, she used an article from the Huntington Post

       to illustrate how there can be no quit in the Court’s attempt to reform individuals. A gentleman

       who was so addicted to heroin that it was “the consensus among several of the professionals who

       work with the Program was that Shaun was the worst heroin addict they had ever seen.” Interim

       Report on the Bridge Drug Court Program, p. 23, August 2016. Precias can be the same

       individual only with a different addiction.
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             Ms. Freeman was surviving the only way that she knew. Ingest the Norco narcotic; or,

      cease to exist. The Norcos were her dictator. She existed to create and have prescriptions filled.

      She knew that if she failed to maintain her constant drug induced state, she would cease to exist.

             That is the only explanation. She was certainly not doing it take money. In fact, her

      family, which included her pregnant self, was being evicted for failure to pain the rent. She

      wasn’t robbing or using violence. Her twisted sense of reality combined with her intelligence

      enabled her to figure out security measures used to control the dispensing of the medication.

             On the other hand, all of the players in this epidemic were dispensing pills at an

      astronomical rate. Someone with her addictive personality didn’t stand a chance. Florida

      recently sued Walgreens and CVS for their proliferation of the pills. This was not foreign to

      Precious. She had a prescription for 120 pills. The pharmacy filled it with 180 pills. (Exhibit 5-

             A successful reformation of Precias Freeman could pay incredible dividends. She would

      be able to help raise her children. She could be the mentor needed for so many people who

      suffer from what she suffers. She would be invaluable as a speaker to spread the word of how

      she able to overcome the opioid monster with prayers and dedication. Everyone wins when

      someone completes drug court, whether be in the State or Federal Court.

             Precias Freeman is facing upwards of twenty (20) years in prison for what the American

      Medical Association termed a disease in 1987. While others say these addicts, and their criminal

      acts are because of the addiction from which they suffer, Ms. Freeman can point to the fact that

      her crimes have all been for prescriptions. It is because she can’t stop. Her cancer is her

      addiction to the opioids that man has made to stem pain. Instead, it has caused monumental pain

      in our society.


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             On October 26, 2017, President Trump announced that his Administration was declaring

      the opioid crisis a national Public Health Emergency under federal law, effective immediately.

      “I am directing all executive agencies to use every appropriate emergency authority to fight the

      opioid crisis,” the President said. “Defeating this epidemic will require the commitment of every

      state, local, and Federal agency. Failure is not an option. Addiction is not our future,” the

      President told New Hampshire. “And we pledge to honor the memory of those you lost with

      action and determination and resolve.” First Lady Melania Trump said, “I learned that to help

      babies succeed, we must help their parents succeed.” www.Whitehouse.gov

                                                  Conclusion

             Precias Freeman, like many Americans, is addicted to opioids that were created to treat

      injuries like those she suffered in a car wreck. That was nearly two decades ago. She has

      struggled to maintain, to survive, to live. She is a drug addict that simply needs help. To this

      point in her addiction, she has not had the tools to win. The BRIDGE Program can offer her

      those tools. She is the consummate candidate. She was highly addicted, with unparalleled

      consumption. She has non-violent crimes that are directly related to her addiction. In fact, her

      crimes are for the sole purpose of feeding her disease, we call addiction.

             It is difficult for those of us who have not dealt with addiction to understand why addicts,

      just can’t “say no”. The disease that Ms. Freeman has seemingly will not let her go. However, if

      we don’t quit on her, she has great potential to succeed. “The good news is that even the most

      severe, chronic form of the disorder can be manageable and reversible, usually with long term

      treatment and continued monitoring and support for recovery.” Center on Addiction, December

      3, 2018. Please give her one chance to choose her path. If she wants to succeed, she will. If not,

      she can do that as well.

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                                                                                             7


       Respectfully submitted,

       s/Donald L. Smith_____________
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       December 4, 2018.




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                                                                                1



         1                 IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
         2                           SPARTANBURG DIVISION

         3         UNITED STATES OF AMERICA,        )      CR. NO. 7:17-CR-79
                                                    )      ANDERSON, SC
         4                                          )      DECEMBER 13, 2018
                                                    )
         5              VERSUS                      )
                                                    )
         6         PRECIAS K. FREEMAN,              )
                                                    )
         7                        DEFENDANT.        )
                                                    )
         8
                           BEFORE THE HONORABLE TIMOTHY M. CAIN
         9                  UNITED STATES DISTRICT COURT JUDGE
                                    SENTENCING HEARING
        10
                   APPEARANCES:
        11
                   FOR THE GOVERNMENT:         WILLIAM WATKINS, AUSA
        12                                     UNITED STATES ATTORNEY'S OFFICE
                                               55 BEATTIE PLACE
        13                                     SUITE 700
                                               GREENVILLE, SC 29601
        14
                   FOR THE DEFENDANT:          DONALD L. SMITH, ESQ.
        15                                     DONALD SMITH LAW OFFICE
                                               122 N MAIN STREET
        16                                     ANDERSON, SC 29621

        17         COURT REPORTER:             DEBRA R. BULL, RPR, CRR
                                               UNITED STATES COURT REPORTER
        18                                     315 SOUTH MCDUFFIE STREET
                                               ANDERSON, SC 29624
        19

        20
                          STENOTYPE/COMPUTER-AIDED TRANSCRIPTION
        21                          *** *** *** *** ***

        22

        23

        24

        25



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                                                                                      2



         1              (Whereupon, the hearing commenced at 3:50 p.m.)

         2                MR. WATKINS:   That will bring us to 7:17-079

         3      United States versus Freeman.              Ms. Freeman is present

         4      with her attorney Mr. Smith.

         5                THE CLERK:   Raise your right hand,          please.

         6                     PRECIAS K. FREEMAN, having been first duly

         7      sworn, testified as follows:

         8                PRECIAS FREEMAN, having been first duly sworn,

         9      testified as follows:

        10                THE COURT:     Mr. Smith,        are you and your client

        11      ready to proceed?

        12                MR. SMITH:   Yes,    Your Honor,       we are.

        13                THE COURT:     For purposes of this hearing,           I have

        14      received and reviewed the following documents,

        15      information, and material.             I have considered the

        16      information presented at the plea hearing previously

        17      held in this case,       as well as the Presentence Report

        18      prepared by Probation Officer Stewart, and the updated

        19      presentence report at ECF 58.

        20                  The Defendant has filed a motion to enter BRIDGE

        21      Court or BRIDGE program, and there are several

        22      objections to the report.             Are there any other

        23      documents or materials that were submitted that I did

        24      not state on the record or that should be considered by

        25      the Court?



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                                   Examination by the Court                        3



         1              MR. SMITH:     I do not believe so,        Your Honor.

         2              MR. WATKINS:     No, sir,       Judge.   You got my memo

         3        and my attachments that you mentioned, as well as

         4        Mr. Smith's motions,     unless Probation has anything

         5        additional,     I believe,     you have everything.

         6              THE COURT:      I do have the Government's sentencing

         7        memorandum.

         8                  So,   Mr. Smith,     have you had a sufficient

         9        opportunity to review the presentence report and discuss

        10        it with your client?

        11              MR. SMITH:     Yes, sir,       I believe I have.

        12              THE COURT:      Have you explained the report to your

        13        client?

        14              MR. SMITH:     I have.

        15              THE COURT:      Do you believe she understands it?

        16              MR. SMITH:     I do.

        17                                       EXAM

        18 BY THE COURT:

        19   Q.         Ms. Freeman, have you had a sufficient opportunity

        20        to review the report and discuss it with your attorney?

        21   A.         Yes, sir.

        22   Q.         Do you need any additional time to review the

        23        report or discuss it with him?

        24   A.         No, sir.

        25   Q.         Do you understand the contents of the report?



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                                    Examination by the Court                            4



         1   A.          I do.

         2   Q.          Now,    I believe you initially were represented by

         3        Ms. Blanchard, and she was relieved because you hired

         4        Mr. Smith,     correct?

         5   A.          Yes, sir.

         6   Q.          Are you completely satisfied with the services of

         7        Mr. Smith?

         8   A.          I am.

         9   Q.          Have you told him everything that you want to tell

        10        him?

        11   A.          I have.

        12   Q.          Has he done everything that you have asked him to

        13        do?

        14   A.          He has.

        15   Q.          Do you authorize and request your attorney to

        16        speak on your behalf today?

        17   A.          I do.

        18               THE COURT:      Okay.    Well,    let's go through the

        19        objections.      Objection number 1,     Mr. Smith,       I will be

        20        glad to hear from you.

        21               MR. SMITH:     May it please the Court,        Your Honor.

        22        I believe that objection was, probably in view with the

        23        response of the Government, I believe we withdrew that

        24        objection.

        25               THE COURT:      So,     you are withdrawing objection



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                                    Examination by the Court                       5



         1        number 1?

         2                MR. SMITH:    Yes, sir.

         3 BY THE COURT:

         4   Q.           Ms. Freeman,    do you understand that?

         5   A.           I don't know which objection it is.

         6                THE COURT:     Well,   let me just read it.       It says:

         7                "The Defendant objects to paragraph

         8                1 of the PSR based on the lack of

         9                specificity regarding the actual

        10                times in which the Government claims

        11                she committed the alleged crime.

        12                Defendant further objects to the

        13                Government's failure to identify

        14                those who they allege to know in

        15                fact and for those of whom they are

        16                speculating."

        17   A.           Okay.

        18   Q.           And the Probation Officer's response was as

        19        follows:

        20                "Defense counsel should be aware

        21                that the Probation Officer cannot

        22                change the language in the

        23                Indictment filed by the grand jury."

        24                So,   Mr. Smith tells me that you are withdrawing

        25        that,   I need to know if you agree with that, or if you



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                                  Examination by the Court                          6



         1        need more time to talk with him about it, or if you want

         2        to go forward on the objection?

         3   A.         I agree with that.

         4   Q.         So, you are agreeing to withdraw objection number

         5        1?

         6   A.         Yes.

         7              THE COURT:     Okay.    All right.       Objection number

         8        2, Mr. Smith.

         9              MR. SMITH:    Your Honor,        may it please the Court.

        10        As we discussed the objections,         Ms. Freeman and I have

        11        discussed the relevance of the objections and with

        12        regard to the big picture, and the objections are not

        13        going to change,    in essence,        what the charges are,

        14        and we believe that the drug court or some of the

        15        arguments made in the drug court are what is more

        16        pertinent than objections over what might be considered

        17        as minimal even if found to be appropriate or the

        18        arguments being valid,     we don't think that that takes

        19        away from the vast number of pills that the Government

        20        has accused her of dispersing or acquiring.

        21              THE COURT:     So,     I just want to make sure that I

        22        am clear and the record is clear, there were eight

        23        objections shown on the Revised Addendum to the

        24        Presentence Report filed at ECF 68-1,          are you saying

        25        that the Defendant is now withdrawing all of those



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                                   Examination by the Court                          7



         1        objections?

         2              MR. SMITH:     Your Honor,        none of those objections

         3        reduce the number that is relevant to this Court.           And

         4        with that in mind,     we don't wish to dwell on those.

         5              THE COURT:      All right.        Listen to my question.

         6        Is the Defendant withdrawing all of her objections to

         7        the Presentence Report set forth on the Addendum to the

         8        Report at ECF 68-1?

         9              MR. SMITH:     Yes, sir.

        10 BY THE COURT:

        11   Q.         Ms. Freeman,     you heard that,        are you in

        12        agreement with that?

        13   A.         To withdrawing all objections?

        14   Q.         Yes, ma'am.

        15   A.         I am not sure.

        16              THE COURT:      Okay.     Well,      let's just go through

        17        them then:      Objection number 2 is as follows:

        18              "Defendant objects to paragraph 6 of

        19              the PSR based on the State's failure

        20              to produce the test results of the

        21              'instant' test USPO Rogers claims

        22              she failed.      The Defendant further

        23              objects based on the drugs that are

        24              alleged to have been in the sample

        25              she provided.     The Defendant has



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                                   Examination by the Court                           8



         1              never denied her use and addiction

         2              to opiates, and, in fact, affirmed

         3              the agent's query about whether

         4              Lortab was her 'drug of choice' but

         5              has not used any type of

         6              benzodiazepine or Xanax since 2012."

         7              So,    I need to know if you want to go forward with

         8        that objection and have me rule on it or if you want to

         9        withdraw it?

        10   A.         Can I ask a question?

        11   Q.         Well,     you can,   but you should probably ask your

        12        lawyer.     And let me just say this,        it matters not to

        13        me whether you withdraw your objection or not.             If you

        14        do not withdraw the objection,          I will hear from

        15        everyone.   I believe Ms. Rogers is here,          we have case

        16        agents here,    and I will listen to everything that is

        17        presented and give a ruling.        That is a decision for you

        18        to make in close consultation with your attorney.             So,

        19        talk to him, and then tell me what you want to do.

        20              MR. WATKINS:     Judge,      just for the record,     I have

        21        got Ms. Rogers here from Probation as you mentioned; I

        22        have a DHEC inspector,      Mr. Thomason, who interviewed

        23        her along with Rachel Richmond back in October 2016; and

        24        I have Adam Roberson with       DEA Diversion,       the Federal

        25        case agent, who interviewed Ms. Freeman as well prior to



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                                    Examination by the Court                            9



         1        her absconding.       And to the extent we need testimony,

         2        all of these individuals are ready to go.

         3                THE COURT:     Thank you.

         4                I saw the agents sitting back there,           and I had

         5        assumed they were present for this case because this

         6        case is the only other one on the docket other than the

         7        one we previously heard.

         8 BY THE COURT:

         9   Q.           So,    objection number 2,       Ms. Freeman,      you have

        10        had an opportunity to confer with your attorney,              do you

        11        want to go forward on that or withdraw it?

        12   A.           We can go and withdraw all objections,             that's

        13        fine.

        14   Q.           Okay.     So you are telling me that you want to

        15        withdraw all of the objections to the report after

        16        consulting with your attorney?

        17   A.           Yes.

        18   Q.           And you have made this decision freely and

        19        voluntarily?

        20   A.           Yes.

        21   Q.           Has anyone forced you, or threatened you, or

        22        pressured you to make you do this?

        23   A.           No.

        24   Q.           You have had sufficient time to discuss this with

        25        your attorney?



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                                      Examination by the Court                         10



         1   A.            Yes.

         2   Q.            Do you need any more time to discuss it with him

         3        before we proceed?

         4   A.            No.

         5                 THE COURT:      Okay.   Well,     the objections are

         6        withdrawn.         I find that the Defendant has decided to

         7        withdraw the objections, and she has made that decision

         8        freely and voluntarily with the advice and assistance of

         9        her attorney.

        10                   So,     in the absence of any objections,        I would

        11        adopt the factual findings set forth in the Presentence

        12        Report for purposes of determining the reasonableness of

        13        my sentence.         I will now announce my conclusions as to

        14        the appropriate statutory and the advisory sentencing

        15        guideline provisions applicable to this case to include

        16        the offense level,        criminal history category, and

        17        calculations as to the appropriate advisory guidelines

        18        range.

        19                   The statutory provisions applicable to this

        20        Defendant in this case would provide for a term of

        21        incarceration of not more than 20 years, supervised

        22        release of not more than 3 years           -- excuse me     -- let

        23        me just back up.

        24                   The statutory provisions would provide for a

        25        term of incarceration of not more than 20 years,



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         1      supervised release of at least three years,              probation

         2      from one to five years,      a fine up to 1 million dollars,

         3      and a Special Assessment fee of $100.           With respect to

         4      the advisory guideline provisions,         the Defendant

         5      admitted to Count 1 of the Indictment, conspiracy to

         6      unlawfully possess with intent to distribute Hydrocodone

         7      and Oxycodone.    As noted in paragraph 37 of the report,

         8      the U.S. Sentencing Commission Guideline for a violation

         9      of 21 USC 841(b)(1)(C) was found in Section 2D1.1(c)(3)

        10      and calls for a base offense level of 34.

        11               The Defendant is responsible for 11,738.4

        12      kilograms of marijuana equivalency as noted in paragraph

        13      12 of the report.

        14               The Defendant received a 2 level reduction (sic)

        15      as noted in paragraph 41 of the report as she willfully

        16      avoided authorities and violated conditions of her bond

        17      pursuant to section 3C1.1 there is a two level increase.

        18      That brought the adjusted offense level to 36.

        19               The Defendant was not afforded acceptance as

        20      noted in paragraph 44, and that brought her total

        21      offense level to 36.

        22               Her prior criminal record puts her in criminal

        23      history category 2.     Under the advisory Sentencing

        24      Guidelines she would not be eligible for probation.             And

        25      her advisory guideline range would be 210 months to 240



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         1      months imprisonment with three years supervised release.

         2      A fine was not calculated in this case,              restitution was

         3      deemed not applicable,        and she would be subject to a

         4      $100 Special Assessment fee.

         5                 Are there any exceptions,          objections, or

         6      comments as to my conclusions as to the applicable

         7      statutory provisions or advisory guideline

         8      determinations?

         9               MR. WATKINS:   Nothing from the Government Your

        10      Honor.

        11               MR. SMITH:   Nothing from the defense.

        12               PROBATION OFFICER:       No,     Your Honor.

        13               THE COURT:     Well,   Mr. Smith,       do you want to go

        14      forward now on your motion to enter the BRIDGE Program,

        15      or do the parties have some other preference on how to

        16      proceed?

        17               MR. WATKINS:   Yes, sir.         However you and the

        18      defense would like to proceed,            the Government has no

        19      objection either way.

        20               THE COURT:     Well,   Mr. Smith,       if you want to go

        21      forward on the motion,        then I can hear from the

        22      Government and also on the information the Government

        23      wants to present, and then I will come back to you and

        24      your client.

        25               MR. SMITH:   Yes, sir.      May it please the Court,



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                                                                                  13



         1      Your Honor.

         2              THE COURT:    Yes, sir.

         3              MR. SMITH:   This case is the consummate case for a

         4      drug court BRIDGE program situation.            Ms. Freeman has

         5      had a history of issues with her addiction, and that is

         6      what it comes down to,       but for her addiction to

         7      Opioids, we wouldn't be here today.            The AMA said that

         8      in 1987 that addiction was a disease, and, in fact,

         9      Ms. Freeman has the disease.          She has been a drug addict

        10      since roughly 2003 when she was introduced to Opioids.

        11              THE DEFENDANT:     2000.

        12              MR. SMITH:   2000,     excuse me.     And her life has

        13      been trying to satisfy the addiction since that time.

        14      She has not stolen from people,           she has created

        15      prescriptions,    so it is directly related to her

        16      addiction as opposed to someone who steals or robs to

        17      support the addiction,       her addiction is the driving

        18      force behind everything that she has done from an

        19      illegal standpoint.

        20                When she was caught in October 2016,             she

        21      admitted when the matters were discussed with her at

        22      that time,    she again admitted to her involvement in

        23      2017 with Ms. Blanchard.         She has never denied her

        24      dependency on the Opioids.           And the idea that the State

        25      of Florida has recently sued Walgreens and CVS over the



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         1      proliferation of the drug can be seen with the idea that

         2      she submitted a 120-pill prescription and was given 180

         3      pills.      Her addictive personality was something that

         4      she couldn't do anything about, and once those Opioids

         5      were introduced, she was pretty much done.

         6                She is not      -- she grew up in a solid family,

         7      parents have been married 37 years,            dad is a preacher.

         8      She understands what is right and wrong,             but it is not

         9      that simple.         Because of that lack of simplicity and

        10      the addiction, which as I said in my memorandum,                 she is

        11      doing 60 to 80 ten milligram pills a day.              When I first

        12      heard that,        I thought she would be dead,        but

        13      apparently the tolerance that went to build up these

        14      medications is real.         Look at the fact that she and her

        15      family have nothing,        she certainly didn't do it to

        16      enrich herself, there are no cars,            there are no houses,

        17      nothing of that sort.          So,    obviously,    the pills were

        18      being used and,        unfortunately,      that is what she has.

        19                Now, in 2017, right after the proffer,               she or

        20      right around the time of the proffer she went to SADAC

        21      or the Forrester Center in Spartanburg where they talked

        22      to her about certain aspects of treatment.                  One of the

        23      aspects of treatment is the MAT program,             I believe,

        24      and that involves medicinal therapy,            as well.       Well,

        25      at that time,        Ms. Freeman was pregnant,       she didn't



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         1      find that out until she went to the doctor for the

         2      purpose of the MAT program.        The counselors there did

         3      an initial review of her and submitted a report          --

         4      submitted something, which in turn tells us what her

         5      addictive situation is,      talks about how severe her

         6      addiction is,     very severe is the terminology used.

         7      Talks about how she is likely to fall back into that

         8      program based on her lack of knowledge of how to address

         9      the issues she was dealing with.         There is no doubt,

        10      that is an independent group saying that she is

        11      addicted, and that the addiction was going to get the

        12      best of her at that point.

        13                Now, that was before the pregnancy test.        So she

        14      was basically going to counseling without the assistance

        15      of the medicinal therapy that they suggested.

        16      Obviously her OB/GYN did not want her to be on Suboxone

        17      or methadone while carrying a child.          So, she didn't

        18      have that.    So, she went into something that she already

        19      knew was going to be difficult without the added weapon

        20      of medicinal therapy.

        21                She left in September because she was afraid not

        22      only of the child being born in jail, but she was of the

        23      opinion that the Probation office was against her.              Of

        24      course,    her mind has been altered by the course of 15

        25      years or 13 to 15 years of the drug use,          18 years of



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         1      drug use, so she had a paranoid mind-set and,

         2      unfortunately,    that led her to leave.          And as I said

         3      she -- right before she left she took a drug test and

         4      she passed that,    she passed the drug test that she took

         5      while she was at SADAC.       And hopefully,       she wasn't

         6      going in the right direction,           then,   of course,    she

         7      left,   and that changed everything.            But that related

         8      to the loss of the home, the family, as I said,              the

         9      struggle with economics, and they were evicted from the

        10      apartment,    Country Club apartments in Spartanburg, and

        11      the stress related to that or related to pregnancy and

        12      the baby, too, that the action against her apparently

        13      was too great, and she left,         unfortunately.        However,

        14      when she was found in March, she did have two pills,

        15      she was found in an extended stay with her family

        16      because they didn't have a house yet.             So, dealing with

        17      the issues relating to the birth of the child,               lack of

        18      a home,    the addiction.

        19                Well,   she has been incarcerated since March,

        20      she hasn't used any drugs,          it is the longest time she

        21      has had without drugs since 2000.            As I said when we

        22      were discussing objections,          the big picture is nothing

        23      is going to change out of those objections the fact that

        24      she is an addict and the Opioids have consumed her life.

        25      I don't think there is any question that this is in fact



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         1      a societal problem that the President recognizes,                  that

         2      all of the governmental entities that are bringing suit

         3      against the distributors,          the manufacturers, there is

         4      no question of the addictive potential of the

         5      medication.        Obviously, she would be the first one to

         6      admit she is addicted to them.

         7                   So, what we are talking about is a woman that

         8      suffers from a disease,          17 and a half to 20 years

         9      because she is sick.          She didn't want to be sick,          but

        10      she is.       As I said,     Your Honor,      no violence,    no

        11      stealing,      obviously created things to further her

        12      efforts to get a pill.

        13                   She has five children,         three of which are --

        14      16,     9,   4 and 5.     Obviously, if she is around, she can

        15      help raise them.         She has the capability of teaching,

        16      counseling herself based on the fact that she has done

        17      everything related to getting the drugs,               been consumed

        18      by them.      And because of that consumption,            she is a

        19      great teacher, and when she tells someone that she knows

        20      what they are dealing with,            obviously,     she does.

        21                   Part of the problem,       of course,     unless you

        22      have been addicted to drugs or had issues with drugs,

        23      you can't understand why would someone who is

        24      intelligent,       someone who was raised in a good family

        25      can't just say no.          Unfortunately,       it is not that



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         1      easy.   This Court is aware of my own issues, and,

         2      obviously, I went to law school,             had a fairly good

         3      understanding of what is right and wrong, and that

         4      didn't matter.        And I would suggest that it is the same

         5      thing for Ms. Freeman, the counsel and the therapy that

         6      she has had to this point has not been sufficient.               The

         7      eight months that she has had at this point has allowed

         8      her to recognize how great the lack of drugs in her

         9      system in her thought process are.              And we think that

        10      the BRIDGE program, based on its structure and so forth,

        11      would be really perfect aid to her recovery and to

        12      making her a prominent member of society.

        13                As I mentioned to begin this statement,            drug

        14      courts are for the purpose of addressing addiction and

        15      not necessarily finding criminal because of the

        16      addiction.        She cannot say anything but the fact that

        17      she did use prescriptions, create prescriptions to get

        18      drugs illegally.        There is no doubt about that.        No

        19      doubt about the fact that she left,             and absconded,    and

        20      so forth.     But it all comes back to the one thing:             She

        21      had prescription issues in 2008 when she got in trouble,

        22      2011 when she got in trouble,             everything is related to

        23      the acquisition of the Opioids for what she is addicted.

        24              And it is a very difficult question when it comes

        25      to the addiction versus the gallery,             no doubt she broke



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         1      the law,    all said and done,       she broke the law because

         2      a man named Opioid that has control of her life, and

         3      that is exactly why we are here today because the Opioid

         4      is not an excuse,     it is a fact.

         5                 And, Your Honor, we would ask that you have the

         6      opportunity to go through the Drug Court, if she fails,

         7      well, she failed.      She has not had the proper therapy

         8      to this point to fight such a battle that is difficult

         9      to win in the first place,          let alone,    try and do it

        10      without sufficient therapy or a sufficient plan.           Drug

        11      Court takes that into account,           BRIDGE program takes

        12      that into account, holds you accountable, and certainly

        13      holding her accountable would be the necessary thing to

        14      do based on what we just discussed,           because if not,

        15      then who knows what she is going to do?            But by giving

        16      her the opportunity,      I think she could be a very

        17      productive member of society as well as taking care of

        18      her children,     and helping in being a drug counseling,

        19      which she has already started the process of bringing

        20      drug counseling into the jail based on her knowledge,

        21      based on her issues and her willingness to share about

        22      those issues.

        23                 But,   Your Honor, we ask just for the

        24      opportunity to go through the BRIDGE program because

        25      there is no better candidate; the drugs are the only



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         1      subject of her criminal issues.            And we would ask that

         2      you take that into consideration.

         3              THE COURT:     I will be glad to hear from the

         4      Government.

         5              MR. WATKINS:    Yes, sir,        Your Honor,    may it

         6      please the Court.      Would you like us to just address

         7      the BRIDGE program or the 3553(a) factors generally?

         8              THE COURT:     I would suggest that you address the

         9      motion to enter BRIDGE Court, and then take up the

        10      3553(a) factors, and if you have any comments about how

        11      that may come into play with the motion, I am glad to

        12      hear it.

        13              MR. WATKINS:    Yes, sir,        may it please the Court,

        14      Your Honor.       Your Honor,    I will tell you on

        15      Ms. Freeman and her addiction there are several issues I

        16      would like to just bring to the Court's attention.               One

        17      is if we had had testimony from Inspector Thomason, he

        18      had interviewed Ms. Freeman back originally in October

        19      2016, as well as about a year earlier, he had had

        20      contact with her.      He tells me, and could fill the

        21      Court in later, if needed, that she never indicated to

        22      him at those times that she was taking the prescription,

        23      she said that she was selling them.             Inspector Roberson

        24      would testify similarly,        Your Honor, that the first she

        25      told him that she was actually using the medication was



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         1      after she had been in Federal custody and had learned

         2      about the BRIDGE program; therefore,             my agents

         3      certainly have some skepticism about the addiction.

         4      However,     to be perfectly candid on the flip side,               when

         5      she was     -- after she absconded, when she was arrested

         6      in North Carolina,       she was found with two pills of

         7      hydrocodone when she went into the jail:              One secreted

         8      in a sanitary napkin, and the other frankly secreted in

         9      her private parts.        That could be some indicia of an

        10      addict who absolutely wanted to have those pills and get

        11      a fix while she was in jail.              So,   I just want to bring

        12      those two issues to your attention,             Your Honor.

        13                 Your Honor,    unfortunately,         in this case,          I

        14      have a lot of sympathy for the issues that Mr. Smith has

        15      brought out,       I thought he did a fine presentation

        16      there.      Ms. Freeman has a history of absconding on

        17      multiple occasions.        You know,       in spring 2015,         my

        18      information is she cut her ankle monitor off when she

        19      was in State custody.         In the summer of 2015,          my

        20      understanding is is that when the Duncan Police

        21      Department was attempting to intervene when she was

        22      getting prescriptions filled out a Walgreens in Duncan,

        23      that she jumped in a car,        threw her young child in the

        24      backseat, and took off in a vehicle.               In August 2015,

        25      Ms. Freeman ran from Rachel Richmond,              one of our DHEC



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         1      Inspectors, when they were trying to serve warrants on

         2      her at her parent's apartment in Spartanburg on Country

         3      Club Road.        They tell me that she initially barricaded

         4      herself in the bedroom, and then jumped out of a window

         5      after officers entered the house and escaped.

         6                Your Honor,     after this escape,       she continued

         7      to fill prescriptions.        And then in October 2016,      she

         8      was charged by the Simpsonville police with resisting

         9      arrest at Walgreens when they got her for passing

        10      prescriptions.        And then on October 10,       2016, she was

        11      transported to Greenville Memorial Hospital in

        12      connection with the arrest and medical issues, and she

        13      attempted to escape the hospital and was found one floor

        14      below her room and was charged by escape,             and attempt

        15      to escape by the Greenville County Sheriff's office.

        16      And then obviously in this case,          Judge,    if she entered

        17      -- my agents were frankly in shock when the Magistrates

        18      gave her a bond because of this history of running,            but

        19      she shocked me because she was showing up to Court and

        20      doing well.        And then, unfortunately, we have this

        21      again, a six-month period after the plea where she

        22      absconded to North Carolina and again was arrested up in

        23      Shelby.       Because of this continued history of flight,

        24      I just ask the Court to factor that in as you consider

        25      not only the drug Court request, but any sentence in



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         1      this case.

         2                 Your Honor, this is a serious offense.                I think

         3      Mr. Smith has made good points about the medical

         4      community.        I think I am about the only prosecutor in

         5      the last decade here in the Upstate who has successfully

         6      prosecuted a physician,        the Dr. Daniel Jebens out of

         7      Greer     for his prescribing practices and conspiracy with

         8      that, and that is certainly something our office needs

         9      to look harder at and make a priority; however,              what

        10      she did aside from the doctors is a serious offense,

        11      Your Honor.        These are extremely addictive substances.

        12      You are putting large numbers of pills out in the

        13      public.    I believe her original statement to the DHEC

        14      investigators is that she was selling the pills at four

        15      dollars a pop,       which was a fairly low price at the time

        16      anyway.

        17                 Your Honor,    it is a serious matter to have

        18      these pills out in the public in the volume that she

        19      did.    She was essentially working a full-time job doing

        20      these prescriptions.        As we point out in the sentencing

        21      memo, on some of the best days, she had -- she was able

        22      to fill prescriptions in the double digits.                Her

        23      statement was that on her bad days she maybe got one

        24      prescription filled.        So, this is a large amount of

        25      substances being moved.



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         1                Unfortunately,      the State system failed her,

         2      Your Honor, you know,       with really slaps on the wrist

         3      and not addressing her main issues.             I would have no

         4      problem as part of this if she did get some prison time

         5      and you recommend the RDAP Program,             drug treatment

         6      program there,       Your Honor.     But I will tell you if you

         7      look also at the nature and circumstances of this

         8      individual, as Mr. Smith quite honestly and properly

         9      alluded to,       she does have prior convictions in the

        10      State system for obtaining prescriptions by fraud.                      My

        11      case agent has told me and Adam Roberson --                  how long

        12      have you been doing       DEA diversion work, Inspector

        13      Roberson?

        14              THE AGENT:     Twenty years.

        15              MR. WATKINS:     Twenty years.        He told me today that

        16      she was the most prolific prescription passer that he

        17      has investigated in his career, and I have had a lot of

        18      cases with him.       So, I highlight all of that to say

        19      this is a serious matter to the Government.

        20                Your Honor,     I think it certainly inures to her

        21      benefit that she wants help, that she wants treatment,

        22      that she would like to persuade others from going down

        23      the path that she went down.              I think she is sincere

        24      about that, and I think those are honorable motives, but

        25      I would also ask the Court in considering the BRIDGE



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         1      motion as well as any sentence,            Your Honor,       that you

         2      would consider the need to protect the public from any

         3      further crimes, as well as to persuade Ms. Freeman from

         4      engaging in any other criminal conduct as her multiple

         5      flights, and use of physician             DEA numbers, and

         6      identities has shown,       that is a serious matter to the

         7      Government.

         8               Your Honor,      even if you did in the alternative

         9      consider some sort of variance,            if you interpret

        10      Mr. Smith's motion as also a BRIDGE Court and perhaps a

        11      variance,    Your Honor,      even if you went down two levels

        12      on her drug weight,       which there are no objections to,

        13      but it results in 210 to 240,             it should be 210 to 262,

        14      but the statute caps at 240,         even if you went down two

        15      levels which would just assume one prescription being

        16      passed a day,      which is an extremely conservative and

        17      low estimate, that would still put her at 168 to 210.

        18               So,      Judge, that is the Government's

        19      presentation.       Your Honor,      again,     if you required any

        20      testimony from Inspector Thomason or agent Roberson,                I

        21      would be happy to call them, but insofar as there are no

        22      objections to the Presentence Report, and you have

        23      adopted its factual findings including the offense

        24      conduct section, that would be the Government's

        25      presentation at this point.



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         1              THE COURT:      I don't require testimony.             I would

         2      leave that up to Mr. Smith if he wants some testimony

         3      from the agents.        Do you want to hear from the agents?

         4              MR. SMITH:     I do not.       May I respond?

         5              THE COURT:      Yes,     absolutely.

         6              MR. SMITH:     Your Honor,        I would begin this by

         7      saying that the Government knows nothing of her alleged

         8      distribution other than what she told them.                  For the

         9      prolific prescriptions,          and so forth, she didn't have

        10      any money,    the family didn't have anything special to

        11      say that they didn't believe that she was an addict, was

        12      disingenuous because they had no idea where all of this

        13      medication was going; well, she was using.               She was

        14      using a great deal of it, and she was not profiting from

        15      it.     She didn't come in rich because of it.

        16                There is no -- as I said,           she didn't get caught

        17      up in some sting or anything of the sort,               it was her

        18      prescribing drugs to herself for her use.                There is no

        19      doubt not all of them stayed with her,              no doubt about

        20      that.

        21                Mr. Watkins talks about the State failing her,

        22      well, the State did fail her because she was arrested

        23      twice for prescriptions, they didn't address her

        24      addiction.        That is what this is all about, her

        25      addiction.



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         1              THE COURT:     Thank you.

         2              Mr. Smith, is there anything else before I hear

         3      from your client?

         4              MR. SMITH:    No, sir,       I believe I said what I

         5      needed to say.

         6              THE COURT:     Thank you.

         7                Ms. Freeman, you have the separate and

         8      independent right to tell me anything you want me to

         9      know before I rule on these matters or I decide your

        10      sentence,    is there anything you want to say?

        11              THE DEFENDANT:      Yes.      I don't -- I did, I wrote

        12      a lot of prescriptions,        I did that,     but I did take a

        13      lot of them.      I really was taking 60 to 80 a day.

        14              THE COURT:     You were consuming 60 to 80 pills a

        15      day?

        16              THE DEFENDANT:     Yes, sir.      Sixty to 80, 60 to 80,

        17      yes, sir,    I was.

        18              THE COURT:     Okay,     go ahead.

        19              THE DEFENDANT:      And during that time --

        20              THE COURT:     Did you say 6 to 8 or 60 to 80?

        21              THE DEFENDANT:     Six - no - six zero, sixty, to

        22      eight zero, eighty.

        23              THE COURT:     Okay.     I just wanted to make sure.

        24      Go ahead.

        25              THE DEFENDANT:      Okay.     So, during that time it



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         1      was just to keep up that habit,           yes, I did have to sell

         2      some of those pills,       I did have to do that.           It is

         3      obvious that I didn't get rich off of it because if I

         4      got rich off of it, we wouldn't have been getting

         5      evicted,     I would have owned a house,        I don't even own

         6      a car,    I couldn't even -- I don't have a car.             We

         7      shared a car,      my dad's car.

         8                 Yes,    I have used pills for a long time.             In

         9      2000, I fell in the shower, broke my tailbone,               I was

        10      seven months pregnant with my daughter,            and my OB/GYN

        11      put me on what, at the time, was Lortabs, and I have

        12      been hooked ever since then.

        13                 Yes,    I have ran quite a bit.      Yes,       I have ran,

        14      I am not going to deny that,         I have, but most of that

        15      came from the thought of not being able to get those

        16      pills because I have had to go through withdrawals

        17      before, and going through withdrawals is like death

        18      itself.      There is no way to explain it if you have

        19      never been through it.         So, yeah,     everyday I woke up,

        20      that was the first thing on my mind was how do I not

        21      have to feel like I am about to die.

        22                 I am not making excuses for what I have done,

        23      all I can do is tell you what really happened.                And,

        24      yeah,    I was doing good, and I appreciate Mr. Watkins

        25      for when I came before the Court with Mr. Plowden at the



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         1      time before he retired and requested to be taken off the

         2      ankle monitor,     which I thought I did fairly well,             it

         3      felt good being clean for like the first time ever.

         4      And I was doing good.         I was coming to Court because I

         5      felt like,     okay, this is it.          Like,   I want to prove

         6      that I can do this.        And I was doing well, and then we

         7      found out we were getting evicted,            found out I was

         8      pregnant,     it was a lot of issues at the time.           And

         9      then, okay, Ms. Wallace came out and drug tested me.

        10      And when she drug tested me, she said I failed for two

        11      things, and that just didn't sound right to me.               Okay.

        12      So, she said she was going to send it off,              I said okay

        13      fine.     She calls me back and tells me,           okay,   well,

        14      the Judge ordered, which I just assumed was you,              Judge

        15      Cain,    but she said the Judge ordered for you to go back

        16      on an ankle monitor,       I said no problem,        I don't have

        17      an issue with that.        But at the same time, I kept

        18      thinking,     I still wonder what did I fail for because

        19      she never showed me.        So, I called Lora Blanchard the

        20      time before because Ms. Rogers wanted me to go sign the

        21      paperwork at the field office in Spartanburg.

        22               THE COURT:    You called Ms. Blanchard?

        23               THE DEFENDANT:     I called Ms. Blanchard on the

        24      phone.    And I told her, Ms. Blanchard, she wants me to

        25      sign this paperwork, I don't want to sign anything



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         1      without my lawyer,      I don't feel right about it.

         2      Ms. Blanchard said, in so many words,              well, just be

         3      glad that the Judge didn't lock you up,             he could have

         4      just locked you up, so go sign it.             I said, okay.         I

         5      didn't appreciate the attitude,            but I understood what

         6      she was saying,       I said,   okay,      I get that.      So, I

         7      went and signed the paperwork.            But when I went, the

         8      paperwork was up at the front desk, I didn't get to talk

         9      to anybody, so I signed it and asked for a copy of it.

        10      Okay.   The next thing I know, it was like a week later,

        11      I still wasn't actually placed on an ankle monitor, like

        12      I wasn't given an actual unit.             Okay.   I was told to go

        13      back to SADAC to start my classes back, The Forrestry

        14      Center, that it is called now.            I passed my drug test,

        15      everything,       everything was seeming to be going good.

        16                 Okay.     We had to be out of our apartment by the

        17      8th.    We packed everything up and left the morning of

        18      the 8th.     Well,     before we left, I called Ms. Rogers

        19      and left a voicemail letting her know that she knew we

        20      had to be out, but we didn't have anywhere to go.                   That

        21      is the same weekend the hurricane came through.                There

        22      was no hotels anywhere.         The only hotel we could find

        23      was in Shelby, which just happened to be the one place I

        24      was authorized to go to church once a week.                 So, I

        25      figure out a way, I haven't got in touch with her, what



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         1      else am I going to do?       I can't just sit around,          I had

         2      children,    so we went and stayed at that hotel, and then

         3      she called me on Tuesday.       God bless you.

         4              THE COURT:    Thank you.

         5              THE DEFENDANT:     She called me on that Tuesday

         6      asking me where I was at,       I told her I was in North

         7      Carolina.     She told me to come back, which I didn't

         8      have a problem with, I was coming back.            But then the

         9      next call I got was,      we talked to the Judge, and he

        10      wants DSS to be here, and I was like for what? Really.

        11      Okay.    I respect that decision,         but at the same time I

        12      felt like because of a drug test that was said that I

        13      failed that I never saw the results to,           which I was end

        14      up being for insufficient to be tested,           but because of

        15      a failed drug test that said I failed,           I was being

        16      punished, and not only was I being punished,               but to

        17      think that my children were going to be punished by

        18      being taken from me,      in my mind it felt like the world

        19      was against me.      Like I had done everything I could to

        20      do right and still I was being punished.             And it just

        21      seemed like I could not do anything right.                So, I know

        22      it seemed like I just ran,          I know it seemed like it

        23      might have been like a slap in the face,           but I didn't

        24      intend for it to be.       So, I apologize if you feel like

        25      I disobeyed your orders or I took your orders lightly,



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         1      I didn't.     All I can do is tell you how I felt and what

         2      my mind-set was, so I apologize to the Court, and I

         3      apologize to you, Judge Cain,           I apologize to you,

         4      Mr. Watkins.

         5                 I apologize to my family for what I put them

         6      through.     I did come from a good home.           I do know

         7      right from wrong.     I was raised in church.               I was

         8      raised to honor your mother and father and to me honor

         9      your mother and father isn't just respect it is in how

        10      you live.     And obviously I failed.          I don't want my

        11      parents to feel like they failed me,           I failed them.

        12      They did everything right,         but I failed them.         I want

        13      to apologize to my children for even having to see me in

        14      this position.     I don't want them to think by any means

        15      I am excusing what I have done, I am not.              I apologize

        16      to my husband because I feel like we took those vows and

        17      I broke that vow.    I didn't cheat on him with a man,               I

        18      like cheat on him with my addiction.

        19                 I feel so stupid standing here, this is

        20      embarrassing,     this is demeaning, this is everything.               I

        21      have made a mess of my life, to sum it up.                 I have made

        22      a mess.     And to sit here and to think that I let

        23      something get me to this point, I apologize.                When I

        24      got -- I am going to say this, and I am going to end it.

        25      When I got to jail here in Anderson           -- thank you -- I



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         1      went in the cell, and on the cell wall there is a quote

         2      from Buddha that says:        "The root of all suffering is

         3      attachment."        And I thought about that, and I said,

         4      that is so true.       The root of all suffering is

         5      attachment, and I attached myself to all of the wrong

         6      things.     I attached myself to pills, and to think that

         7      because I attached myself to those pills and that

         8      addiction that I could spend the rest of my natural life

         9      in prison and not get to see my children graduate, and

        10      not get to see my children get married.              And to think

        11      that my husband can move on and live another life, or

        12      that I might not get to sit down and eat Thanksgiving

        13      and Christmas with my parents ever again,               I messed up

        14      because I attached myself to that.             And now for every

        15      day that I live from here on out,            every major decision

        16      I make,    I am going to have to think, is that worth

        17      suffering for.       If I attach myself to that,             nothing,

        18      nothing to me is worth suffering like this for.                 And I

        19      hate that I attached myself to pills.               If I could go

        20      back and change it,       I would.        I really would.      And I

        21      apologize.

        22                That is all I can say.            I can't do nothing

        23      (sic) more.       All I can do is try to prove how sorry I

        24      am.     And I do,    I am not even asking you,           I am begging

        25      you for another chance.         I am begging you, Judge Cain,



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         1      for another chance because I want to make it right.                I

         2      probably was prolific in my prescription writing,                I am

         3      not going to lie about that,         but at the same time, my

         4      life is a testimony because I know that I shouldn't be

         5      alive right now.        I know the        -- I know the

         6      consequences of what I have done.              I definitely get it

         7      now.     And I think that my life would be a waste if I

         8      wasn't given a chance to try to make it right.

         9               THE COURT:     Thank you.         Is there anything else

        10      on behalf of the Government?

        11               MR. WATKINS:    No, sir.

        12               THE COURT:     Is there anything else on behalf of

        13      the Defendant?

        14               MR. SMITH:   Just one thing,         Your Honor.      She has

        15      been imprisoned by her medication since 2000.                That will

        16      be it.

        17               COURT REPORTER:    Say that again.

        18               MR. SMITH:   She has been imprisoned by the

        19      medication since 2000.

        20               THE COURT:     Is there anything else from

        21      Probation?

        22               PROBATION OFFICER:       No, sir.

        23               THE COURT:     This Court is mandated to calculate

        24      an appropriate guidelines range,             which I believe has

        25      been done, and then look at the traditional departures



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         1      or variances that might be applicable in view of all of

         2      the facts and circumstances in the case.

         3               In fashioning the sentence and considering the

         4      requests presented to the Court,        the Court has

         5      specifically reviewed and considered all of the Section

         6      3553(a) factors.     And in addition to the information

         7      presented at the plea hearing and as set forth in the

         8      presentence report and provided today,         I would cite the

         9      following relevant 3553(a) factors that would serve as

        10      the basis for the sentence I will impose.

        11               I have considered the nature and circumstances

        12      of the offense.    The Defendant over a significant

        13      period of time engaged in a pattern and course of

        14      conduct to violate the law by forging and filling

        15      fraudulent prescriptions for Hydrocodone.           She did this

        16      at pharmacies across Upstate South Carolina including

        17      Greenville, Lyman,   Greer,       Taylors, and Simpsonville.

        18      And significant quantities of these pills were obtained

        19      by fraud by the Defendant.

        20               I have also considered the history and

        21      characteristics of the Defendant.         Her prior criminal

        22      history is more fully set forth in the report, but

        23      includes a conviction in 2011 for obtaining prescription

        24      drugs by fraud.    In June of 2012, she was convicted of

        25      obtaining prescription by fraud and possession of a



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         1      controlled substance.        She also had a conviction in

         2      2011 for misrepresenting identification to police.

         3                The Defendant was born on December 2nd,            1982.

         4      In 2014 she married Antonio Borders in North Carolina.

         5      She has two children from this marriage.               She also has

         6      three children from previous relationships.

         7                She is in good health.          She reported to the

         8      report writer that she has been taking the prescriptions

         9      Lexapro and Seroquel for depression as prescribed by the

        10      medical staff at the Detention Center since December of

        11      2016.    Are you still taking those medications,            ma'am?

        12              THE DEFENDANT:    No, sir.

        13              THE COURT:    All right.         So you are not on any

        14      medication today?

        15              THE DEFENDANT:    Well,     I am on blood pressure

        16      medication.

        17              THE COURT:    You are taking blood pressure

        18      medication.       Does that in any way affect your ability

        19      to understand what is happening here today?

        20              THE DEFENDANT:    No.

        21              THE COURT:    The defendant does have a prior

        22      history of drug use including marijuana and Lortab.

        23              She is -- I don't believe has ever had any real

        24      substance abuse treatment, but I think as a part of her

        25      Pretrial Services she was placed in intensive outpatient



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         1      program; is that right, Ms. Rogers?

         2              PROBATION OFFICER:       Yes,    Your Honor, in the

         3      beginning, she was on a -- for the MAT -- but in the

         4      beginning, yes.

         5              THE COURT:    Say that last part again.

         6              PROBATION OFFICER:       She was in IOP until she was

         7      considered for the MAT program that Mr. Smith alluded

         8      to, the medicinal alternative treatment when she was

         9      pregnant.    Her OB/GYN would not sign off on that, so

        10      then she just scheduled to go back.

        11              THE COURT:    Okay.

        12                The Defendant graduated from high school in May

        13      of 2000 and she indicated that she had attended ECPI

        14      University in Greenville.

        15                Her employment history includes working with

        16      Personnel Solutions, Incorporated, at Adidas in

        17      Spartanburg from May 11,       2017 until May 15,         2017, and

        18      she was employed for six to seven months at the place

        19      called Carolina Center in Greer,         South Carolina.

        20                I have also considered the need for any sentence

        21      imposed to reflect the seriousness of the offense.               The

        22      filling of fraudulent prescriptions,          particularly

        23      Opioids, and the distribution of these drugs is a

        24      serious problem in South Carolina and the entire nation.

        25      The Defendant was no doubt a major supplier of these



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         1      drugs for sale on the street.           The devastating effects

         2      of these drugs on individuals and families from all

         3      walks of life and on our healthcare system,               educational

         4      system,    the economy, and criminal justice system is

         5      immeasurable.

         6                I have also considered the need for any sentence

         7      imposed to promote respect for the law and the

         8      Defendant's prior criminal conduct.           And her conduct in

         9      this matter over a period of time reflects some lack of

        10      respect for the law.

        11                I have also considered the need for any sentence

        12      imposed to provide just punishment to promote adequate

        13      deterrence to future criminal conduct and to protect the

        14      public from further crimes of the Defendant.

        15                Thus far, the Defendant's involvement with the

        16      criminal justice system has not deterred her in engaging

        17      in criminal conduct, and it is hoped that the sentence

        18      imposed today will impact her in some positive way so as

        19      to promote respect for the law and deter her from

        20      engaging in criminal conduct in the future.

        21              So,   if there is nothing further,        with respect to

        22      the motion to allow the Defendant to enter into what is

        23      known as the BRIDGE program,       let me say this:          The

        24      BRIDGE program was started by one of our judges a few

        25      years ago, and it has been implemented in the various



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         1      divisions of the District.         It is a type of diversion

         2      program,     as I understand it, whereby certain defendants

         3      who have minimal or no criminal record who have an

         4      addiction to drugs or alcohol are admitted to what is an

         5      intensive Court-supervised program.          Admission to the

         6      program is at the discretion of the Judge assigned to

         7      the case.      And I have referred several folks to the

         8      Drug Court program and placed some people on probation

         9      with a special condition that probation being that they

        10      enter and successfully complete the BRIDGE Court or Drug

        11      Court program.      Some people successfully complete it,

        12      and     some people do not.    I really don't know what the

        13      recidivism rate is for folks who graduate six months

        14      out,    or a year out,   or 18 months out, but in any

        15      event, based upon my individualized assessment of the

        16      3553(a) factors as I have cited,        and as applied to this

        17      case, I find that the motion to enter the BRIDGE Court

        18      program should be denied.      To the extent that the

        19      Defendant seeks a downward variance below the applicable

        20      advisory guideline range,      that motion is also denied

        21      based,    again,   on my assessment of the 3553(a) factors

        22      as applied to the facts of this case and this Defendant.

        23                 Such that having calculated and considered the

        24      advisory Sentencing Guidelines and having also

        25      considered the relevant statutory sentencing factors



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         1      contained in 18, United States Code, Section 3553(a),

         2      it is the judgment of the Court that the Defendant,

         3      Precias K. Freeman, is hereby committed to the custody

         4      of the Bureau of Prisons to be imprisoned for a term of

         5      210 months.       It appears the Defendant does not have the

         6      ability to pay a fine; therefore,         the fine is waived.

         7      The Defendant shall pay the mandatory 100 dollar Special

         8      Assessment fee.

         9               Upon release from imprisonment,          the Defendant

        10      shall be placed on supervised release for a term of

        11      three years.       Within 72 hours of release from custody

        12      of the Bureau of Prisons,       the Defendant shall report in

        13      person to the probation office in the District to which

        14      the Defendant is released.

        15               While on supervised release,         the Defendant

        16      shall comply with the mandatory and standard conditions

        17      of supervision outlined in 18 USC Section 3583(d).             The

        18      Defendant shall also comply with the following special

        19      condition for the reasons set forth in the presentence

        20      report, which has previously been adopted by the Court

        21      as the findings of fact for purposes of sentencing:                The

        22      Defendant shall submit to random drug testing as

        23      administered by the U.S. Probation Officer.               I will

        24      include a request in my Judgment Order that the

        25      Defendant be allowed to participate in any drug



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         1      treatment program available, including the RDAP Program,

         2      which is the Residential Drug Treatment Program offered

         3      through the Bureau of Prisons.

         4                 I will also state that I believe that I have

         5      calculated the advisory guidelines range properly and

         6      correctly addressed the points raised by the parties.

         7      If,     however,   it is later determined that I have not,

         8      I will state for the record that based upon the facts

         9      and circumstances of this case, I would have imposed

        10      this same sentence as an alternate variant sentence in

        11      light of all of the 18 USC Section 3553(a) factors,

        12      including the nature and circumstances of the offense,

        13      the history and characteristics of the Defendant, the

        14      need to promote respect for the law,          provide adequate

        15      deterrence to future criminal conduct,           protect the

        16      public from further crimes of the Defendant, and provide

        17      for just punishment and in light of the totality of the

        18      circumstances present in this case.

        19                 Ms. Freeman,   I also find that this sentence is

        20      sufficient but not greater than necessary to achieve the

        21      purposes of sentencing.

        22                 Ms. Freeman,   if you wanted to appeal your

        23      conviction or sentence,       you would have 14 days from the

        24      date of entry of the written Judgment Order in this case

        25      to file your Notice of Appeal.           If you could not afford



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         1      the filing fee, it would be waived and filed for you

         2      without cost by you.       And if you wanted a lawyer to

         3      represent you in any such appeal of your conviction or

         4      sentence and could not afford a lawyer,           you could ask

         5      that one be appointed for you without cost to you,          and

         6      one would be appointed without cost to you; do you

         7      understand all of that?

         8              THE DEFENDANT:    I think so.

         9              THE COURT:   Ma'am?

        10              THE DEFENDANT:    I think so.

        11              THE COURT:   Well,     let me go over it again to make

        12      sure.    If you wanted to appeal your conviction or

        13      sentence, you would have 14 days from the date of entry

        14      of the written Judgment Order in your case, that will

        15      probably be today or tomorrow when the Judgment Order is

        16      entered.     If you could not afford to pay the filing fee

        17      for your Notice of Appeal in writing to the clerk,          it

        18      would be waived, and you would not have to pay a filing

        19      fee.     If you wanted to appeal your conviction and/or

        20      sentence,    and you wanted a lawyer, but could not afford

        21      one,    you could ask that one be appointed for you

        22      without charge; do you understand that?

        23              THE DEFENDANT:    Yes.

        24              THE COURT:   Are there any substantive, or

        25      procedural errors, or omissions to be brought to the



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         1      attention of the Court, or anything else concerning

         2      sentencing in this case?

         3              MR. WATKINS:   No, sir.

         4              THE COURT:     Anything else,     Mr. Smith?

         5              MR. SMITH:   No, sir.

         6              THE COURT:     Anything from probation?

         7              PROBATION OFFICER:       No, sir.

         8              THE COURT:     Good luck to you.       We will take a

         9      short recess and then finish the next case.

        10         (Whereupon, at 4:57, the hearing concluded.)

        11                 *** END OF REQUESTED TRANSCRIPT ***

        12         * * * * * * * * * * * * * * * * * * * * * * * * * * *

        13                        CERTIFICATE OF REPORTER

        14              I certify that the foregoing is a correct

        15    transcript from my stenographic notes in the

        16    above-entitled matter.

        17

        18

        19

        20

        21          S/Debra R. Bull, RPR, CRR        April 24, 2019
                                                     Date
        22

        23

        24

        25



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   AO 245B (SCDC Rev.02/18) Judgment in a Criminal Case Sheet 1



                               UNITED STATES DISTRICT COURT
                                                  District of South Carolina

   UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE

            vs.
                                                                             Case Number: 7:17cr00079 (1)
   Precias K Freeman
                                                                             USM Number: 32077-171

                                                                             Donald Smith
                                                                             Defendant’s Attorney
   THE DEFENDANT:

   O     pleaded guilty to count(s) 1 .
   G     pleaded nolo contendere to count(s)                                                       which was accepted by the court.
   G     was found guilty on count(s) after a plea of not guilty.

   The defendant is adjudicated guilty of these offenses:

   Title & Section                     Nature of Offense                             Offense Ended                        Count
   21:846                              Please see indictment                         2/14/17                              1



            The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
   the Sentencing Reform Act of 1984.
   G        The defendant has been found not guilty on count(s)         .
   G        Count(s)   G are dismissed on the motion of the United States.
   G        Forfeiture provision is hereby dismissed on motion of the United States Attorney.



            It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
   residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
   ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
   circumstances.

                                                                       _______December 13, 2018________________________________
                                                                             Date of Imposition of Judgment

                                                                              S/ Timothy M Cain
                                                                              Signature of Judge

                                                                        ______________________________________________________
                                                                             Honorable Timothy M Cain, USDJ
                                                                             Name and Title of Judge
                                                                              Dcember 13, 2018
                                                                              Date
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  AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
           Sheet 2 - Imprisonment                                                                                 Page 2

  DEFENDANT: Precias K Freeman
  CASE NUMBER: 7:17cr00079

                                                               IMPRISONMENT

             The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
             a total term of TWO HUNDRED AND TEN (210) MONTHS.




  O          The court makes the following recommendations to the Bureau of Prisons:
             1.    It is recommended that the defendant participate in any substance abuse treatment including the
                   Residential Drug Abuse Program available and be allowed to enroll while incarcerated.




  O          The defendant is remanded to the custody of the United States Marshal.

  G          The defendant shall surrender to the United States Marshal for this district:
             G at                       G a.m. G p.m. on                                                          .
             G as notified by the United States Marshal.
  G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
  Prisons:
             G before 2 p.m. on                                      .
             G as notified by the United States Marshal.
             G as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
  I have executed this Judgment as follows:


  Defendant delivered on                                                          to
  at                                                                  , with a certified copy of this judgment.

                                                                                         UNITED STATES MARSHAL

                                                                          By
                                                                                       DEPUTY UNITED STATES MARSHAL
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  AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
         Sheet 3 - Supervised Release                                                                                 Page 3
  DEFENDANT: Precias K Freeman
  CASE NUMBER: 7:17cr00079

                                                          SUPERVISED RELEASE
  Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS.
  The defendant shall submit to random drug testing as administered by the U.S. Probation Officer.



                                                    MANDATORY CONDITIONS
  1.   You must not commit another federal, state or local crime.
  2.   You must not unlawfully possess a controlled substance.
  3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
       from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           9 The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
           substance abuse. (check if applicable)
  4.   9 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
  5.    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
  6.   9 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
  7.   9 You must participate in an approved program of domestic violence. (check if applicable)

  You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
  attached page.




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  AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
         Sheet 3A- Supervised Release                                                                                      Page 4
  DEFENDANT: Precias K Freeman
  CASE NUMBER: 7:17cr00079

                                       STANDARD CONDITIONS OF SUPERVISION
  As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
  imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
  by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
           your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
           different time frame.
  2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
           and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
           from the court or the probation officer.
  4.       You must answer truthfully the questions asked by your probation officer.
  5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
           living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
           change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
           probation officer within 72 hours of becoming aware of a change or expected change.
  6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
           officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation excuses you from
           doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
           excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or job
           responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at
           least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
           hours of becoming aware of a change or expected change.
  8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
           been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
           permission of the probation officer.
  9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
           that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
           nunchakus or tasers).
  11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
           without first getting the permission of the court.
  12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
           may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
           contact the person and confirm that you have notified the person about the risk.
  13.      You must follow the instructions of the probation officer related to the conditions of supervision.


  U.S. Probation Office Use Only
  A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
  judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
  Release Conditions, available at www.uscourts.gov.




  Defendant’s Signature _______________________________________________________ Date __________________________
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  AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties                                                                         Page 5
  DEFENDANT: Precias K Freeman
  CASE NUMBER: 7:17cr00079

                                             CRIMINAL MONETARY PENALTIES
  The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment            JVTA Assessment*        Fine                                 Restitution

  TOTALS             $ 100.00                                      $ N/A                                $ N/A


  G The determination of restitution is deferred until _____________. An Amended Judgment in a Criminal Case(AO245C) will be
       entered after such determination.

  G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

  Name of Payee                              Total Loss*                       Restitution Ordered                 Priority or Percentage




 G     Restitution amount ordered pursuant to plea agreement      $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 5 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           G        The interest requirement is waived for the G fine G restitution.
           G        The interest requirement for the G fine G restitution is modified as follows:

 *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
 on or after September 13, 1994, but before April 23, 1996.

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 AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
      Sheet 6 - Schedule of Payments                                                                                         Page 6
 DEFENDANT: Precias K Freeman
 CASE NUMBER: 7:17cr00079

                                                   SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
 A     O     Lump sum payment of $ 100.00 special assessment due immediately, balance due

         G not later than                                 , or

         G in accordance with G C, G D, or G E, or G F below: or
 B     G Payment to begin immediately (may be combined with G C, G D, or G F below); or
 C     G     Payment in equal              (weekly, monthly, quarterly) installments of $                     over a period of
             (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or


 D     G      Payment in equal monthly (e.g., weekly, monthly, quarterly) installments of_____, to commence          (e.g., 30 or 60 days)
             after release from imprisonment to a term of supervision; or in an amount o be adjusted throughout the defendant’s
             supervision, based on his ability to pay.
 E     G     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.
             The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
 F     G     Special instructions regarding the payment of criminal monetary penalties:


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 G     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 G     The defendant shall pay the cost of prosecution.
 G     The defendant shall pay the following court cost(s):
 G     The defendant shall forfeit the defendant’s interest in the following property to the United States:

 As directed in the Preliminary Order of Forfeiture, filed________and the said order is incorporated herein as part of this judgment.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.



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                                                                                                           1



                             UNITED STATES DISTRICT COURT
                                                       for the
                                            District of South Carolina


        UNITED STATES OF AMERICA             )                   C.A. No.: 7:17-CR-79
                                             )
        v.                                   )
                                             )
        PRECIAS K. FREEMAN                   )
        ____________________________________ )

             DEFENDANT’S PETITION FOR REHEARING; OR, IN THE ALTERNATIVE,
                            MOTION FOR RECONSIDERATION

               COMES NOW, pursuant to Federal Rule of Civil Procedure Rule 59(e), Defendant

        Precias K. Freeman who brings this Petition for Rehearing; or, in the alternative, Motion for

        Reconsideration, based on the following:

                                                INTRODUCTION

               The Presentence Investigation Report provided by the United States Probation Office

        states that the correct offense level for Precias K. Freeman was a level 36, a criminal history

        level of II, thus qualifying Precias K. Freeman for a sentencing guideline range of 210 to 240

        months. The Defendant, by and through counsel, respectfully disagreed with the calculations of

        the drugs based on the failure to provide but a mere pittance of evidence regarding the

        acquisition of opioids.

                Defendant further contended that Probation Agent Rogers had manufactured a failed

        drug test. Defendant provided the Court with information that illustrated Rogers stories

        regarding the alleged positive drug test differed. She alleged Defendant had failed for opioids

        and benzos. However, when she had spoken to the Forrester Center, she indicated to them that

        Defendant had tested positive for opioids alone. Of course, Defendant’s contention would have

        failed had the specimen Rogers forwarded to the testing facility not been mysteriously “leaking”.

        The testing facility would not test the tainted sample. Rogers did not attempt to take another


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                                                                                                             2


         sample upon learning of her unfortunate failure to close the container in which the sample was

         sent. In addition, Agent Rogers had provided information that the Freeman family had left the

         State of South Carolina when she attempted to make contact with her on September 7, 2017.

                “Your client's assertions about a drug test that the probation officer admits could not be

         confirmed by the lab (due to leakage during shipping), and any other statements disputed by the

         defendant would be a credibility determination that would be determined by the court, should

         you wish to pursue.” This response by the Court’s staff was an ominous statement which

         Defendant found to be an indication of the likelihood that she would get unbiased review of the

         facts. Based on the Court’s sentencing hearing, Defendant had reason to be concerned about the

         Court’s analysis of the objections previously made by her.

                At the sentencing hearing, Defendant chose to bypass a confrontational hearing with the

         government, given its inability to prosecute for several years. Agent versus Defendant in a

         matter of credibility. Based on Defendant’s penchant for eluding law enforcement on occasions

         in the past, the playing field was slanted against her. The United States’ bitterness due to this

         fact was thoroughly addressed by counsel. However, Defendant was well aware of a bias that

         may exist; and, she specifically provided the Court with objective evidence of her objections.

                Due to Defendant’s inability to come see her the previous day, Agent Rogers made a

         surprise visit to the apartment at which the Freeman family was staying. She requested

         Defendant provide a urine specimen. Upon testing the specimen, Agent Rogers told her that she

         had tested positive for opioids (by implication-she asked if Lortab was Ms. Freeman’s drug of

         choice, to which she acknowledged); and, tested positive for a second drug, which the agent

         refused to offer. The Agent then allegedly placed the specimen in the container used, and

         thoroughly and completely fastened the lid, for transport of same.




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                                                                                                             3


               Later that afternoon, Agent Rogers contacted the Forrester Center to alert them of her

        findings.

                       Client P O Bryanna Rogers called to report client submitted UDS positive for
                       opiates. According to Ms. Rogers, client reported she had taken 1 Lortab. Ms.
                       Rogers requested client file be kept open until the judge determines whether or
                       not she will return to treatment services or attend jail time followed by potential
                       inpatient care due to pregnancy.

        (Exhibit 1).

               Agent Rogers stated that Defendant admitted to taking 1 Lortab. Defendant referred to

        her drug of choice as “Norco”, not Lortab. In addition, if she had admitted to ingesting the

        “Lortab”, what would be the purpose of denying another drug’s use? Agent Rogers should have

        had her sign a statement admitting use of the Lortab. She did not. Once Agent Rogers learned

        of the fact that her collection and packaging of the urine specimen failed, she could have

        immediately performed another collection. She did not. There would be no way for the

        Defendant, or anyone else for that matter, to prove anything. The idea of getting beyond a

        reasonable doubt, or even a preponderance of evidence, was not met; in particular, with the

        absolute failure of the government to do anything substantiating the allegations.

               The government has sought to lock up Defendant; and, throw away the key for some

        time. Upon relieving prior counsel, the government sought, and found, two more points to add to

        her offense level to bring it to 36. The base level of 34 is speculative at best. The government

        could not prove much of what was calculated. It was incumbent upon them to prove their case.

        In actuality, Defendant pled guilty and gave them everything they knew. Interestingly, despite

        the fact that Defendant not only pled guilty, but allegedly gave the information necessary to

        come to the conclusion that she was worthy of a base level of 34, they had the audacity to say

        that she “has not clearly demonstrated acceptance of responsibility for the offense”. Defendant




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         is not sure what more she could have done regarding her recognition of her fault, and the manner

         in which she performed the illegal activity.

                The government had several ways in which to illustrate the failed drug test in September

         of 2017, was valid. They did nothing. They are simply relying on the Court’s belief in the entity

         which is very simply an arm of the court. While it is understood integrity is associated with the

         probation office, the fact remains that human beings maintain the office; and, therefore, are

         capable of mistakes. In the matter at hand, a criminal case, the government should not benefit

         from its own lack of due diligence.

                Most important of the Government’s failures is that pertaining to the pill count, which in

         turn became her base level for purposes of sentencing. The government’s offering as it relates to

         the evidence supporting Defendant’s base level offense was negligible. This understatement can

         only be seen in this matter with the actual numbers.

                The following chart was created to illustrate what evidence the government provided. It

         is difficult to comprehend the dearth of evidence regarding the acquisition of illegal drugs, when

         there has been a couple of years in which to assemble the evidence. The United States speaks of

         all of the facts and circumstances discussed by Freeman. It did little or nothing to confirm what

         most assuredly was taken out of context or embellished. It did not even attempt to provide the

         Court with this abundance of evidence. Questions of whether the evidence exists; or, whether

         the government used due diligence in attempting to prove its case, are raised. According to the

         government’s calculations, Defendant would have filled 2,184 prescriptions. The following is

         what was offered in discovery.

         October 2014/31 days

         Dropped off at Pharmacy                         Picked up at Pharmacy
         10/8/2014=1                                     10/16/2014=1


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                                                                                                           5


         10/10/2014=1                                10/18/2014=1
         10/14/2014-1                                10/20/2014=1
         10/15/2014=2                                10/30/2014=1
         10/20/2014=1
         10/22/2014=1
         10/30/2014=2
         Total dropped off for the month of October 2014 was 9 prescriptions of 120 pills each which
         equals 1,080 pills.
         Total picked up from pharmacy for the month of October 2014 was 4 prescriptions.
         Of the 31 days in October, no prescriptions were presented or picked up on the following dates:
         1,2,3,4,5,6,7,9,11,12,13,17,19,21,23,24,25,26,27,28 & 29
         21 days of no evidence of activity
         November 2014/30 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         11/4/2014=1                                 11/7/2014=2
         11/7/2014=1                                 11/23/2014=1
         11/20/2014=2                                11/25/2014=1
         11/25/2014=4
         Total dropped off for the month of November 2014 was 8 prescriptions of 120 pills each which
         equals 960 pills.
         Total picked up from pharmacy for the month of November 2014 was 4 prescriptions.
         Of the 30 days in November, no prescriptions were presented or picked up on the following
         dates:
         1,2,3,5,6,8,9,10,11,12,13,14,15,16,17,18,19,21,22,24,26,27,28,29 & 30
         26 days of no evidence of activity
         December 2014/31 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         12/1/2014=5                                 12/1/2014=1
         12/4/2014=2                                 12/18/2014=1



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                                                                                                           6


         12/17/2014=1                                12/19/2014=1
         12/30/2014=14
         Total dropped off for the month of December 2014 was 22 prescriptions of 120 pills each which
         equals 2,640 pills.
         Total picked up from pharmacy for the month of December 2014 was 3 prescriptions
         Of the 31 days in December, no prescriptions were presented or picked up on the following
         dates:
         2,3,5,6,7,8,9,10,11,12,13,14,15,16,20,21,22,23,24,25,26,27,28,29,31
         25 days where there is no evidence of activity
         2015
         January 2015/31 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         1/26/2015=2                                 1/2/2015=1
         1/28/2015=1                                 1/4/2015=1
         1/29/2015=4                                 1/10/2015=1
                                                     1/11/2015=1
                                                     1/15/2015=1
                                                     1/16/2015=1
                                                     1/17/2015=1
                                                     1/18/2015=1
                                                     1/21/2015=3
                                                     1/23/2015=1
                                                     1/27/2015=1
                                                     1/28/2015=1
         Total dropped off for the month of January 2015 was 7 prescriptions of 120 pills each which
         equals 840 pills.
         Total picked up from pharmacy for the month of January 2015 was 14 prescriptions
         Of the 31 days in January, no prescriptions were presented or picked up on the following dates:
         1,3,5,6,7,8,9,12,13,14,19,20,22,24,25,30 & 31



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         17 days where there is no evidence of activity
         February 2015/28 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         2/17/2015=2                                 2/3/2015=1
         2/24/2015=2                                 2/4/2015=1
         2/27/2015=4                                 2/24/2015=2
                                                     2/25/2015=1
                                                     2/28/2015=3
         Total dropped off for the month of February 2015 was 8 prescriptions of 120 pills each which
         equals 960 pills.
         Total picked up from pharmacy for the month of February 2015 was 8 prescriptions
         Of the 28 days in February, no prescriptions were presented or picked up on the following dates:
         1,2,5,6,7,8,9,10,11,12,13,14,15,16,18,19,20,21,22,23 & 26
         21 days where there is no evidence of activity
         March 2015/31 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         3/3/2015=2                                  3/7/2015=1
         3/10/2015=1                                 3/9/2015=1
         3/11/2015=2                                 3/15/2015=2
         3/20/2015=3                                 3/21/2015=2
         3/23/2015=2                                 3/24/2015=1
         3/30/2015=2                                 3/26/2015=1
                                                     3/31/2015=2
         Total dropped off for the month of March 2015 was 12 prescriptions 10 were for 120 each and 2
         were for 60 each which equals 1,320 pills.
         Total picked up from pharmacy for the month of March 2015 was 10 prescriptions
         Of the 31 days in March, no prescriptions were presented or picked up on the following dates:
         1,2,4,5,6,8,12,13,14,16,17,18,19,22,25,27,28 & 29
         18 days where there is no evidence of activity


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         April 2015/30 days
         Dropped off at Pharmacy                      Picked up at Pharmacy
         4/1/2015=1                                   4/3/2015=1
         4/4/2015=1                                   4/5/2015=2
         4/6/2015=3                                   4/6/2015=2
         4/10/2015=2                                  4/8/2015=1
         4/13/2015=1                                  4/10/2015=1
         4/22/2015=2                                  4/12/2015=1
                                                      4/18/2015=1
         Total dropped off for the month of April 2015 was 10 prescriptions of 120 pills each which
         equals 1,200 pills.
         Total picked up from pharmacy for the month of April 2015 was 9 prescriptions
         Of the 30 days in April, no prescriptions were presented or picked up on the following dates:
         2,7,9,11,14,15,16,17,19,20,21,23,24,25,26,27,28,29 & 30
         19 days where there is no evidence of activity
         May 2015/31 days
         Dropped off at Pharmacy                      Picked up at Pharmacy
         5/14/2015=1
         Of the 31 days in May, no prescriptions were presented or picked up on the following dates:
         1,2,3,4,5,6,7,8,9,10,11,12,13,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29,30 & 31
         30 days where there is no evidence of activity




         June 2015/30 days
         30 days where there is no evidence of activity
         July 2015/31 days
         Dropped off at Pharmacy                      Picked up at Pharmacy
         7/21/2015=1                                  7/22/2015=1
         7/31/2015=3                                  7/31/2015=1


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         Total dropped off for the month of July 2015 was 4 prescriptions of 120 pills each which equals
         480 pills.
         Total picked up from pharmacy for the month of July 2015 was 2 prescriptions
         Of the 31 days in July, no prescriptions were presented or picked up on the following dates:
         1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17,18,19,20,23,24,25,26,27,28,29 & 30
         28 days where there is no evidence of activity
         August 2015/31 days
         Dropped off at Pharmacy                      Picked up at Pharmacy
         8/14/2015=1
         Total dropped off for the month of August 2015 was 1 prescription of 120 pills each which
         equals 120 pills.
         Total picked up from pharmacy for the month of August 2015 was 0 prescriptions
         Of the 31 days in August, no prescriptions were presented or picked up on the following dates:
         1,2,3,4,5,6,7,8,9,10,11,12,13,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29,30 & 31
         30 days where there is no evidence of activity
         September 2015/30 days
         30 days where there is no evidence of activity
         October 2015/31 days
         31 days where there is no evidence of activity




         November 2015/30 days
         Dropped off at Pharmacy                      Picked up at Pharmacy
         11/11/2015=2                                 11/11/2015=2
         11/13/2015=2
         Total dropped off for the month of November 2015 was 4 prescriptions of 120 pills each which
         equals 480 pills.



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                                                                                                       10


         Total picked up from pharmacy for the month of November 2015 was 2 prescriptions
         Of the 30 days in November, no prescriptions were presented or picked up on the following
         dates:
         1,2,3,4,5,6,7,8,9,10,12,14,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29 & 30
         29 days where there is no evidence of activity
         December 2015/31 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         12/16/15=1
         Total dropped off for the month of December 2015 was 1 prescription of 120 pills each which
         equals 120 pills.
         Total picked up from pharmacy for the month of December 2015 was 0 prescriptions
         Of the 31 days in December, no prescriptions were presented or picked up on the following
         dates:
         1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,17,18,19,20,21,22,23,24,25,26,27,28,29,30 & 31
         30 days where there is no evidence of activity
         2016
         January 2016/31 days
         31 days where there is no evidence of activity
         February 2016/28 days
         28 days where there is no evidence of activity
         March 2016/31 days
         31 days where there is no evidence of activity
         April 2016/30 days
         30 days where there is no evidence of activity
         May 2016/31 days
         31 days where there is no evidence of activity
         June 2016/30 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         6/17/2016=2                                 6/22/2016=1



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                                                                                                          11


         Total dropped off for the month of June 2016 was 2 prescriptions of 120 pills each which equals
         240 pills.
         Total picked up from pharmacy for the month of June 2016 was 1 prescription
         Of the 30 days in June, no prescriptions were presented or picked up on the following dates:
         1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,18,19,20,21,23,24,25,26,27,28,29,30 & 31
         29 days where there is no evidence of activity
         July 2016/31 days
         31 days where there is no evidence of activity
         August 2016/31 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         8/1/2016=3                                  8/3/2016=1
         8/23/2016=4                                 8/5/2016=1
         8/31/2016=1
         Total dropped off for the month of August 2016 was 8 prescriptions of 120 pills each which
         equals 960 pills.
         Total picked up from pharmacy for the month of August 2016 was 2 prescriptions
         Of the 31 days in August, no prescriptions were presented or picked up on the following dates:
         2,4,6,7,8,9,10,11,12,13,14,15,16,17,18,19,20,21,22,24,25,26,27,28,29 & 30
         26 days where there is no evidence of activity
         September 2016/30 days
         Dropped off at Pharmacy                     Picked up at Pharmacy
         9/1/2016=1
         9/13/2016=2
         Total dropped off for the month of September 2016 was 3 prescriptions of 120 pills each which
         equals 360 pills.
         Total picked up from pharmacy for the month of September 2016 was 0 prescriptions
         Of the 30 days in September, no prescriptions were presented or picked up on the following
         dates:
         2,3,4,5,6,7,8,9,10,11,12,14,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29 & 30
         28 days where there is no evidence of activity


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        650 of the 730 days where there is no activity
                Defendant further objected to this paragraph because the calculated weight of the

        hydrocodone or Norco that the Government is alleging Defendant had illegally obtained is

        1,752,000 mg. or 1,752 grams. When converted to the marijuana equivalent, pursuant to USSG

        § 2D1.1(D), the total weight would be 11,738,400 grams or 11,728.4 kilograms. Pursuant to

        USSG § 2D1.1(c)(3) this makes Defendant’s base offense level of 34. Based on the data

        provided by the Government, Defendant obtained 10,260 pills at 10mg/pill, which equates to

        102,600 mg or 102.6 grams, which when multiplied by 6,700 grams of marijuana, equals

        687,420 grams or 6,874.2 kilograms. Since this is less than 10,000 kilograms, that reduces her

        base offense level of 32.

                As mentioned previously, Defendant decided to forgo the arguments relating to her

        ongoing objections. That decision was based on what appeared to be the quintessential case for

        the Bridge Program. The undersigned was alerted that Agent Shannon Webber was the Court’s

        right-hand man as it related to the Bridge Program. (Exhibit 1). Correspondence was forwarded

        to him in attempts to recommend Ms. Freeman to the program which clearly had those like her in

        mind.

                Defendant filed a motion in an effort to be considered for the Bridge Program. The

        motion set out her undeniable addiction, the third-party identification of everything associated

        with her addiction, statements by Judge Hendricks justifying the program for Defendant.

        (Docket No. 70.3 and 4). Counsel was of the belief that pursuant to the Bridge Program mantra,

        the Court would send the matter to the aforementioned Mr. Webber for the purpose of reviewing

        Defendant’s qualifications. However, the Court did not offer that courtesy.

                The motion regarding the Bridge Program was very clear in its intent. The undersigned

        spoke to the Court’s assistant on December 5th. The conversation related to what the


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        undersigned had filed; and, whether the filing of the day prior failed in any manner. Counsel

        was assured that any error would be relayed. No signification came from the Court. Based on

        the fact that Mr. Webber did not contact counsel, it was believed that the Court would make a

        finding on December 13th that, at the very least, Mr. Webber should see if Ms. Freeman qualified

        for the program. Instead, the Court went immediately into sentencing.

                Ms. Freeman discussed at length her difficulties with Norcos. She really didn’t need to

        list them. Her legal trouble with prescriptions has been a constant point of contention for the last

        fifteen (15) years. When she was hospitalized when she was caught in October of 2016, she had

        a high sensitivity of opiate in her positive urine test. (Exhibit 2). When she was admitted to the

        Forrester Center, the independent counselors found that in every category she was at the most

        vulnerable of people facing addiction. (Exhibit 3).

                It was seemingly undeniable Defendant has a severe addiction. Regardless of how clear

        and unequivocal the addiction, the government said that they were unaware of same. It is their

        contention that Defendant only spoke of selling drugs when they discussed them with her. It

        should be noted the interview of which they speak occurred at the Hillcrest Hospital (see Exhibit

        2). In that interview, she was high. Did that stop the agents from pressing on until she had a

        clear head? They certainly did not. They had her in a vulnerable state; and, they took advantage.

                This Court asks defendants on every occasion they speak whether they are under the

        influence of any mind-altering substance. How much would you wager the agents failed to do

        so? More importantly, do you think they recorded the interview, so it would be memorialized for

        situations such as this? Of course, not. They appreciate when it’s a question of credibility.

        They never lose those “50/50 balls”. Then again, they aren’t 50/50 jump balls. They are 100/00

        certainties.




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                  This Court held a sentencing hearing in this matter on Thursday, December 13, 2018. At

        that time counsel for Defendant withdrew her objections to the Presentencing Report offered by

        the Government. Defendant believed that this Court had reviewed her Motion

                  This Court did not review Ms. Freeman’s plea for the Bridge Program. This fact was

        apparent when the Court had to clarify whether she was claiming to take 6 to 8 “Lortabs”

        per day, or 60 to 80. Since this was part of the justification for the Bridge Program request,

        it was clearly denoted in her brief.

                                                   ARGUMENT

                  The Court heard enough to find that Defendant has never been able to get the

        necessary treatment. It appears the Court is unable to get past the fact addiction is not

        something anyone can turn on; or, turn off. The Court spoke the words regarding the

        “reasons” it had to support the 17 and 1/2 year sentence that was about to be handed down.

        Ironically, those reasons are the same used at every sentencing: Defendant has introduced a

        great hardship on society, opioids have taken people’s lives, filled our jails, taxed our

        depleted medical resources, etc. That is exactly why she was there to be sentenced by the

        Court. The Court summarily dismissed the facts; as Defendant has been summarily

        dismissed in this matter. She deserves to spend 20% of her life in prison-because she is

        sick.

                  This Court previously was put to task regarding another individual who thought he

        was deserving of the Bridge Program. In the United States v. Larecius Mattison, 16-4656

        (4th Cir. 2017), the Defendant also alleged the Court failed to give proper weight to his

        request for the Bridge Program:

                         Mattison also contends that the district court did not fully and accurately address




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                      his request to be placed in a state drug court known as the Bridge Program, under
                      which the defendant participates in a period of drug treatment prior to sentencing.
                      Whether to approve an applicant’s admission into the program depends upon a
                      variety of factors, including a verified history of current substance abuse or
                      addiction, the nature of the current charge, the defendant’s criminal history, and
                      his dangerousness to the community.

        The Court was affirmed by the appellate tribunal based on the reasons offered:

                      The district court gave several reasons for denying Mattison’s request for
                      placement in the Bridge Program. Among other things, the court noted that there
                      was evidence of drug use but not drug addiction and that the present offense was
                      serious and involved possession of a firearm. This explanation sufficiently
                      addressed Mattison’s request for placement in the program.

               Precias Freeman is a drug addict. She has independent proof of this fact. The Court

        recognized this fact when opining that she has not had the necessary treatment to combat her

        illness. She never had a weapon. She didn’t steal. She did not intentionally hurt anyone.

        All of her criminal history is directly related to her addiction. The spoke of how Precias

        has hurt the community, and society at large, with her distribution of opioids. However, the

        Court then dismissed the request for the Bridge Program and sentenced her to the 210

        months necessary to get rid of her disease. This sentence is the definition of arbitrary and

        capricious.

               This Court did not give any reasons for the denial. This Court didn’t even ask Agent

        Webber to look into whether she as a verifiable candidate. Similarly, Agent Rogers didn’t

        have anything to support the fact that Defendant failed a drug test, let alone for two

        substances.

                                               CONCLUSION

               Precias Freeman didn’t grow up wanting to be a drug addict. This Court

        acknowledged that she had a problem. The Court’s solution to this problem was to sentence

        her to 17 and ½ years in prison. The Court abused its discretion in this matter; and,



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                                                                                                     16


         Defendant pleads for reconsideration of the findings in the hearing held on December 13,

         2018.




                                                            s/Donald L. Smith_____________
                                                            Donald L. Smith, (Fed Id.#06626)
                                                            Attorney for Defendant Precias Freeman
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         Anderson, South Carolina
         December 24, 2018




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                           UNITED STATES DISTRICT COURT
                                                     for the
                                          District of South Carolina


      UNITED STATES OF AMERICA             )                   C.A. No.: 7:17-CR-79
                                           )
      v.                                   )
                                           )
      PRECIAS K. FREEMAN                   )
      ____________________________________ )

           DEFENDANT’S PETITION FOR REHEARING; OR, IN THE ALTERNATIVE,
                    AMENDED MOTION FOR RECONSIDERATION

             COMES NOW, pursuant to Federal Rule of Civil Procedure Rule 59(e), Defendant

      Precias K. Freeman who brings this Petition for Rehearing; or, in the alternative, Motion for

      Reconsideration, based on the following:

                                              INTRODUCTION

             The Presentence Investigation Report provided by the United States Probation Office

      states that the correct offense level for Precias K. Freeman was a level 36, a criminal history

      level of II, thus qualifying Precias K. Freeman for a sentencing guideline range of 210 to 240

      months. The Defendant, by and through counsel, respectfully disagreed with the calculations of

      the drugs based on the failure to provide but a mere pittance of evidence regarding the

      acquisition of opioids.

              Defendant further contended that Probation Agent Rogers had manufactured a failed

      drug test. Defendant provided the Court with information that illustrated Rogers stories

      regarding the alleged positive drug test differed. She alleged Defendant had failed for opioids

      and benzos. However, when she had spoken to the Forrester Center, she indicated to them that

      Defendant had tested positive for opioids alone. Of course, Defendant’s contention would have

      failed had the specimen Rogers forwarded to the testing facility not been mysteriously “leaking”.

      The testing facility would not test the tainted sample. Rogers did not attempt to take another

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                                                                                                           2


       sample upon learning of her unfortunate failure to close the container in which the sample was

       sent. In addition, Agent Rogers had provided information that the Freeman family had left the

       State of South Carolina when she attempted to make contact with her on September 7, 2017.

              “Your client's assertions about a drug test that the probation officer admits could not be

       confirmed by the lab (due to leakage during shipping), and any other statements disputed by the

       defendant would be a credibility determination that would be determined by the court, should

       you wish to pursue.” This response by the Court’s staff was an ominous statement which

       Defendant found to be an indication of the likelihood that she would get unbiased review of the

       facts. Based on the Court’s sentencing hearing, Defendant had reason to be concerned about the

       Court’s analysis of the objections previously made by her.

              At the sentencing hearing, Defendant chose to bypass a confrontational hearing with the

       government, given its inability to prosecute for several years. Agent versus Defendant in a

       matter of credibility. Based on Defendant’s penchant for eluding law enforcement on occasions

       in the past, the playing field was slanted against her. The United States’ bitterness due to this

       fact was thoroughly addressed by counsel. However, Defendant was well aware of a bias that

       may exist; and, she specifically provided the Court with objective evidence of her objections.

              Due to Defendant’s inability to come see her the previous day, Agent Rogers made a

       surprise visit to the apartment at which the Freeman family was staying. She requested

       Defendant provide a urine specimen. Upon testing the specimen, Agent Rogers told her that she

       had tested positive for opioids (by implication-she asked if Lortab was Ms. Freeman’s drug of

       choice, to which she acknowledged); and, tested positive for a second drug, which the agent

       refused to offer. The Agent then allegedly placed the specimen in the container used, and

       thoroughly and completely fastened the lid, for transport of same.

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             Later that afternoon, Agent Rogers contacted the Forrester Center to alert them of her

      findings.

                     Client P O Bryanna Rogers called to report client submitted UDS positive for
                     opiates. According to Ms. Rogers, client reported she had taken 1 Lortab. Ms.
                     Rogers requested client file be kept open until the judge determines whether or
                     not she will return to treatment services or attend jail time followed by potential
                     inpatient care due to pregnancy.

      (Exhibit 1).

             Agent Rogers stated that Defendant admitted to taking 1 Lortab. Defendant referred to

      her drug of choice as “Norco”, not Lortab. In addition, if she had admitted to ingesting the

      “Lortab”, what would be the purpose of denying another drug’s use? Agent Rogers should have

      had her sign a statement admitting use of the Lortab. She did not. Once Agent Rogers learned

      of the fact that her collection and packaging of the urine specimen failed, she could have

      immediately performed another collection. She did not. There would be no way for the

      Defendant, or anyone else for that matter, to prove anything. The idea of getting beyond a

      reasonable doubt, or even a preponderance of evidence, was not met; in particular, with the

      absolute failure of the government to do anything substantiating the allegations.

             The government has sought to lock up Defendant; and, throw away the key for some

      time. Upon relieving prior counsel, the government sought, and found, two more points to add to

      her offense level to bring it to 36. The base level of 34 is speculative at best. The government

      could not prove much of what was calculated. It was incumbent upon them to prove their case.

      In actuality, Defendant pled guilty and gave them everything they knew. Interestingly, despite

      the fact that Defendant not only pled guilty, but allegedly gave the information necessary to

      come to the conclusion that she was worthy of a base level of 34, they had the audacity to say

      that she “has not clearly demonstrated acceptance of responsibility for the offense”. Defendant

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      is not sure what more she could have done regarding her recognition of her fault, and the manner

      in which she performed the illegal activity.

             The government had several ways in which to illustrate the failed drug test in September

      of 2017, was valid. They did nothing. They are relying on the Court’s belief in the entity which

      is an arm of the court. While it is understood integrity is associated with the probation office, the

      fact remains that human beings maintain the office; and, therefore, are capable of mistakes. In

      the matter at hand, a criminal case, the government should not benefit from its own lack of due

      diligence.

             Most important of the Government’s failures is that pertaining to the pill count, which in

      turn became her base level for purposes of sentencing. The government’s offering as it relates to

      the evidence supporting Defendant’s base level offense was negligible. This understatement can

      only be seen in this matter with the actual numbers.

             The following chart was created to illustrate what evidence the government provided. It

      is difficult to comprehend the dearth of evidence regarding the acquisition of illegal drugs, when

      there has been a couple of years in which to assemble the evidence. The United States speaks of

      all of the facts and circumstances discussed by Freeman. It did little or nothing to confirm what

      most assuredly was taken out of context or embellished. It did not even attempt to provide the

      Court with this abundance of evidence. Questions of whether the evidence exists; or, whether

      the government used due diligence in attempting to prove its case, are raised. According to the

      government’s calculations, Defendant would have filled 2,184 prescriptions. The following is

      what was offered in discovery.

      October 2014/31 days

      Dropped off at Pharmacy                        Picked up at Pharmacy
      10/8/2014=1                                    10/16/2014=1
                                                       -170-
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       10/10/2014=1                                10/18/2014=1
       10/14/2014-1                                10/20/2014=1
       10/15/2014=2                                10/30/2014=1
       10/20/2014=1
       10/22/2014=1
       10/30/2014=2
       Total dropped off for the month of October 2014 was 9 prescriptions of 120 pills each which
       equals 1,080 pills.
       Total picked up from pharmacy for the month of October 2014 was 4 prescriptions.
       Of the 31 days in October, no prescriptions were presented or picked up on the following dates:
       1,2,3,4,5,6,7,9,11,12,13,17,19,21,23,24,25,26,27,28 & 29
       21 days of no evidence of activity
       November 2014/30 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       11/4/2014=1                                 11/7/2014=2
       11/7/2014=1                                 11/23/2014=1
       11/20/2014=2                                11/25/2014=1
       11/25/2014=4
       Total dropped off for the month of November 2014 was 8 prescriptions of 120 pills each which
       equals 960 pills.
       Total picked up from pharmacy for the month of November 2014 was 4 prescriptions.
       Of the 30 days in November, no prescriptions were presented or picked up on the following
       dates:
       1,2,3,5,6,8,9,10,11,12,13,14,15,16,17,18,19,21,22,24,26,27,28,29 & 30
       26 days of no evidence of activity
       December 2014/31 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       12/1/2014=5                                 12/1/2014=1
       12/4/2014=2                                 12/18/2014=1

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       12/17/2014=1                                12/19/2014=1
       12/30/2014=14
       Total dropped off for the month of December 2014 was 22 prescriptions of 120 pills each which
       equals 2,640 pills.
       Total picked up from pharmacy for the month of December 2014 was 3 prescriptions
       Of the 31 days in December, no prescriptions were presented or picked up on the following
       dates:
       2,3,5,6,7,8,9,10,11,12,13,14,15,16,20,21,22,23,24,25,26,27,28,29,31
       25 days where there is no evidence of activity
       2015
       January 2015/31 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       1/26/2015=2                                 1/2/2015=1
       1/28/2015=1                                 1/4/2015=1
       1/29/2015=4                                 1/10/2015=1
                                                   1/11/2015=1
                                                   1/15/2015=1
                                                   1/16/2015=1
                                                   1/17/2015=1
                                                   1/18/2015=1
                                                   1/21/2015=3
                                                   1/23/2015=1
                                                   1/27/2015=1
                                                   1/28/2015=1
       Total dropped off for the month of January 2015 was 7 prescriptions of 120 pills each which
       equals 840 pills.
       Total picked up from pharmacy for the month of January 2015 was 14 prescriptions
       Of the 31 days in January, no prescriptions were presented or picked up on the following dates:
       1,3,5,6,7,8,9,12,13,14,19,20,22,24,25,30 & 31

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       17 days where there is no evidence of activity
       February 2015/28 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       2/17/2015=2                                 2/3/2015=1
       2/24/2015=2                                 2/4/2015=1
       2/27/2015=4                                 2/24/2015=2
                                                   2/25/2015=1
                                                   2/28/2015=3
       Total dropped off for the month of February 2015 was 8 prescriptions of 120 pills each which
       equals 960 pills.
       Total picked up from pharmacy for the month of February 2015 was 8 prescriptions
       Of the 28 days in February, no prescriptions were presented or picked up on the following dates:
       1,2,5,6,7,8,9,10,11,12,13,14,15,16,18,19,20,21,22,23 & 26
       21 days where there is no evidence of activity
       March 2015/31 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       3/3/2015=2                                  3/7/2015=1
       3/10/2015=1                                 3/9/2015=1
       3/11/2015=2                                 3/15/2015=2
       3/20/2015=3                                 3/21/2015=2
       3/23/2015=2                                 3/24/2015=1
       3/30/2015=2                                 3/26/2015=1
                                                   3/31/2015=2
       Total dropped off for the month of March 2015 was 12 prescriptions 10 were for 120 each and 2
       were for 60 each which equals 1,320 pills.
       Total picked up from pharmacy for the month of March 2015 was 10 prescriptions
       Of the 31 days in March, no prescriptions were presented or picked up on the following dates:
       1,2,4,5,6,8,12,13,14,16,17,18,19,22,25,27,28 & 29
       18 days where there is no evidence of activity
                                                        -173-
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       April 2015/30 days
       Dropped off at Pharmacy                      Picked up at Pharmacy
       4/1/2015=1                                   4/3/2015=1
       4/4/2015=1                                   4/5/2015=2
       4/6/2015=3                                   4/6/2015=2
       4/10/2015=2                                  4/8/2015=1
       4/13/2015=1                                  4/10/2015=1
       4/22/2015=2                                  4/12/2015=1
                                                    4/18/2015=1
       Total dropped off for the month of April 2015 was 10 prescriptions of 120 pills each which
       equals 1,200 pills.
       Total picked up from pharmacy for the month of April 2015 was 9 prescriptions
       Of the 30 days in April, no prescriptions were presented or picked up on the following dates:
       2,7,9,11,14,15,16,17,19,20,21,23,24,25,26,27,28,29 & 30
       19 days where there is no evidence of activity
       May 2015/31 days
       Dropped off at Pharmacy                      Picked up at Pharmacy
       5/14/2015=1
       Of the 31 days in May, no prescriptions were presented or picked up on the following dates:
       1,2,3,4,5,6,7,8,9,10,11,12,13,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29,30 & 31
       30 days where there is no evidence of activity
       June 2015/30 days
       30 days where there is no evidence of activity
       July 2015/31 days
       Dropped off at Pharmacy                      Picked up at Pharmacy
       7/21/2015=1                                  7/22/2015=1
       7/31/2015=3                                  7/31/2015=1
       Total dropped off for the month of July 2015 was 4 prescriptions of 120 pills each which equals
       480 pills.
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       Total picked up from pharmacy for the month of July 2015 was 2 prescriptions
       Of the 31 days in July, no prescriptions were presented or picked up on the following dates:
       1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17,18,19,20,23,24,25,26,27,28,29 & 30
       28 days where there is no evidence of activity
       August 2015/31 days
       Dropped off at Pharmacy                      Picked up at Pharmacy
       8/14/2015=1
       Total dropped off for the month of August 2015 was 1 prescription of 120 pills each which
       equals 120 pills.
       Total picked up from pharmacy for the month of August 2015 was 0 prescriptions
       Of the 31 days in August, no prescriptions were presented or picked up on the following dates:
       1,2,3,4,5,6,7,8,9,10,11,12,13,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29,30 & 31
       30 days where there is no evidence of activity
       September 2015/30 days
       30 days where there is no evidence of activity
       October 2015/31 days
       31 days where there is no evidence of activity
       November 2015/30 days
       Dropped off at Pharmacy                      Picked up at Pharmacy
       11/11/2015=2                                 11/11/2015=2
       11/13/2015=2
       Total dropped off for the month of November 2015 was 4 prescriptions of 120 pills each which
       equals 480 pills.
       Total picked up from pharmacy for the month of November 2015 was 2 prescriptions
       Of the 30 days in November, no prescriptions were presented or picked up on the following
       dates:
       1,2,3,4,5,6,7,8,9,10,12,14,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29 & 30
       29 days where there is no evidence of activity
       December 2015/31 days

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                                                                                                      10


       Dropped off at Pharmacy                     Picked up at Pharmacy
       12/16/15=1
       Total dropped off for the month of December 2015 was 1 prescription of 120 pills each which
       equals 120 pills.
       Total picked up from pharmacy for the month of December 2015 was 0 prescriptions
       Of the 31 days in December, no prescriptions were presented or picked up on the following
       dates:
       1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,17,18,19,20,21,22,23,24,25,26,27,28,29,30 & 31
       30 days where there is no evidence of activity
       2016
       January 2016/31 days
       31 days where there is no evidence of activity
       February 2016/28 days
       28 days where there is no evidence of activity
       March 2016/31 days
       31 days where there is no evidence of activity
       April 2016/30 days
       30 days where there is no evidence of activity
       May 2016/31 days
       31 days where there is no evidence of activity
       June 2016/30 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       6/17/2016=2                                 6/22/2016=1
       Total dropped off for the month of June 2016 was 2 prescriptions of 120 pills each which equals
       240 pills.
       Total picked up from pharmacy for the month of June 2016 was 1 prescription
       Of the 30 days in June, no prescriptions were presented or picked up on the following dates:
       1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,18,19,20,21,23,24,25,26,27,28,29,30 & 31
       29 days where there is no evidence of activity

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       July 2016/31 days
       31 days where there is no evidence of activity
       August 2016/31 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       8/1/2016=3                                  8/3/2016=1
       8/23/2016=4                                 8/5/2016=1
       8/31/2016=1
       Total dropped off for the month of August 2016 was 8 prescriptions of 120 pills each which
       equals 960 pills.
       Total picked up from pharmacy for the month of August 2016 was 2 prescriptions
       Of the 31 days in August, no prescriptions were presented or picked up on the following dates:
       2,4,6,7,8,9,10,11,12,13,14,15,16,17,18,19,20,21,22,24,25,26,27,28,29 & 30
       26 days where there is no evidence of activity
       September 2016/30 days
       Dropped off at Pharmacy                     Picked up at Pharmacy
       9/1/2016=1
       9/13/2016=2
       Total dropped off for the month of September 2016 was 3 prescriptions of 120 pills each which
       equals 360 pills.
       Total picked up from pharmacy for the month of September 2016 was 0 prescriptions
       Of the 30 days in September, no prescriptions were presented or picked up on the following
       dates:
       2,3,4,5,6,7,8,9,10,11,12,14,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29 & 30
       28 days where there is no evidence of activity
       650 of the 730 days where there is no activity
              Defendant further objected to this paragraph because the calculated weight of the

       hydrocodone or Norco that the Government is alleging Defendant had illegally obtained is

       1,752,000 mg. or 1,752 grams. When converted to the marijuana equivalent, pursuant to USSG

       § 2D1.1(D), the total weight would be 11,738,400 grams or 11,728.4 kilograms. Pursuant to
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      USSG § 2D1.1(c)(3) this makes Defendant’s base offense level of 34. Based on the data

      provided by the Government, Defendant obtained 10,260 pills at 10mg/pill, which equates to

      102,600 mg or 102.6 grams, which when multiplied by 6,700 grams of marijuana, equals

      687,420 grams or 6,874.2 kilograms. Since this is less than 10,000 kilograms, that reduces her

      base offense level of 32.

              As mentioned previously, Defendant decided to forgo the arguments relating to her

      ongoing objections. That decision was based on what appeared to be the quintessential case for

      the Bridge Program. The undersigned was alerted that Agent Shannon Webber was the Court’s

      right-hand man as it related to the Bridge Program. (Exhibit 2). Correspondence was forwarded

      to him in attempts to recommend Ms. Freeman to the program which clearly had those like her in

      mind.

              Defendant filed a motion in an effort to be considered for the Bridge Program. The

      motion set out her undeniable addiction, the third-party identification of everything associated

      with her addiction, statements by Judge Hendricks justifying the program for Defendant.

      (Exhibit 3-Docket No. 70.3 and 4). Counsel was of the belief that pursuant to the Bridge

      Program objective, the Court would send the matter to the aforementioned Mr. Webber for the

      purpose of reviewing Defendant’s qualifications. However, the Court did not offer that courtesy.

              The motion regarding the Bridge Program was very clear in its intent. The undersigned

      spoke to the Court’s assistant on December 5th. The conversation related to what the

      undersigned had filed; and, whether the filing of the day prior failed in any manner. Counsel

      was assured that any error would be relayed. No signification came from the Court. Based on

      the fact that Mr. Webber did not contact counsel, it was believed that the Court would make a

      finding to direct Mr. Webber to review Ms. Freeman’s case, and her as an individual, to see if


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      she qualified for the program. Instead, the Court went immediately into sentencing.

              Ms. Freeman discussed at length her difficulties with Norcos. She really didn’t need to

      list them. Her legal trouble with prescriptions has been a constant point of contention for the last

      fifteen (15) years. When she was hospitalized when she was caught in October of 2016, she had

      a high sensitivity of opiate in her positive urine test. (Exhibit 4). When she was admitted to the

      Forrester Center, the independent counselors found that in every category she was at the most

      vulnerable of people facing addiction. (Exhibit 5).

              It was seemingly undeniable Defendant has a severe addiction. Regardless of how clear

      and unequivocal the addiction appeared, the government said that they were unaware of same.

      The Government claims that Defendant only spoke of selling drugs when they discussed them

      with her. It is the objective of the government to show that Defendant’s addiction came later as a

      means of escaping her potential sentence. It should be noted the interview which formed the

      basis of her failure to admit addiction, as well as the pill count that was later extrapolated

      therefrom, occurred at the Hillcrest Hospital (see Exhibit 4). In that interview, she was high.

      Did agents stop the interview until such time as Defendant was not under the influence? They

      certainly did not. They had her in a vulnerable state; and, they took advantage.

              This Court asks defendants on every occasion they speak whether they are under the

      influence of any mind-altering substance. The agents did not ask whether she was under the

      influence. They did not wait forty-eight (48) hours until Defendant had been incarcerated, and

      therefore drug free, before speaking to her. More importantly, they did not memorialize the

      interview by recording it. With no objective proof of what was said, it is a matter of credibility.

      They never lose those “50/50 balls”. Then again, they aren’t 50/50 jump balls. They are 100/00

      certainties.

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                                                                                                       14


             This Court held a sentencing hearing in this matter on Thursday, December 13, 2018. At

      that time, counsel for Defendant withdrew her objections to the Presentencing Report offered by

      the Government. Defendant believed that this Court had reviewed her Motion

             This Court did not review Ms. Freeman’s plea for the Bridge Program. This fact was

      apparent when the Court had to clarify whether she was claiming to take 6 to 8 “Lortabs”

      per day, or 60 to 80. Since this was part of the justification for the Bridge Program request,

      it was clearly denoted in her brief.

                                               ARGUMENT

             The Court heard enough to find that Defendant has never been able to get the

      necessary treatment. It appears the Court is unable to get past the fact addiction is not

      something anyone can turn on; or, turn off. The Court spoke the words regarding the

      “reasons” it had to support the seventeen and a half-year sentence that was about to be

      handed down. Ironically, those reasons are the same used at every sentencing: Defendant

      has introduced a great hardship on society, opioids have taken people’s lives, filled our jails,

      taxed our depleted medical resources, etc. That is exactly why she was there to be

      sentenced by the Court. The Court summarily dismissed the facts relating to her addiction;

      as the Government has done throughout this process. The disregard for her addiction

      equates to the belief that she deserves to spend 20% of her life in prison-because she is sick.

             This Court previously was put to task regarding another individual who thought he

      was deserving of the Bridge Program. In the United States v. Larecius Mattison, 16-4656

      (4th Cir. 2017), the Defendant also alleged the Court failed to give proper weight to his

      request for the Bridge Program:

                     Mattison also contends that the district court did not fully and accurately address

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                                                                                                     15


                    his request to be placed in a state drug court known as the Bridge Program, under
                    which the defendant participates in a period of drug treatment prior to sentencing.
                    Whether to approve an applicant’s admission into the program depends upon a
                    variety of factors, including a verified history of current substance abuse or
                    addiction, the nature of the current charge, the defendant’s criminal history, and
                    his dangerousness to the community.

      The Court was affirmed by the appellate tribunal based on the reasons offered:

                    The district court gave several reasons for denying Mattison’s request for
                    placement in the Bridge Program. Among other things, the court noted that there
                    was evidence of drug use but not drug addiction and that the present offense was
                    serious and involved possession of a firearm. This explanation sufficiently
                    addressed Mattison’s request for placement in the program.

             Precias Freeman is a drug addict. She has independent proof of this fact. The Court

      recognized this fact when opining that she has not had the necessary treatment to combat her

      illness. She never had a weapon. She didn’t steal. She did not intentionally hurt anyone.

      All of her criminal history is directly related to her addiction. The Court spoke of how

      Precias has hurt the community, and society at large, with her distribution of opioids.

      However, the Court then dismissed the request for the Bridge Program and sentenced her to

      the 210 months necessary to get rid of her disease. This sentence is the definition of

      arbitrary and capricious.

             This Court did not give any reasons for the denial. This Court didn’t even ask Agent

      Webber to look into whether she was a verifiable candidate. Similarly, Agent Rogers didn’t

      have anything to support the fact that Defendant failed a drug test, let alone for two

      substances.

                                             CONCLUSION

             Precias Freeman didn’t grow up wanting to be a drug addict. This Court

      acknowledged that she had a problem. The Court’s solution to this problem was to sentence

      her to 17 and ½ years in prison. The Court abused its discretion in this matter; and,
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                                                                                                   16


       Defendant pleads for reconsideration of the findings in the hearing held on December 13,

       2018.




                                                          s/Donald L. Smith_____________
                                                          Donald L. Smith, (Fed Id.#06626)
                                                          Attorney for Defendant Precias Freeman
                                                          122 N. Main Street
                                                          Anderson SC 29621
                                                          Telephone: (864) 642-9284
                                                          Facsimile: (864) 642-9285
                                                          attorneydonaldsmith@gmail.com
       Anderson, South Carolina
       December 26, 2018




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          Don Smith <attorneydonaldsmith@gmail.com>                   Tue, Sep 18, 3:58 PM


          to
           Shannon_webber


         Mr. Webber:

         My name is Don Smith. I am the current counsel for the defendant in the
         above-referenced defendant, Ms. Freeman. I was given your name by a
         couple of people regarding your influence in requests for drug. In fact,
         Margaret Chamberlain, Esquire, said that without your involvement, it would
         be futile. Thus, I broach the topic with you, this afternoon. Our objections to
         the PSR are due on Thursday.

         I am not completely sure of the parameters of drug court. However, it is my
         belief that the goal is to get addicts treatment, while lessening some of the
         burden on the prison system. With that in mind, I believe Precias Freeman is
         the epitome of the candidate for drug court. All of her criminal history is
         directly related to her addiction. I honestly don't honestly believe that I have
         ever encountered such an overwhelming addiction. At the height of her
         usage, she was using 60 to 80 Norcos per day. She was crush 6 at a time.

         Her addiction controlled her and her life. She comes from a devout Christian
         family. Her father is a reverend. Her parents have been married for
         forever. Her addiction began in about 2000 with an injury. She was working
         for a doctor who enabled her to get prescriptions filled as she saw fit. Her
         addiction created a monster. She became an expert at getting pills.

         On the same token, the pharmacies did absolutely nothing to curtail it. She
         had prescriptions filled three times at the same pharmacy on the same day,
         once. She had a prescription filled for 120 pills, and received 180 in
         return. Her addiction, seemingly, is like those of so many Americans. The
         outcry regarding opioids is for this very reason. I would greatly appreciate
         your thoughts. More importantly, I would like to pursue drug court on her
         behalf.

         She has made a number of enemies in her opioid induced past. But, that was
         a different person. Putting her in jail for 20 years for an addiction is harsh. A
         cancer victim doesn't get jailed at all. Thank you for taking the time to read
         my email.

         Sincerely,
         Don Smith

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         --
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         attorneydonaldsmith@gmail.com


         Reply   Forward



          Don Smith <attorneydonaldsmith@gmail.com>                    Mon, Dec 3, 1:35 PM


          to
           Shannon_webber


         Mr. Webber:

         I previously broached the topic of the Bridge Program, and my client Precias
         Freeman. I will file a Motion for the Bridge Program. I would ask that you
         point me in the right direction as to what the Court looks for in giving
         applicants the opportunity. Thank you.

         Sincerely,
         Don Smith




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           While not every drug-dependent defendant is a candidate for drug court, and while not every drug

           court participant will complete their programs, 75% of those who do graduate "will never see

           another set of handcuffs."24 In short, drug courts work where other interventions have failed.

                 III.      THE CASE FOR DRUG COURT'S IN THE FEDERAL SYSTEM


                        At its inception, the Bridge Program mainly treated addicted defendants who had committed

           property crimes that fell under the jurisdiction of federal authorities, for example, theft and receipt

           of stolen mail, counterfeiting, conspiracy to defraud the United States, and other types of fraud. As

           the Program experienced success with these participants, it expanded its eligibility criteria to accept

           non-violent drug offenders who were dealing drugs to support addiction. The Bridge Program not

           only found that it could effectively treat such offenders, but that in doing so, there was a substantial

           opportunity to save resources and improve the lives of the participants, their families, and the

           community.

                        Our experience with the Bridge Program combined with basic facts about the federal criminal

           justice system leads us to believe that drug courts are a feasible and sensible alternative to incarceration

           for some federal defendants. As in the state system, the growth of federal prisons has created a serious

           financial and logistical problem. Making drug courts available to federal defendants has the potential to

           ease some of the burden on the Bureau of Prisons (BOP) and produce relative efficiencies beyond those

           achieved at the state level. Finally, despite claims to the contrary, a significant number of federal

           defendants are suitable candidates for drug court.

                  A. Growth of Federal Prisons has Created a Financial and Logistical Burden


                        In 2013, there were 215,900 people serving time in federal prisons,25 representing nearly a

           tenfold increase in the number of federal inmates incarcerated in 1980.26 As a result of this growth,


           24   West Huddleston, Interview on C-SPAN , August 6, 2011.
           25 E. AN N CARSON, U.S. D EPT. OF J USTI CE, B UR.EAU OFJ USTICE STAT IS11C.S, P RISONERS IN 20132 (2014).



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               addiction through a non-profit he formed with a friend. At his graduation on January 3, 2012,

               Jaison said that before he walked in to this Program he was a "dead man" and that now he has his

               life back.

                       A final example is Shaun Dubis, whose story was described in a May 2014 Huffington Post

               Article that covered Attorney General Holder's visit to the Bridge Program (a copy of the article is

               attached as Exhibit A). In his early thirties, Shaun had been addicted to heroin for more than half of

               his life. He had been in and out of drug treatment for over a decade without success and had failed

               out time and time again. He was quite literally dragged from the edge of death - having been

               resuscitated after overdosing. The consensus among several of the professionals who work with the

               Program was that Shaun was the worst heroin addict they had ever seen. His father choked with

               emotion as he described how he and Shaun's mother lived dreading the knock at the door that

               would bring them the inevitable news that Shaun was dead.

                        Instead, Shaun was arrested on federal drug charges and referred to the Bridge Program.

               With the accountability provided by the Program, Shaun completed a residential drug treatment

               program, got a job installing custom shutters with his brother, and began to fight for the life he had

               come so close to losing. When he broke his hand, he continued to work without pain medication so

               as not to compromise his recovery. He developed into a role model for younger participants in the

               Program and began to encourage others on the path to sobriety. When he stood before the Court in

               November of 2014 for his graduation, he was barely recognizable as the man who had been brought

               in on drug charges more than two years earlier. Never one to waste words, Shaun's message was

               simple and heartfelt - " thank you, thank you for giving me this chance."

                   V.       CONCLUSION


                        Although less than four years old, the Bridge Program has already been efficient to

                significant result. The research conducted on drug courts in the state systems indicates that these

                                                                 23




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                              IN THE DISTRICT COURT OF THE UNITED STATES
                                  FOR THE DISTRICT OF SOUTH CAROLINA
                                         SPARTANBURG DIVISION

           UNITED STATES OF AMERICA                             )        CR. NO. 7:17-CR-079
                                                                )
                       vs.                                      )
                                                                )         GOVERNMENT’S RESPONSE TO
           PRECIAS K. FREEMAN                                   )        MOTION FOR RECONSIDERATION

               The United States, pursuant to the directive of the Court, files the following response to

       the Motion to Reconsider.

                                                      BACKGROUND

               On December 18, 2018, this Court held a sentencing hearing for Freeman. Prior to the

       hearing, Freeman filed eight objections to the Pre-Sentence Report (“PSR”) and a comprehensive

       motion asking for admission to Bridge Court. (ECF No. 70) In light of the objections, the

       Government had Probation Officer Bryana Rogers, DEA Agent Adam Roberson, and DHEC

       Inspector Coy Tomlinson available to testify.

               At the beginning of the sentencing hearing, Freeman and her counsel decided to withdraw

       all objections and to request admission to Bridge Court and/or a variant sentence. 1 The Court

       heard from defense counsel, the Government, and indicated on the record that it had reviewed all

       of the parties’ filings. The Court denied the Motion for Bridge Court and sentenced Freeman to

       210 months in the Bureau of Prisons, which was the low-end of her Guideline range. The Court

       recognized that Freeman had a drug problem and also recommended that the BOP consider her

       for the Residential Drug Abuse Program. (ECF No. 72, at 2)




       1
         Freeman is not happy with the result of the sentencing proceeding; however, the decision to withdraw the many
       baseless objections and to proceed with a focus on Freeman and mitigating individual characteristics was inherently
       reasonable and sound strategy.
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               On December 24, 2018, Freeman filed a Motion to Reconsider. (ECF No. 76)

                                              LEGAL ARGUMENT

               I.      Agent Rogers and the drug test

               Freeman alleges that Agent Rogers “manufactured a failed drug test” and that she “didn’t

        have anything to support the fact that Defendant failed a drug test, let alone for two substances.”

        (ECF No. 76, at 1 & 15) The Government is at a loss to understand why Freeman insists on

        vilifying Agent Rogers regarding the drug test. Freeman was not violated on her bond because

        of the drug test (an instant sample) and there is no doubt that the sample spilled on the way to the

        lab for confirmation.

               The fact that Freeman tested positive seems to the Government to support Freeman’s

        position at sentencing that she is a drug addict and is in need of drug rehabilitation. Moreover,

        because Freeman raised this matter in her objections, the Government had Agent Rogers

        available to testify at the sentencing hearing, but Freeman chose not to ask her any questions.

        The fact that Freeman did not address at sentencing the allegations of “manufacturing evidence”

        shows that they lack merit and are frivolous.

               II.     Impartiality of the tribunal

               Freeman quotes from an October 23, 2018 email from Deputy Clerk Pam Brissey to

        defense counsel regarding the drug test mentioned in the previous section. (ECF 76, at 2) In an

        effort to aid Attorney Smith, Ms. Brissey stated, inter alia, “Your client's assertions about a drug

        test that the probation officer admits could not be confirmed by the lab (due to leakage during

        shipping), and any other statements disputed by the defendant would be a credibility

        determination that would be determined by the court, should you wish to pursue.” This is

        accurate information. Yet, Freeman now says that this email “was an ominous statement which



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        Defendant found to be an indication of the likelihood that she would get an unbiased review of

        the facts.” Id. Freeman then states: “Based on the Court’s sentencing hearing, Defendant had

        reason to be concerned about the Court’s analysis of the objections previously made by her.” Id.

               It appears that Freeman is alleging that this Court and its staff have shown a bias against

        her and thus deprived her of a fair hearing. Cannon 3(C)(1) of the Code of Judicial Conduct

        provides: “A judge shall disqualify himself or herself in a proceeding in which the judge’s

        impartiality might reasonably be questioned.”

               To the extent that Freeman is claiming that this Court is not impartial, no reasonable

        person would find fault inasmuch as this Court’s staff conveyed accurate information to Freeman

        and this Court’s denial of Freeman’s Motion for Bridge Court was entered after a full and fair

        opportunity to be heard. There is no basis for disqualification or a claim of bias.

               III.    The drug weight

               Freeman argues that on drug weight “[t]he government could not prove much of what

        was calculated.” (ECF No. 76, at 3) This is the same argument Freeman raised in her objections

        to the PSR and chose not to pursue at sentencing. The Government simply incorporates by

        reference Sections IV-VI of its initial sentencing memorandum. (ECF No. 65).

               IV.     Bridge Program

               In asking for reconsideration, Freeman argues that the “Court summarily dismissed facts

        relating to her addiction.” (ECF No. 76, at 14) The Government disagrees. This Court took

        notice of the addiction and recommended Freeman for the Residential Drug Abuse Program in

        the BOP. The Court examined the § 3553(a) factors and explained the reasons for sentencing

        Freeman at the low-end of the Guidelines.




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                                                    CONCLUSION

                Freeman’s Motion to Reconsider makes bald allegations of a general conspiracy among

        the Probation Office, Clerk’s Office, the U.S. Attorney’s Office, and the Court. Freeman

        overlooks that she is the most prolific prescription forger that DEA has dealt with in the upstate

        of South Carolina, she absconded prior to sentencing and incurred additional charges, and that

        the findings of the PSR on drug weight and other matters were accepted on the record without

        objection from the defense. Freeman is faced with a lengthy sentence, but she is the architect of

        the events leading to this sad result.

                                                             Respectfully submitted,

                                                             SHERRI A. LYDON
                                                             UNITED STATES ATTORNEY

                                                      BY:    s/ William J. Watkins, Jr.
                                                             WILLIAM J. WATKINS, JR.
                                                             Assistant U.S. Attorney
                                                             Federal I.D. No: 7863
                                                             Greenville, SC 29601
                                                             (864) 282-2100




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                                                                                                         1



                            UNITED STATES DISTRICT COURT
                                                       for the
                                              District of South Carolina


       UNITED STATES OF AMERICA             )                    C.A. No.: 7:17-CR-79
                                            )
       v.                                   )
                                            )
       PRECIAS K. FREEMAN                   )
       ____________________________________ )

                    DEFENDANT’S REPLY TO THE GOVERNMENT’S RESPONSE
                          TO HER MOTION FOR RECONSIDERATION

              COMES NOW, Defendant, Precias K. Freeman, who brings this reply to the

       Government’s Response to her Motion for Reconsideration:

                                                 BACKGROUIND

              The Presentence Investigation Report provided by the United States Probation Office

       states that the correct offense level for Precias K. Freeman was a level 36, a criminal history

       level of II, thus qualifying Precias K. Freeman for a sentencing guideline range of 210 to 240

       months. Defendant sought admission to the Bridge Program based on her extreme addiction to

       opiates. Said addiction had been confirmed by the program to which she was directed by the

       government. All of her encounters with criminal courts have been related to her ongoing quest

       to feed said addiction.

              The Court recognized that Freeman had a drug problem and also recommended that the

       BOP consider her for the Residential Drug Abuse Program. The Court learned of the addiction

       which consisted of the ingestion of 60 to 80, 10 mg Lortabs per day during her sentencing.

       Based on the ADA’s belief that drug addiction is a disease, Ms. Freeman suffers from a

       significant disease. Because Defendant suffers from a disease, she was sentenced to 210 months

       of incarceration.

                                                  I. DRUG TEST

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                                                                                                         2


               Counsel for the government takes issue with the vilification of Agent Rogers. However,

       the government has not offered any response other than how ridiculous Defendant is for

       questioning the agent. The Government doesn’t provide a satisfactory reason for why the agent

       failed to do anything to substantiate her claims. Other than the agent’s statement, there is no

       evidence that supports her assertions.

              In fact, the Government goes as far as to say that even if the drug test results were

       manufactured, the test had no bearing on her violation and subsequent sentencing. Opposing

       counsel stated, “Freeman was not violated because of the drug test.” (ECF 79, at 2). He was

       merely following the statement he made in his Response to Objections. “Ms. Freeman was not

       violated for the drug test...” (Sentencing Memorandum-Response to Objections, p, 3, section II).

              Agent Rogers requested that the Court issue a warrant for Defendant’s arrest by stating

       the following: “The defendant left the district of South Carolina without permission from the

       U.S. Probation Officer. She traveled to North Carolina and failed to provide the probation officer

       with her change of address. The defendant also tested positive for the use of opiates and

       benzodiazepines on August 23, 2017.”

              There was no qualification to the statement regarding the testing results. There was no

       mention of an admission. There was no mention of the testing sample being contaminated; and,

       as a result, no test was performed. Based on the agent’s assertion, the Court issued a warrant for

       her arrest. The Government said, “the Court modified the defendant’s bond to be placed back on

       location monitoring with GPS due to the positive drug test…” (Revised PSR, p. 4, No. 6). The

       government’s own submission states that she was violated in part because of the failed drug test.

                                 II. IMPARTIALITY OF THE TRIBUNAL

              The Government seeks to create a storm with the assumption that Defendant was seeking

       recusal by the Court. Counsel for the Government sums up Freeman’s perception that she is

       being single out by the Government, not the Court. “Freeman overlooks that she is the most

       prolific prescription forger that DEA has dealt with in the upstate of South Carolina…” (ECF

                                                       -197-
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       No. 79, at 4). The Government was embarrassed by Defendant. Despite the fact that she was a

       lone operative, the plethora of agents who were involved, could not catch her. Her perception

       was the Government would stop at nothing to bury her. This perception was realized when the

       Government raised her sentencing points from 34 to 36, after she changed counsel.

              At no time, did Defendant request or imply that the Court should step aside. The concern

       was that the Court did not recognize the severity of her addiction, whether as seen by her

       testimony or the Forrester Center diagnoses. Defendant simply does not understand how the

       Court could acknowledge her addiction; states the destruction that opiates have had on society;

       and, refuse to allow Shannon Webber to review if the Bridge Program would benefit Ms.

       Freeman and the Government.

                                          IV. BRIDGE PROGRAM

              As previously mentioned, Defendant’s only criminal issues are related to her drug

       addiction. They are directly related. She did rob, steal, etc., for the purpose of supporting her

       habit. She simply used her ingenuity combined with her addiction to create ways in which to get

       around the government to satisfy her thirst. She was seemingly the ideal candidate for the

       Bridge Program. However, the Court found that she is simply an individual worthy of spending

       20% of her life incarcerated due to a disease.

                                                CONCLUSION

              President Trump signed into law the First Step Act on December 21, 2018. The Act

       is a criminal justice reform bill attempting to adjust sentencing laws and penalties that do

       not fit crimes. The Act mandates treatment for opiate abuse. Its purpose is to “prepare

       inmates to successfully rejoin society and enact commonsense sentencing reforms to make

       our justice system fairer for all Americans.” (White House, U.S. Legal News World).

       Defendant respectfully prays for the opportunity to be a subject case in the government’s

       push to have this inmate rejoin society with a commonsense sentence.

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                                                        s/Donald L. Smith_____________
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                                                        attorneydonaldsmith@gmail.com
       Anderson, South Carolina
       January 14, 2019




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        01/30/2019   81 TEXT ORDER denying 76 Motion for Reconsideration as to Precias K Freeman
                        (1): Defendant filed a motion for rehearing or, in the alternative, an amended
                        motion for reconsideration of this courts sentence and judgment order of
                        December 13, 2018. (ECF No. 76). The Government filed a response. (ECF No.
                        79). Defendant filed a Reply. (ECF No. 80).Defendant pleaded guilty to
                        violations of 21 U.S.C. 841(a)(1), (b)(1)(C) and 846. (ECF No. 32). A sentencing
                        hearing was held on December 13, 2018. At the hearing, Defendant withdrew
                        her objections to the Presentence Report. Defendant was sentenced to 210
                        months imprisonment to be followed by three years of supervised release.
                        (ECF No. 72).Defendants motion essentially attempts to rehash arguments
                        contained in the objections to the Presentence Report, all of which were
                        withdrawn, or to reargue her motion to enter a drug court program. (ECF No.
                        70). Defendants motion states it is filed pursuant to Federal Rule of Civil
                        Procedure 59(e). However, Rule 59(e) does not apply to criminal proceedings.
                        United States v. McKelvey, 34 Fed. Appx 959, 959 (4th Cir. 2002). The courts
                        authority to modify a sentence is extremely narrow. A district court is only
                        authorized to modify or reduce a sentence after imposition where (1) the
                        Bureau of Prisons moves for a reduction, (2) the Sentencing Commission
                        amends the applicable Guidelines range, or (3) another statute (including Rule
                        35 of the Federal Rules of Criminal Procedure) expressly permits the court to
                        do so. United States v. Blackshear, 450 Fed. Appx 241, 242 (4th Cir. 2011)
                        (citing 18 U.S.C. § 3582(c) (Section 3582)). Neither the first nor third condition
                        is present here. Therefore, the only relevant issue is whether modification is
                        allowed by statute or Rule 35. Under Rule 35, there are also only three possible
                        situations allowing the court to modify a sentence: (a) upon remand after
                        appeal; (b) upon motion of the Government; and (c) within fourteen days after
                        sentencing if there was an arithmetical, technical, or other clear error. See
                        Fed.R.Crim.P. 35(a)-(c). As there has not been a remand after an appeal, the
                        Government has not filed any motion for a sentence reduction, and there is no
                        arithmetical, technical or other clear error in the judgment, Rule 35 does not
                        provide Defendant any relief. It appears that Defendant simply would like a re-
                        do of her sentencing. However, the court finds that it lacks authority to modify
                        Defendants sentence.Assuming the court did have the authority to alter or
                        amend the sentence, it would not do so. The court carefully considered the
                        Defendants motion for entry into the Bridge Program and determined, based
                        upon the facts and circumstances presented, as well as an analysis of the
                        factors set forth in 18 U.S.C. §3553, that the motion should be denied. The
                        Defendant has a troubling criminal record. She was a prolific dealer of
                        hydrocodone and oxycodone through forging and filling fraudulent
                        prescriptions over an extended period, filling up to 21 such prescriptions per
                        day. (ECF No. 68, 10). The Defendant received a low end advisory guideline
                        sentence, with a recommendation, based on her assertions that she had a drug
                        problem, that she be allowed to participate in any drug treatment programs
                        available within the Bureau of Prisons. The court remains of the opinion that




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                        the sentenced imposed is reasonable given the facts and circumstances of the
                        case and sufficient but not greater than necessary to achieve the purposes of
                        sentencing.Finally, in her Reply, Defendant makes a vague reference to the
                        First Step Act and requests an opportunity to be a subject case under the Act
                        without identifying any specific provisions which would entitle her to relief.
                        (ECF No. 80). Unlike filings filed by pro se parties, the court is not required to
                        liberally construe motions filed by a party who is represented by counsel.
                        Aikens v. Ingram, 652 F.3d 496, 504 (4th Cir. 2011). Nor are courts required to
                        conjure up questions never squarely presented to them. Beaudett v. City of
                        Hampton, 775 F.2d 1274 (4th Cir. 1274, 1278). Based on the foregoing,
                        Defendants motion (ECF No. 76) is DENIED.This order shall be without
                        prejudice to the Defendants right to pursue, by proper petition or motion in
                        accordance with applicable law, any relief to which she may be entitled under
                        the First Step Act of 2018, Pub. L. No. 115-391, § 404, 132 Stat.__(2018).
                        Ordered by Honorable Timothy M Cain on 1/30/19.(pbri, ) (Entered:
                        01/30/2019)




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